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                   EXHIBIT 18
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 1             IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
 2                      ATLANTA DIVISION
 3      MARK ANDREWS,

 4       Plaintiff,
                                              Case No.
 5      V.                                    1:22-cv-04259-SDG

 6      DINESH D'SOUZA, et
        al. ,
 7
         Defendants.
 8
 9           *********************************************
             CONFIDENTIAL ORAL AND VIDEOTAPED DEPOSITION
10                                OF
                         CATHERINE ENGELBRECHT
11                        SEPTEMBER 18, 2024
             *********************************************
12
                   ORAL AND VIDEOTAPED DEPOSITION of
13           CATHERINE ENGELBRECHT, produced as a witness
             at the instance of the Plaintiff, and duly
14           sworn, was taken in the above-styled and
             numbered cause on September 18, 2024, from
15           9:33 a.m. to 6:42 p.m. , before Mendy A.
             Schneider, CSR, RPR, in and for the State of
16           Texas, recorded by machine shorthand, at the
             offices of Greenberg Traurig LLP,
17           1000 Louisiana, Houston, Texas, pursuant to
             the Federal Rules of Civil Procedure and the
18           provisions stated on the record or attached
             hereto; that the deposition shall be read and
19           signed.
20
21
22
23
24
25


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 1                        APPEARANCES
 2         FOR THE PLAINTIFF:
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18
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11         document.)
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1                          THE VIDEOGRAPHER:          We're on the

2                   record September 18, 2024.           The time

3                   is 9:35 a.m.    This begins the

4                   video-recorded deposition of Catherine

5                   Engelbrecht in the matter of Mark                      09:34:02

6                   Andrews versus Dinesh D'Souza, et al.

7                   in the United States District Court

8                   for the Northern District of Georgia,

9                   No. 1:22-cv-04259-SDG.

10                         Will counsel please state your                  09:34:20

11                  appearances for the record after which

12                  the court reporter will swear in the

13                  witness.

14                         MS. KUCK:      Lea Haber Kuck for

15                  plaintiff Mark Andrews.                                09:34:27

16                         MS. BALLIETT:        Quinn Balliett

17                  also for the plaintiff.

18                         MS. QIN:     Sonia Qin also for

19                  the plaintiff.

20                         MR. EVANS:      And Jake Evans for              09:34:34

21                  defendants Catherine Engelbrecht,

22                  Gregg Phillips, and True the Vote.

23                         MS. HYLAND:       And Amanda Hyland

24                  for defendant for Dinesh D'Souza and

25                  D'Souza Media.                                         09:34:50


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 1                       CATHERINE ENGELBRECHT,

 2        having been first duly sworn, testified as

 3        follows:

 4                       EXAMINATION

 5        BY MS. KUCK:                                                    09:34:57

 6                  Q.     Good morning, Ms. Engelbrecht.

 7                  A.     Good morning.

 8                  Q.    My name is Lea Haber Kuck, and

 9        I'm one of the attorneys for Mark Andrews,

10        the plaintiff in this action.                                   09:35:10

11                        Can you also state your

12        address?

13

14

15                  Q.    Have you been deposed before?                   09:35:17

16                  A.    Yes.

17                  Q.    How many times?

18                  A.    Once.

19                  Q.    Okay.    And when was that?

20                  A.    2021, I -- 2021 or 2022.            The         09:35:22

21        year kind of runs together.

22                  Q.    Okay.    Have you testified in

23        any nondeposition setting?

24                  A.    I was a witness in a case once.

25        And is that --                                                  09:35:40


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1                   Q•    Yeah.    That's what I mean.

2                   A.    Yes.

3                   Q•    Have you ever testified in

4         court?

5                   A.    Yes, once.                                     09:35:44

6                   Q•    Okay.    And just once?            All

7         right.

8                         When was that?

9                   A.    Late 2023.

10                  Q.    Okay.    Have you ever been found               09:35:53

11        by a court to lack credibility as a witness?

12                  A.    No.

13                  Q.    Do you understand that you are

14        under oath?

15                  A.    Yes.                                            09:36:01

16                  Q.    Okay.    And you understand that

17        your testimony today carries the same weight

18        as the testimony before a judge or a jury?

19                  A.    Yes.

20                  Q.    Okay.    Is there any reason you                09:36:07

21        might not be able to give accurate testimony

22        today?

23                  A.    No.

24                  Q•    Any reason your memory might be

25        less sharp than usual?                                          09:36:14


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1                   A.    No.

2                   Q.    Okay.    Do you have any physical

3         or mental conditions that would prevent you

4         from giving your best testimony today?

5                   A.    No.                                            09:36:21

6                   Q.    Are you under the influence of

7         any drugs or other substances that would

8         prevent you from giving your best testimony

9         today?

10                  A.    No.                                             09:36:28

11                  Q.    All right.      So let's just go --

12        and I know that you were here yesterday so

13        you know how it's going to go, but we'll --

14        just so we're on the same page --

15                  A.    Sure.                                           09:36:35

16                  Q.    -- we'll go through the ground

17        rules again.

18                        Everything we say today is

19        being recorded and transcribed by the court

20        reporter.                                                       09:36:39

21                        You know that?

22                  A.    Yes, ma'am.

23                  Q•    And for the court reporter's

24        benefit, please answer my questions verbally.

25        Respond with a "yes" or a "no" rather than a                    09:36:48


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 1        nod of the head.

 2                  A.    Yes, ma'am.

 3                  Q•    And also for the court

 4        reporter, please let's try not to talk over

 5        each other.     I don't think that will happen,                09:36:54

 6        but allow me to finish my questions, allow

 7        your lawyer to say anything if he needs to,

 8        and -- and then you can answer.

 9                  A.    Yes.

10                  Q.    If the question is unclear,                     09:37:03

11 I      though, please let me know because if you

12        don't I'll assume that you understand what

13        I'm asking.

14                  A.    Yes.

15                  Q.    And I'll plan for us to take a                  09:37:09

16        break every hour or so, but if you need a

17        break more frequently than that, let me know.

18                  A.    Okay.    Yes.

19                  Q.    And then throughout your

20        deposition, your counsel may object to                          09:37:18

21        certain of my questions, but unless your

22        counsel specifically instructs you not to

23        answer my question, you must still answer the

24        question.

25                        Do you understand that?                         09:37:27


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1                   A.    Yes.

2                   Q.    Okay.    What do you do for a

3         living?

4                   A.    Pardon me.      I'm the founder of

5         True the Vote and also an owner and executive                  09:37:37

6         in one or two other companies.

7                   Q.    Okay.    And what are the two

8         other companies?

9                   A.    CoverMe and KLOK.

10                  Q.    And you work with Gregg                         09:37:55

11        Phillips in those businesses?

12                  A.    I do, yes.

13                  Q.    Do you -- does Mr. Phillips

14        hold any position at True the Vote?

15                  A.    No.                                             09:38:08

16                  Q•    I understand he was on the

17        board of directors at one point in time?

18                  A.    That's correct.

19                  Q.    Has he ever held any other

20        position at True the Vote?                                      09:38:17

21                  A.    No, ma'am.

22                  Q.    And are there any other

23        companies in which you hold a position, just

24        those three?

25                  A.    No, no other companies where I                  09:38:24


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1         hold a position.

2                   Q.      Okay.    Any other companies

3         where you're a limited partner?

4                   A.       Yes, there's one, Shadow Beach.

5                   Q.      Okay.    And what does that                    09:38:34

6         entity do?

7                   A.       Yes.   It was just nothing

8         really.        It's an LLC that is -- was set up

9         for just a variety of other purposes and

10        projects.                                                         09:38:47

11                  Q.      And does it still exist today?

12                  A.      I -- I believe so, yes.

13        We're -- we're -- it's likely going to be

14        dissolved.       I just don't remember if it's

15        already been done or not.                                         09:39:05

16                  Q.      Okay.    And are you involved

17        in        with any PACs?

18                  A.       Yes.

19                  Q.      Okay.    And tell me about that.

20                  A.      It's a newly started PAC called                 09:39:13

21        Pit Pac, and that's -- it's an organized as a

22        super PAC.

23                  Q.      And what is its mission?

24                  A.       To help support pro-liberty,

25                  faith-based candidates and messages and                09:39:32


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1         the like.

2                   Q.    Okay.    But that -- and

3         that's -- you've just set that up in the last

4         few weeks?

5                   A.    I'm not sure exactly when it                   09:39:42

6         was initially set up.        We've only just like

7         launched it.

8                   Q.    Yeah.

9                   A.    I don't really know on the

10        paperwork                                                      09:39:48

11                  Q.    Okay.

12                  A.    -- because I know that had to

13        come first.

14                  Q.    Yeah.

15                  A.    But -- but it's just been                      09:39:51

16        launched like maybe even last week or

17        something.

18                  Q.    Okay.    And that's again with

19        Mr. Phillips?

20                  A.    Yes, ma'am.                                     09:39:57

21                  Q.    And Mr. Phillips -- let me get

22        the name of it, but he mentioned an app that

23        you work with him on called -- let me find

24        it.

25                        There's a -- a voting integrity                 09:40:08


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1         app that you work with him on?

2                   A.      He built an app or his team

3         built an app called OpSec called VoteStand.

4                   Q.      Yep.

5                           And what work are you doing on                  09:40:18

6         that?

7                   A.      That's on the True the Vote

8         side.

9                   Q.      Okay.

10                  A.      And True the Vote is -- using                   09:40:24

11        that app, it's a web app, to facilitate its

12        second extension of the help line that we

13        always have on our website.             But this allows

14        for voters and election workers to have

15        really, I guess, faster access.               It comes            09:40:40

16        with a -- a toll-free line for -- so people

17        can talk if they need to.            There's lots of

18        questions coming right now so...

19                  Q.      And is it also used for -- for

20        them to report suspicious behavior?                              09:40:54

21                  A.      Well, we call it an incident

22        report.        Just things that don't make sense.

23                  Q.      Okay.

24                  A.      And there's, you know, a lot of

25        that, so we try to correct as much of it as                      09:41:04


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1         we can.

2                   Q.    And then if you get an incident

3         report through the app, what do you                  what

4         actions do you take?         What do you do?

5                   A.    The first thing we do is screen                   09:41:13

6         the report.     I've never really run a study on

7         the percentage of -- of reports that come in

8         that are just simple questions that you can

9         just resolve versus significant like we need

10        to get this to the Secretary of State or to                       09:41:28

11        the county.

12                        But that did happen in -- in

13        2020.     Mr. Phillips was also involved at that

14        point in helping with the hotline and the --

15        the process was if our team couldn't answer                       09:41:39

16        the question and if it needed to be advanced

17        or expedited, it would go back to the OpSec

18        team for their management.

19                  Q.    And when you say "their

20        management," what do you mean?                                    09:41:52

21                  A.    Just things come in so quickly.

22                  Q.    Uh-huh.

23                  A.    But you also don't want to drop

24        any balls.

25                  Q.    Right.                                            09:41:59


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1                   A.    And so for an incident that may

2         have -- you would anticipate a lot of

3         back-and-forth, you're trying to figure out

4         who should it go to and then do they actually

5         follow up or is it just going into a black                      09:42:07

6         hole.

7                   Q.    Yeah.

8                   A.    So if you try one place and you

9         don't get a response, try another place.

10        That's the kind of thing that they were                         09:42:14

11        focused on.

12                        So we would try to separate out

13        and only give them the ones that were going

14        to have what we felt like a -- you know, a --

15        a more -- a more protracted process behind                      09:42:24

16        them.

17                  Q.    And when you say you sent them

18        to OpSec, I mean, OpSec is -- has no

19        employees other than Mr. Phillips, right?

20                  A.    Well, they have a team of                      09:42:35

21        contractors, and it just expands and

22        contracts as they need it to.

23                  Q.    Okay.    Do you ever work

24        directly with their contractors?

25                  A.    No.                                            09:42:44


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1                   Q       Do you know who the contractors

2         are?

3                   A.      I don't.

4                   Q•      Now, you said you were also a

5         founder of -- of True the Vote?                                  09:42:51

6                   A.      Yes.

7                   Q.      Which I'll refer to sometimes

8         as TTV.        You know what I'm talking about?

9                   A.      Oh, yes.     I do the same, so

10        we're fine.                                                      09:42:59

11                  Q.      Okay.    Good.

12                          How did you come to found True

13        the Vote?

14                  A.      I started True the Vote in

15        2009.      Didn't submit paperwork until 2010.                    09:43:07

16        So sometimes you'll see the distinction 2009,

17        2010.      2010 is when paperwork was filed.

18                          After working at the polls and

19        having an experience that I thought didn't

20        make a lot of sense and that we should take a                     09:43:21

21        closer look at the process.             The process just

22        seemed to be dysfunctional to me.

23                          And so it -- it started

24        initially here in Harris County just as a --

25        a local effort.       And grew very quickly.            And,     09:43:32


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1         you know, I -- I -- if you would have told me

2         15 years ago that I would be sitting here

3         having this kind of a conversation based on

4         what happened in 2009, I couldn't have

5         imagined it, but here we are.                                    09:43:50

6                   Q.    Got it.

7                         And is it a nonprofit

8         organization?

9                   A.    Yes, ma'am.

10                  Q.    Okay.    And what is its mission?                09:43:55

11        What does it do?

12                  A.    We are all about empowering the

13        voters and protecting voters' rights.               So

14        very much about the -- you know, what we

15        refer to as the power of citizen engagement.                     09:44:09

16                  Q.    And I think - think that I've

17        seen references where you say it's a

18        nonpartisan organization?

19                  A.    Yes.    Yes.

20                  Q.    And when you say "nonpartisan,"                  09:44:21

21        what do you mean by that?

22                  A.    I mean that we are straight

23        down the line around election integrity.                  And

24        irrespective of party, if there's an issue

25        with process or with a particular election, I                    09:44:32


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1         mean, we've -- we've -- we've helped on all

2         sides.     It doesn't -- you know, it's just

3         about getting the process right.

4                         I firmly believe that if we

5         have a solid election -- we need two parties.                  09:44:50

6         We need debate.       And so if we have a solid

7         election that people can believe in, then

8         then the country is better for that.

9                   Q.    Okay.    But you -- but you do

10        coordinate your work with political                             09:45:02

11        candidates, right?

12                  A.    No.

13                  Q.    How many employees does TTV

14        have?

15                  A.    I think right now I'm the only                  09:45:08

16        employee.

17                  Q.    Okay.    So do you work with

18        contractors?

19                  A.    Yes.

20                  Q.    And so how many contractors are                 09:45:21

21        you working with right now?

22                  A.    I think five.

23                  Q.    Okay.    Can you identify those?

24                  A.    By name?

25                  Q.    Yeah.                                           09:45:36


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1                   A.     Megan Denning.

2                   Q.      Okay.

3                   A.      Violet Sarria.

4                   Q.      Okay.

5                   A.      Sarah Skogen.        Heather Mullins.           09:45:57

6         Sam Todd.

7                   Q.     I think that's five?

8                   A.      Yeah.

9                   Q.     And who is Dan Gerletner?

10                  A.     Oh, Dan Gerletner.           He worked           09:46:27

11        with us -- oh, gosh -- for a period of time

12        in 2020.       I couldn't tell you how many

13        months, but for a period of time in 2020.

14                  Q.     And what was his role?

15                  A.      He helped with some IT research                 09:46:45

16        analytics.       He -- he's very adept in the

17        technology space.

18                  Q.      Okay.    But you're not working

19        with him anymore?

20                  A.      No.                                             09:47:05

21                  Q.      How about Chelsea Magee?

22                  A.      Chelsea.     Well, did work

23        with -- first answer the question.

24                  Q.      Uh-huh.

25                  A.     Did work with her, contractor.                   09:47:13


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1                           I'm -- I apologize.           It -- the

2         dates really do blur together.               I don't

3         recall.        It was certainly in 2022, whether it

4         was the whole of 2022 and then into -- some

5         into 2023, I believe.          I think.                            09:47:41

6                   Q.      And what was her role when she

7         was working as your contractor?

8                   A.      She helped out with social

9         media, and she helped answer e-mails and --

10        and functioned a little bit as -- as for                           09:47:55

11        media and sort of as my just executive

12        assistant sort of just making sure I didn't

13        miss anything.

14                  Q.      And during that period of time,

15        say late 2021 through 2022, was there anybody                      09:48:06

16        else handling TTV's social media postings?

17                  A.       Yes.   We had hired a PR firm.

18        I don't remember the name of the firm.                 The

19        principal there that we worked with was

20        Catherine Frazier, but I don't remember the                        09:48:32

21        name of the firm.

22                  Q.      Okay.    And they -- and -- and

23        what was their role with your social media?

24                  A.       They were supposed to manage

25        all of the social media and help develop just                      09:48:45


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 1        a consistent practice of -- of making posts,

 2        which heretofore had not been consistent.

 3        And help with press releases and media and

 4        those types of things.

 5                  Q.    And then who on your team                         09:49:02

 6        coordinated with them?         Like, who provided

 7 I      them with the substance?

 8                  A.    They -- they functioned largely

 9        independent -- independently.

10                  Q.    Yeah.                                            09:49:15

11                  A.    We certainly would talk about,

12        you know, when interviews would come up and

13        things that were arising in the news.                But

14        it -- they were -- there was a team of three,

15        as I recall, primary, and they were                  they         09:49:31

16        had deep backgrounds in the space.                 And

17        wasn't very election focused, but they did

18        have backgrounds.       And so it -- it -- they

19        just would have did what they thought would

20 I      be useful.                                                       09:49:54

21                  Q.    But there must have been

22        coordinating with somebody so they knew what

23        was going on.       Just from a content

24        perspective?

25                  A.    Oh, yeah.      Yeah.     Yes, but --              09:50:00


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 1        yeah.      Well, yes.   Simple answer is yes.

 2                  Q.    And that would have been who?

 3        Was that you or Ms. Magee or somebody else?

 4                  A.    It would probably would have

5         been -- first of all, I really don't fully                     09:50:10

 6        recall, but it likely would have been just on

 7        a team call which was how we, you know,

8         function generally.

 9                  Q.    Okay.    So you would have

10        periodic team calls with them, tell them what                   09:50:20

11        was going on, and then they would go figure

12        out how to make it most effective on social

13        media; is that fair?

14                  A.    Or the -- or the reverse where

15        they would see something and say                                09:50:30

16                  Q.    Okay.

17                  A.    -- you know, we think this is

18        developing and you should pay attention or

19        make a comment or something like that.

20                  Q.    Okay.    And did you generally                  09:50:36

21        monitor your TTV social media postings during

22        this time?

23                  A.    I did not.

24                  Q.    Did -- are you aware of whether

25        Ms. Magee did that?                                             09:50:49


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 1                  A.     Monitored or posted or?

 2                  Q.      Just monitoring what they were

 3        posting what was going on.

 4                  A.      Yes, I would think that she

 5        did.      She was more just on social media                      09:51:01

 6        generally.

 7                  Q.     And who is Cole Hughes?

 8                  A.      He was an executive director --

 9        oh, gosh -- for a period of time in 2022.                   I

10        couldn't tell you how many months.                               09:51:16

11                  Q.      Okay.    And what was his role?

12                  A.      He was the executive director.

13                  Q.     And then so what did he do?

14                  A.      The -- the goal was for him to

15        manage the duties that I've just described.                      09:51:29

16                         Plus, we had a big project

17 ,      called IV3 at the time, and it was his

18        responsibility to oversee that, which had

19        a -- a pretty expansive volunteer component.

20        And so that would have been well enough to                       09:51:45

21        keep him -- keep him busy.

22                  Q.     And how about Kyle Reyes --

23        Reyes?

24                  A.      Kyle Reyes was with a marketing

25        company.       I am -- sometime in the period                    09:51:58


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 1        after 2020 and, you know, before 2024.               I

 2        don't remember exactly when.            It was a

 3        six-month contract, I remember that, because

 4        we didn't extend it.

 5                  Q.    Okay.    So -- and the five                    09:52:24

 6        people you identified at the beginning

 7        starting with Megan Denning, those -- were

 8 I      any of those people there in 2022?

 9                  A.    I think Meg may have come on at

10 I      the -- at the very tail end of 2022 possibly.                   09:52:46

11                  Q.    Were any of those -- those

12        people involved in the -- for lack of a

13        better term, the 2000 Mules project?

14                  A.    No.

15                  Q.    Okay.                                          09:53:01

16                  A.    Well, of the five that are --

17                  Q.    The five that are there now?

18                  A.    Yeah.    No.

19                  Q.    Okay.    And then of the -- the

20        people we talked about, Mr. Gullutner,                         09:53:13

21        Ms. Magee, Mr. Hughes, and Mr. Reyes, they

22        were -- were they all involved in that

23        project of the -- relating to 2000 Mules?

24                  A.    I don't -- Dan was not -- well,

25        let me just go person by person.                               09:53:33


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1                   Q.    Okay.

2                   A.    Dan was not involved in any of

3         the -- he -- he -- I wish I could recall the

4         period of time that he was there.              He was not

5         involved in any of the development of any of                   09:53:45

6         the -- the things that -- the True the Vote

7         side was working on relative to data.

8                   Q.    Yeah.

9                   A.    And he was not there during the

10        premier and that part of it, so I don't --                     09:53:55

11        no, I can't remember anything that Dan did.

12                  Q.    Okay.

13                  A.    Can you feed me another name?

14                  Q.    Chelsea Magee.

15                  A.    Chelsea was there during the --                09:54:11

16        she helped with some of the open records

17        request gathering, and she was there during

18        the time that the movie came out for sure

19        because I know she handled a lot of the

20        back-and-forth of, you know, media requests                     09:54:35

21        and just things of that nature, social media,

22        I guess.

23                  Q.    Did her relationship with TTV

24        end on good terms?

25                  A.    Oh, yeah.                                       09:54:46


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1                   Q.    How about Mr. Hughes?

2                   A.    Uh-huh.

3                   Q.    And he was involved with the --

4         with the project relating to 2000 Mules?

5                   A.    I don't recall that he was.                    09:54:56

6                   Q.    Okay.

7                   A.    It -- it's -- I guess it is

8         possible because he would have been there at

9         that time to -- I mean, the latter part in

10        2022.     Most of the -- most of the research                  09:55:11

11        was already done, you know, in 2021.               I don't

12        recall him being involved really in any -- I

13        mean, not in the         not in the development of

14        the research.       I'm really trying to think.

15                  Q.    That's okay.                                   09:55:32

16                  A.    Yeah.

17                  Q.    We'll look at some documents --

18                  A.    Yeah.    Sure.

19                  Q.    -- and maybe they will refresh

20        your memory.                                                   09:55:37

21                        But you parted with him on good

22        terms?

23                  A.    Yes.

24                  Q.    How about Mr. Reyes?

25                  A.    He was -- I don't -- again, I                   09:55:42


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1         don't remember exactly the period of time,

2         but it was around the -- the movie.                He

3         didn't help with any of the -- of the

4         research project that ultimately led, you

5         know, to -- to having it given to Dinesh, but                  09:56:02

6         yeah.     I mean, he helped with the               some of

7         the promotion or tried to, I guess.

8                   Q.    Okay.    And did he -- did you

9         part ways with him on good terms?

10                  A.    He would probably say no.                       09:56:18

11                  Q.    Okay.    Anything -- well, we can

12        get to that later.

13                        Who are the current -- who's on

14        the current -- well, strike that.

15                        Do you recall who was on the                    09:56:31

16        board of directors of TTV in 2022?

17                  A.    It would have been myself and

18        Erin Timme and Diane Josephs.

19                  Q.    And who is Ms. Josephs?

20                  A.    Just a longtime friend.                        09:56:44

21                  Q.    Okay.    And does she do any work

22        at True the Vote?

23                  A.    Other than board meetings and

24        generally keeping up with what's going on.

25        No real work work.                                              09:56:53


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1                   Q.    Okay.    And how about Ms. Timme

2         then?

3                   A.    Same is true with respect to

4         board meetings.      Sometimes she helps write

5         thank you notes and so forth, and we -- we                     09:57:03

6         all keep in touch with what's happening.

7                   Q.    Did you also -- when you

8         referenced the five people who are

9         contractors today, you mentioned Heather

10        Mullins.                                                       09:57:14

11                        Was she involved -- I know she

12        wasn't -- you said she wasn't a contractor of

13        yours at the time.

14                        Was she involved in the film in

15        any way?                                                       09:57:20

16                  A.    She was.     She did an interview

17        that we found to be particularly interesting

18        and -- or actually she -- she told us of an

19        informant that we then went on to interview

20        and then shared that with Dinesh.                               09:57:37

21                  Q•    And what was her -- how -- how

22        did she have an informant?           What was she

23        doing at the time?

24                  A.    She was very involved in, I

25        would say, like freelance journalism,                          09:57:49


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1         freelance investigation, and that's how she

2         came to be aware of the situation that she

3         was, you know, represented in the movie.

4                   Q.    And she was          she was paid for

5         her participation in the movie, right?                             09:58:05

6                   A.    That's a good question.            I

7         don't -- I don't recall.          We certainly would

8 I       have reimbursed her expenses at minimum.                  I

9         don't recall after that.

10                  Q.    Okay.    And I take it you've                       09:58:22

11        known Debbie D'Souza for a long time?

12                  A.    Yes.

13                  Q.    And how did you come to know

14        her?

15                  A.    Interestingly, I trained her to                     09:58:36

16        be a poll watcher, and she's bilingual.                So

17        those are like gold at the elections

18                  Q.    Uh-huh.

19                  A.    -- and so that's -- that's how

20        I knew her.                                                         09:58:45

21                  Q.    And do you --

22                  A.    And we were in a Bible study

23        together.

24                  Q•    And when -- so when did you

25        meet her?                                                           09:58:51


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1                   A.    Oof.    Probably -- probably 2010

2         maybe -- or maybe even earlier.

3                   Q•    Okay.    And she wasn't married

4         to Dinesh D'Souza at that point?

5                   A.    No.                                            09:59:02

6                   Q.    Okay.    When was the last time

7         you spoke to her?

8                   A.    Her mother passed away

9         recently, and I reached out to her.

10                  Q.    Okay.    Prior to that time, were              09:59:09

11        you in regular contact -- well, from the

12        period of the time of when the movie was

13        released up until the time you recently

14        reached out to her, were you in regular

15        contact with her?                                              09:59:25

16                  A.    No.

17                  Q.    Why not?

18                  A.    Just there wasn't really much

19        to, you know, talk about.

20                  Q.    Okay.    Have you ever worked                  09:59:35

21        with Salem Media Group before?

22                  A.    No.    I mean, I'm sure that I

23        have been on programs that were affiliated

24        with Salem, you know, by their own virtue,

25        but not me directly with Salem other than                      09:59:55


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1         that.

2                   Q.    Okay.     So you -- you haven't

3         had any relationship with them separate from

4         the 2000 Mules project?

5                   A.    No, not separate from that                       10:00:06

6         well, I'm just trying to really think.                No, I

7         don't believe so.

8                   Q.    Okay.     Let's look at what's

9         been marked Exhibit 5 in your pile there.

10                  A.    Okay.                                            10:00:24

11                  Q.    And this was an answer filed in

12        this litigation on behalf of you, TTV, and

13        Mr. Phillips, correct?

14                  A.    Yes, ma'am.

15                  Q.    And did you authorize your                       10:00:34

16        lawyers to file it on your behalf?

17                  A.    Yes.

18                  Q.    And on behalf of TTV?

19                  A.    Yes.

20                  Q.    I'm not sure if I asked you,                     10:00:39

21        but what is your position at TTV?

22                  A.    President.       CEO.     That's it.

23                  Q•    And there's -- there's no one

24        else employed by TTV, right?

25                  A.    Right.                                           10:00:52


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 1                  Q.    You are --

 2                  A.    We just made that decision,

 3        that determination a few years ago.

 4                  Q.    Yeah.

 5                  A.    Just better to have contractors                 10:00:58

 6        because we're very disparate across the

 7        country and -- so...

 8                  Q.    Okay.    Did you review this

 9        document --

10                  A.    Yes.                                            10:01:04

11                  Q.    -- before it was filed?

12                        And without telling me the

13        substance of the discussion, did you discuss

14 ,      the allegations in the complaint in your

15        responses before the answer was submitted                       10:01:11

16        in -- on your behalf?

17                  A.    Yes.

18                  Q.    Did you discuss them with your

19        lawyers?

20                        I have marked as Exhibit 30 a                   10:01:18

21        document entitled "True the vote

22        defendants" -- oops.

23                        Did I answer -- that's the

24        answer, right?      We already marked that?

25                        Okay.    So I'll take that back.                10:01:37


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1         I made a mistake.

2                   A.    Okay.

3                   Q.    Strike that.

4                         So I'm marking as Exhibit 30 a

5         document entitled "True the Vote's Second                       10:01:54

6         Amended Responses to Plaintiff's First Set of

7         Interrogatories."

8              (Marked Engelbrecht Exhibit No. 30.)

9         (BY MS. KUCK)

10                  Q.    And I'm going to mark as                        10:02:12

11        Exhibit 31, Catherine Engelbrecht's second

12        amended responses to plaintiff's first set of

13        interrogatories.

14                        There's 30.       And there's 31.

15             (Marked Engelbrecht Exhibit No. 31.)                       10:02:29

16                   (Discussion off the record.)

17        (BY MS. KUCK)

18                  Q.    So do you recognize exhibits

19                        MS. HYLAND:       Excuse me, can I

20                  get a copy of the document?                           10.02.53

21        (BY MS. KUCK)

22                  Q.    Do you recognize -

23                        MR. EVANS:      Me as well.

24        (BY MS. KUCK)

25                  Q.    -- Exhibits 30 and 31?                          10:02:57


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1                   A.    Yes.

2                   Q.    And did -- did you prepare

3         those or your attorneys prepared them?

4                   A.    My attorneys.

5                   Q.    And did you provide your                        10:03:11

6         attorneys with the          the substance to

7         prepare them?

8                   A.    Yes.

9                   Q.    Okay.    And is that your

10        signature at the end of each of these                           10:03:23

11        documents, the second page from the end

12        there?

13                  A.    Yes.

14                  Q.    Yes?

15                  A.    And yes.                                        10:03:35

16                  Q.    And before you signed them, did

17        you review them to assure yourself that they

18        were accurate?

19                  A.    Yes.

20                  Q.    You can put them aside for now.                 10:03:44

21                  A.    Okay.

22                  Q.    We may come back to them but --

23                  A.    Okay.

24                  Q.    -- for now.

25                        Were you asked to search for                    10:03:52


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1         documents in connection with this litigation?

2                   A.    Yes.

3                   Q.    What steps did you take?

4                   A.    I consulted with counsel on the

5         most appropriate way to do that.                               10:04:02

6                   Q.    Uh-huh.

7                   A.    And they had a process where

8         you just gave them access to everything which

9         seemed most reasonable.        And then throughout

10        this -- this time, this case, there have been                  10:04:15

11        certain instances where they've asked me to

12        go back and look and see things, but it's

13        been -- they did a very thorough job the

14        first time with access to everything.

15                  Q.    And when you say "access,"                     10:04:31

16        was -- was that hard copy documents, or was

17        everything electronic?

18                  A.    Everything was electronic.

19                  Q.    Does -- do -- do you keep any

20        hard copy files?                                               10:04:42

21                  A.    Not -- no.

22                  Q•    Does -- does True the Vote?

23                  A.    We keep hard copies of, you

24        know, financial documents.          But at this

25        point, we are very -- very much oriented                       10:04:59


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1         towards everything being digitized always.

2                   Q.    Does True the Vote have a --

3         a -- an -- an office?

4                   A.    No.   Not to speak of, no.

5                   Q.    Okay.    Do -- in connection with               10:05:17

6         that search, did you have e-mail accounts

7         that you gave your attorneys access to look

8         for documents?

9                   A.    Oh, yeah.      Yes.

10                  Q.    Do -- do any of those accounts                  10:05:32

11        have an autodelete?

12                  A.    No -- well, I don't -- not that

13        I know.

14                  Q.    Okay.    Are you aware of any

15        documents that -- that would have been called                   10:05:40

16        for -- for the litigation that have since

17        been destroyed?

18                  A.    No.

19                  Q.    Did you -- and did you prepare

20        for your deposition today?                                      10:05:51

21                  A.    Yes, ma'am.

22                  Q.    And how did you -- how did you

23        prepare?

24                  A.    I reviewed the documents and

25        spoke with counsel.                                             10:05:58


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1                   Q.    And when you say "review the

2         documents," who provided those documents?

3                   A.    Counsel.

4                   Q.    Okay.    You didn't review any

5         files that you selected yourself?                               10:06:06

6                   A.    No.   I mean, they have them

7         all.

8                   Q.    And did you -- did any of those

9         documents cause you to remember things you

10        hadn't remembered previously?                                   10:06:16

11                  A.    I wouldn't -- no.          I mean, it's

12        been a while so just reading things you

13        remember.      Certain timelines maybe, but

14        nothing shocked me.

15                  Q.    And other than your counsel,                    10:06:31

16        did you discuss your -- the testimony you

17        expect to give with anyone else?

18                  A.    No.

19                  Q.    Did you discuss Mr. Phillips's

20        testimony with him yesterday after the                          10:06:52

21        deposition?

22                  A.    No.

23                  Q.    And did you have any

24        discussions with him prior to his deposition

25        about the testimony the two of you expected                     10:07:00


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1         you'd be asked?

2                   A.    No, not about the deposition.

3         Just, you know, how long we're going to be in

4         town and those kinds of things.

5                   Q.    So just logistical things?                       10:07:11

6                   A.    Yeah.     Pretty much.

7                   Q.    Okay.     If you could look at

8         what has been previously marked as Exhibit 8.

9                         The title of this is "True the

10        Vote Geospatial Data Analysis Project                            10:07:41

11        December 2020."

12                        Do you see that?

13                  A.    Yes, ma'am.

14                  Q.    And is this the research

15        project that ultimately was used for the                         10:07:49

16        2000 Mules project -- or the 2000 Mules film,

17        I should say?

18                  A.    Well, it was there -- there

19        were elements of this project that -- that

20        were, you know, presented as part of, you                        10:08:02

21        know what, I showed Dinesh.            But, yeah, it

22        wasn't -- they weren't connected until --

23        until well after this was completed.

24                  Q•    Right.     And you started this

25        project in December of 2020?                                     10:08:16


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1                   A.    Correct.

2                   Q•    And you didn't start talking to

3         Mr. D'Souza until much later, I guess, in

4         2021?

5                   A.    Yes.    Like -- yes.        I'll just           10:08:23

6         say yes.

7                   Q.    I mean, we'll get to that, but

8         yeah.

9                   A.    Yeah.    Yeah.

10                  Q.    Okay.    What prompted this                     10:08:30

11        project?

12                  A.    In the immediate aftermath --

13        well, I had done -- let me take a step back

14        even further than that.

15                        I was very concerned about the                  10:08:42

16        number of process changes that were happening

17        in 2020 and was very vocal about that.

18        Particularly, the drop boxes.            Because we had

19        done a lot of work via open records trying to

20        understand what the process for securing the                    10:09:00

21        drop boxes would be, for just procedures

22        around the chain of custody management,

23        around picking up the ballots, the cameras,

24        the pattern of distribution, all of those

25        things.                                                         10:09:18


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1                         And with -- with troubling

2         consistency, we got back little to nothing

3         that suggested that this -- that this has

4         really been a fully conceptualized idea.

5                         And in my opinion, when you                       10:09:35

6         take the voter rolls that are not terribly

7         accurate and you categorize that with mass

8         mail out of ballots and then you set up, by

9         the counties' own admissions, insecure

10        receptacles.        It just seemed to me to be a                  10:09:54

11        point of weakness.

12                        And so in the immediate

13        aftermath of the election, the thought was if

14        there was a problem -- which we didn't know.

15        If there was a problem, that would likely be                      10:10:03

16        a point that could be evaluated via data,

17        which is -- is another, I think, important

18        consideration because you -- you have to be

19        very -- there's a lot of things that are

20        broken in process that don't lend themselves                      10:10:21

21        to measurement.

22                        So you -- you just have a

23        general sense that something is not right,

24        but it doesn't -- you can't -- you can't

25        really get close enough to the issue.                This         10:10:32


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 1        was a unique -- what I felt like a unique

 2        opportunity.

 3                  Q.    And is it fair to say that you

 4        are anti drop box, you don't think drop boxes

 5        are a good idea?                                                10:10:44

 6                  A.    Yeah.    That's very fair.

 7                        Let me -- actually, may I

 8        revise that?

 9                  Q.    Sure.

10                  A.    I think unmonitored and -- and                  10:10:53

11        without solid procedural implementation,

12        they're not a good idea.

13                  Q.    Okay.    And would you

14        characterize the system that is in place at

15        the current time -- well, or that was in                        10:11:07

16        place -- no, the -- at some place at the

17        current time and going back to when they were

18        instituted in 2020, would you characterize

19        those as not being well monitored and not

20 I      having procedural solid implication                             10:11:22

21        implementation?

22                  A.    I would say that in 2020 it was

23        not well monitored, not monitored at all.

24        Well, I shouldn't say at all.            But not to the

25        best of our ability to discern based on                         10:11:31


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1         capturing the video.         It was not being

2         monitored.

3                          And in -- by contrast today, I

4         think it's much better, much better.                The

5         counties have really done, I think, good --                      10:11:46

6         for the most part, really good work in trying

7         to increase the transparency of the process.

8                    Q.    Okay.    So that was the --

9         that's the background for the project that's

10        described in Exhibit 8?                                          10:12:01

11                   A.     Yes.   Whether the drop boxes

12        were being exploited and if we could use data

13        to -- to determine that.

14                   Q.    And that was -- and was that

15        your idea?                                                       10:12:09

16                   A.    I don't really remember who had

17        the idea first.      But Gregg and I talked about

18        it.       It was definitely something that Gregg

19        and I -- or Mr. Phillips and I discussed.

20                   Q.    Okay.    And so you came up with                10:12:24

21        this project that you worked with OpSec?

22                   A.     Yes.

23                   Q.    On -- that's reflected in

24        Exhibit 8?

25                   A.     Yes, ma'am.                                    10:12:35


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 1                  Q.    And you paid OpSec                     for

 2        their work?

 3                  A.     Yes, ma'am.

 4                  Q.    And the -- it says "The

 5        objective" up at the top on the second page.                     10:12:48

 6                        "Leverage historic and near

 7        time -- real-time behavioral mobility data to

 8        assist" --

 9                    (Discussion off the record.)

10                        MS. KUCK:       Let's just take a                10:13:08

11                  break off the record.         We don't have

12                  to leave.

13                    (Discussion off the record.)

14                         THE VIDEOGRAPHER:          Off the

15                  record at 10:14.                                       10:13:22

16            (Break from 10:14 a.m. to 10:15 a.m.)

17                         THE VIDEOGRAPHER:          Back on the

18                  record at 10:15.

19        (BY MS. KUCK)

20                  Q.    So on the second page of the                     10:13:57

21        document, which is TTV 009902, the objective

22        under project scope says:           "Leverage historic

23        and near real-time behavioral mobility data

24        to assist True the Vote in analyzing possible

25        election process subversion in the form of                       10:14:17


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1         ballot harvesting in the following states."

2                         There are abbreviations here.

3         I'm going to read the -- the statement, and

4         if you disagree with my interpretation, let

5         me know.                                                       10:14:26

6                   A.    Yes, ma'am.

7                   Q.     Georgia, Arizona, Texas,

8         Pennsylvania, Michigan, and Wisconsin.

9                         Do you see that?

10                  A.    Yes, ma'am.                                    10:14:31

11                  Q.    Who selected -- well, strike

12         that.

13                        Before I go on, you weren't

14        looking at the entire states, you were

15        looking at specific cities in those states?                    10:14:39

16                  A.    Yes.

17                  Q.    And who came up with those

18        locations?     Where does that come from?

19                  A.    I don't -- I don't remember --

20        I mean, I don't remember who came up with                      10:14:53

21        them.      These are very familiar areas that we

22        work with so often that it was just a --

23        almost a given, but I don't remember

24        specific.

25                  Q.    So you don't know who chose the                10:15:10


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1         cities?

2                   A.    No, I really don't.           It was

3         a -- I really don't.        It was a function of

4         where the drop boxes were and, you know,

5         what -- what made the most sense from -- you                        10:15:23

6         know, through the lens of a project like

7         this.

8                   Q.    Okay.    You didn't look at

9         anything in Florida?

10                  A.    No.                                                 10:15:30

11                  Q.    Was there any particular

12        reason?

13                  A.    Florida didn't -- as I recall,

14        their drop boxes were actually not drop

15        boxes.     It's a whole different level of                          10:15:40

16        insecurity.

17                        But we just -- just didn't.               I

18        mean, the -- they did have a drop box issue

19        as I generally recall, but we just didn't

20        look at Florida.                                                    10:15:57

21                  Q.    Okay.    Was the analysis that

22        OpSec provided to you complete before -- in

23        all these states before the filming of

24        2000 Mules?

25                  A.    Oh, all the geospatial stuff                        10:16:08


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1         was definitely, yes.

2                   Q.    For all the states?

3                   A.    Yes.

4                   Q.    Okay.     And then it says the

5         next category is deliverables and costs.                         10:16:19

6                         Do you see that?

7                   A.    Yes.

8                   Q.    And under 1 it says:            "Build

9         baseline look-back mobile device database."

10                        Did -- is that something that                    10:16:31

11        TTV did receive as a deliverable?

12                  A.    No, not -- we didn't receive

13        the database.       We received the results from

14        the building of that database.

15                  Q.    And how were the results                         10:16:43

16        presented to you?

17                  A.    They were presented ultimately

18        in some level of pattern of life studies

19        findings that went on to be provided to the

20        FBI.      That was it.                                           10:17:13

21                  Q.    So was there some sort of

22        written report that was provided?

23                  A.    There were written reports that

24        were provided on a -- on a

25        location-by-location basis, but it was so --                     10:17:38


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1         you know, when this was done, I really didn't

2         have an appreciation -- this is way out of

3         True the Vote's area of specialty, so I think

4         it's fair to say that what I thought -- what

5         I thought this data, how it really works and                   10:17:57

6         how it really works were very different.

7                         So because by the end of it was

8         clear that it -- you really had to have the

9         benefit of somebody that was trained in

10        reading this data.      It's just not like you                 10:18:11

11        print out an Excel spreadsheet necessarily.

12        It's -- it's a huge amount of data.

13                  Q.    But there was some sort of

14        summary of the results or some sort of report

15        that was provided to you?                                      10:18:24

16                  A.    Honestly, I don't recall that

17        there was a report provided to True the Vote

18        per se because it was -- as the results

19        started emerging, it became a function of

20        getting this into the right hands, and so it                   10:18:41

21        was presented to Georgia Bureau of

22        Investigations or to the Federal Bureau of

23        Investigations.

24                        I was seeing -- because we were

25        capturing data on our side, so it just -- it                   10:18:52


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1         sort of married itself, and I didn't feel the

2         need to look at all the geospatial stuff.                 I

3         just -- it just seemed to be coming together,

4         and we were in such a compressed period of

5         time that it went straight -- you know,                         10:19:05

6         straight to law enforcement or to

7         legislatures -- legislators.

8                   Q.     In what form did you present it

9         to those people?

10                  A.     Primarily just digitally.                      10:19:15

11        It -- it -- once we got into a rhythm, it --

12        the FBI had offered to set up hubs, and so

13        the data was originally transferred through

14        the representatives from South Texas that we

15        were working with.                                              10:19:32

16                         And then -- and then they were

17        to dispatch the various -- to the various

18        regions.       And our thought in that was that

19        was the very best way because there would be

20        no break in chain of custody or confusion                       10:19:44

21        about who had what version.           It was just, you

22        know, put in place and then moved from there.

23                  Q•     But at some point in time did

24        True the Vote have any of these, you know,

25        say, reports on particular drop boxes or                        10:20:01


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1         anything at all that was written in relation

2         to the study?       When I say "written," that --

3         that was not just a database.

4                   A.    Right.

5                         There were -- I mean, I -- it                    10:20:16

6         wasn't -- it wasn't a report, but there were,

7         you know, some maps.         In Wisconsin, we

8         provided a -- a -- a list of IMEI numbers

9         specifically.

10                        So there were things like that.                  10:20:42

11                  Q•    And -- and what happened to

12        those types of reports?          Do you still have

13        them?

14                  A.    If they weren't captured by

15        counsel, then we don't -- I don't have them.                     10:20:54

16                  Q.    Well, do -- do you -- I mean,

17        do you know as you sit here today if they

18        still exist?

19                  A.    I -- I don't know.           I mean, I

20        haven't looked -- looked at -- looked for                        10:21:07

21        those specifically outside of the bigger -- I

22        mean, I don't even know.           They may be in what

23        was provided.       I don't know.

24                  Q.    Okay.     Do you have any

25        recollection of getting rid of any that                          10:21:19


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1         data --

2                   A.    Oh, no.

3                   Q.    -- or reports or whatever?

4                   A.    No.

5                   Q.    So you would have still had --                  10:21:26

6         any -- anything that you were provided as a

7         deliverable in connection with this project

8         you should have -- you should still have it?

9                   A.    Yes.    I mean, I -- I really --

10        I should say I really -- I don't want to                        10:21:44

11        speculate because there were also instances

12        where as we were revising things, the last

13        thing I wanted to do was, you know, have data

14        that wasn't accurate.

15                  Q.    Uh-huh.                                         10:21:57

16                  A.    So in that regard there --

17        there could be, you know, versions.                I -- but

18        I don't want to speculate.           What I do know is

19        that when this lawsuit was filed, counsel was

20        given access to everything.                                     10:22:14

21                  Q.    Okay.    If we look at the

22        Paragraph 1.12, the second paragraph under

23        deliverables, it says:         "Deliverable will

24        include a list of mobile devices that were

25        observed within a predefined geofence for                       10:22:33


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 1        each ballot box."

 2                        Did you get such a list?

 3                  A.    I don't -- I don't think that

 4        True the Vote ever got such a list.                Not

 5        that -- not for any other reason than just                      10:22:50

 6        we -- we didn't, but OpSec did provide it

 7        directly to the Georgia Bureau of

 8        Investigations.

 9                  Q.    Okay.    So at some point in time

10        OpSec had a list?                                               10:23:03

11                  A.     Had -- well, had a database,

12        yes.

13                        And actually, let me revise

14 ,      that.      It was first provided to the Federal

15        Bureau of Investigations, and then it was                       10:23:17

16        shared.

17                  Q.    Okay.    Does True the Vote have

18        a copy of what was given to the FBI?

19                  A.     No.

20                  Q.    Do you know if OpSec does?                      10:23:27

21                  A.    I -- I don't know.

22                  Q.     Then 1.2 says:       "Geofence

23        suspected ballot harvesting organization

24        deliverable will include a list of mobile

25        devices that are observed within the                            10:23:41


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1         predefined geofence for each organization

2         location."

3                         Can you tell me how those

4         ballot harvesting organizations were

5         identified?                                                     10:23:54

6                   A.    Initially, we had had a couple

7         of informants in -- in Georgia -- one

8         particularly in Georgia, one particularly --

9         or two in Arizona -- actually, more than that

10        in Arizona -- that had suggested that -- that                   10:24:07

11        there were some organizations that seemed to

12        be a part of what they were -- had observed.

13        And so we wanted to measure whether or not

14        there was any validity to that.

15                  Q.    And so did you provide that                     10:24:25

16        information to OpSec and ask them to evaluate

17        it?

18                  A.    I -- I would have, yes.

19                  Q.    Yeah.    And then they were

20        supposed to use that -- well, strike that.                      10:24:32

21                        You expected they would use the

22        information you provided from informants to

23        geofence around the organizations?

24                  A.    Yes.    I mean, that plus, you

25        know, their own findings and patterns.                          10:24:43


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1                   Q.      And then under this paragraph

2         it says:       "The deliverable will include a

3         list of mobile devices that are observed

4         within the predefined geofence of each

5         organization location."                                           10:24:56

6                           Did you get a list of those

7         mobile devices?         "You" being TTV?

8                   A.      No.

9                   Q.      Do you know if it exists

10        someplace?                                                        10:25:05

11                  A.      It would exist in the database

12        that the FBI has.

13                  Q.      And forgive me if I asked you

14        this.

15                  A.      Sure.                                           10:25:14

16                  Q.      You don't have a -- you don't

17        have a copy of what the FBI was given?

18                  A.      No.

19                  Q.      And that was given directly

20        from OpSec?                                                       10:25:20

21                  A.      Yes.

22                  Q.      And then number -- No. 2

23        talks -- says:       "OpSec will provide big data

24        analytics and consulting services in close

25        coordination with the True the Vote TTV                           10:25:36


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1         team."

2                         Do you see that?

3                   A.    Yes.

4                   Q.    Who -- who was on -- who was

5         the coordinating person on the True the Vote                   10:25:42

6         team for this purpose?

7                   A.    That would have been me.

8                   Q.    And this also talks about

9         deliverables being certain -- lists of

10        certain mobile device, things.                                 10:25:58

11                        Did you get those lists?

12                  A.    They -- I mean, they were

13        presented over to the FBI once -- you know,

14        once we got to that point.          But -- and I -- I

15        saw it at that point, but I don't have a                       10:26:10

16        list.

17                  Q.    And when you say you saw it, in

18        what form?

19                  A.    As I mentioned, there were some

20        maps that showed pattern of life.             There were       10:26:20

21        IMEI -- some IMEI lists.         Actually, there

22        were quite a variety of things in the -- in

23        the database ultimately.

24                  Q.    But, again, you -- your

25        testimony is True the Vote doesn't have and                    10:26:39


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1         has never had --

2                   A.     We didn't keep any of -- any of

3         that.

4                   Q.     Okay.     And then the last

5         category of work was strategic consulting and                     10:26:50

6         support.       It says:    "OpSec group will work

7         with the TTV team to develop materials with

8         analytics, visualizations, and related deck

9         content."

10                         Do you see that?                                 10:27:03

11                  A.      Yes.

12                  Q•     And, again, were you the TTV

13        team that's referred to?

14                  A.     That was -- I would have been

15        lead, yes.                                                        10:27:10

16                  Q.     Okay.     And -- and what

17        materials were provided by OpSec in

18        connection with this stream of work?

19                  A.      Through OpSec, that's where --

20        I mean, that's where the pattern of life maps                     10:27:22

21        came from.      And any -- I mean, any lists of

22        IMEI-related stuff.         And -- yeah.         That's it.

23                  Q.     Okay.     But, again, you -- TTV

24        doesn't have copies of any of that?

25                  A.      No.    Not to the best of my                    10:27:40


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1         knowledge.

2                   Q.    And do you ever remember seeing

3         hard copies of any of that?

4                   A.    I -- I really don't -- I don't

5         know that we ever printed a hard copy.                          10:27:52

6                         In Arizona, we did, but there

7         was a letter that, as I recall -- but you

8         know what, let me -- it may not have had any

9         of this information in it.           But we just

10        didn't -- everything was digital.                               10:28:10

11                  Q.    Okay.    And, again, TTV didn't

12        get a digital copy?

13                  A.    Not that we still have, no.

14                  Q•    Well, did you have it at some

15        point?                                                          10:28:24

16                  A.    We didn't -- we didn't take --

17        ever take -- I mean, we didn't have computers

18        big enough to open the stuff.            But as we

19        talked, you know, sort of in a fragmented way

20        about certain -- certain map or certain --                      10:28:35

21        you know, like when we needed to provide the

22        IMEIs in Wisconsin, that was, you know,

23        provided in that way.        But, I mean, we don't

24        have it -- it -- other than the -- the

25        primary way it was provided, again, with the                    10:28:49


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1         thought being FBI was the keeper of record.

2         So...

3                   Q.       But you don't think you have

4         any of that data anymore?

5                   A.       It may have been provided for                   10:28:58

6         all I know, but it -- if it -- I mean, that's

7         all I can say.

8                   Q.       Okay.    And when you say "may

9         have been provided," you mean in the -- in --

10        to your counsel --                                                 10:29:07

11                  A.        Yes.

12                  Q•        -- and then to us?

13                  A.        Correct.    Well, I mean --

14                  Q.       Well, right.       You -- if it

15        existed, you provided it to your counsel?                          10:29:11

16                  A.       Correct.

17                  Q.       Let's look at -- this was

18        previously marked.          I don't know the number.

19                       (Discussion off the record.)

20        (BY MS. KUCK)                                                      10:29:34

21                  Q.       Okay.    Let's look at what was

22        previously marked as Exhibit 9.

23                       (Discussion off the record.)

24        (BY MS. KUCK)

25                  Q.       Do you have it?                                 10:29:56


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1                   A.    Yes, ma'am.

2                   Q•    Do you see that this is an

3         e-mail to you from -- from you to Debbie

4         D'Souza?

5                   A.    Yes.                                              10:30:04

6                   Q•    And this is dated August 12 of

7         2021?

8                   A.    Yes.

9                   Q•    And so you were sending her

10        some documents at this point in time?                             10:30:13

11                  A.    Yes.

12                  Q.    And why were you sending her

13        those documents?

14                  A.    This must have been after we

15        initially talked about the project.                And my         10:30:26

16        thought would be that I provided this to try

17        to explain as quickly as possible and maybe

18        as comprehensively as possible elements of

19        the -- of the project.

20                  Q.    Okay.    And -- and the project                   10:30:47

21        you're referring to is the one that was

22        prepared under the scope that we just talked

23        about --

24                  A.    Uh-huh.

25                  Q.    -- in Exhibit 8?                                  10:30:55


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1                   A.    Right.

2                   Q•    And then what are these --

3         there's some legal documents attached.

4                         What are these documents?

5                   A.    This was a draft of an                             10:31:01

6         intervention that was never filed.

7                   Q.    And why wasn't it ever filed?

8                   A.     Just, you know, as it all came

9         together, it        we just decided not to file

10        it.                                                                10:31:17

11                  Q•    Did that have anything to do

12        with -- well, strike that.

13                        And was the reason it wasn't

14        filed, was that a result of some discussion

15        you had with the NRSC?                                             10:31:33

16                  A.    No.

17                  Q.    You don't -- you don't have any

18        specific recollection as to why it wasn't

19        filed?

20                        MR. EVANS:        Objection.         Asked         10:31:42

21                  and answered.

22        (BY MS. KUCK)

23                  Q.    Go ahead.

24                  A.    I -- I think counsel at that

25        time was concerned about --                                        10:31:56


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1                            MR. EVANS:      Don't --

2                             THE WITNESS:      Oh.

3                            MR. EVANS:      No attorney-client

4                   privilege.

5                        (Speaking simultaneously.)                          10:32:09

6                            MR. EVANS:      Don't discuss

7                   anything that counsel told you.

8                            THE WITNESS:       Yeah.      Yeah.

9                        (Discussion off the record.)

10        (BY MS. KUCK)                                                      10:32:12

11                  Q.       Okay.    So let's break this up.

12                           So -- so were these -- I take

13        it these documents were prepared by some

14        counsel?

15                  A.        Yes.                                           10:32:17

16                  Q.       And who was that counsel?

17                  A.       Trying to remember the name of

18        the law firm.

19                           I'm sorry.      Okay.      Hall Booth

20        Smith.                                                             10:32:41

21                  Q.       I'm sorry?

22                  A.       Hall Booth Smith was the name

23        of the law firm.

24                  Q•       Okay.    And TTV -- did TTV

25        retain them?                                                       10:32:48


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1                   A.    Yes.

2                   Q.    And for what purpose?

3                   A.    For the purpose of potential

4         intervention in this case.

5                   Q.    And why was TTV interested in                   10:32:57

6         potentially intervening in this case?

7                   A.    This case was about the

8         Department of Justice having sued Georgia

9         over a piece of legislation that either had

10        passed or was in the -- in the process of                       10:33:11

11        being considered.       And I felt at the time

12        that the addition of this project that we had

13        undertaken might be useful in -- in their

14        discussions around drop boxes relative to the

15        legislation.                                                    10:33:28

16                  Q.    And who was the primary contact

17        at TTV with the law firm in connection with

18        preparing these papers?

19                  A.    That would have been me.

20                  Q.    Okay.    And did you -- were you                10:33:38

21        the person who provided the information that

22        they used to prepare the papers?

23                  A.    To some extent, yes.           There

24        was -- there was another person, her name is

25        Courtney Kramer, who also provided                              10:33:50


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1         information.

2                   Q.    And who was she?

3                   A.    She was executive -- she was

4         executive director of True the Vote for a

5         period of time.      I'm not sure if it was                      10:34:12

6         during this time or not.           It must have been.

7         I'm not -- I'm actually not certain.

8                   Q.    Okay.     Did she leave True the

9         Vote on good terms?

10                  A.    Yes.                                             10:34:27

11                  Q.    And let's just turn to the page

12        at the bottom that bears the Bates

13        No. TTV 06837.

14                  A.    06837.     Okay.

15                  Q.    And that -- that appears to be                   10:34:53

16        a draft of an affidavit from you.

17                        Do you see that?

18                  A.    Yes.

19                  Q.    Okay.     Did you -- did you have

20        any role in providing the information                            10:35:01

21        contained in here?

22                  A.    I mean, I had some role in

23        that, you know, I had discussions with them,

24        but this was a -- a draft that was neither

25        signed nor submitted so...                                       10:35:20


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1                   Q.    Right.

2                   A.    Yeah.

3                   Q.    I guess what I'm getting is how

4         far along were these papers?             Were they ready

5         to go?     Did you review them to make sure they                 10:35:28

6         were accurate?

7                         Where were you in the process?

8                   A.    The -- these were -- I would

9         say they would have been -- had we filed,

10        they would have been close to ready --                           10:35:42

11                  Q.    Uh-huh.

12                  A.    -- but there -- there were some

13        big things as I generally recall that needed

14        to be addressed, but it didn't get filed

15        so...                                                            10:35:50

16                  Q.    Uh-huh.

17                        Do you remember what those

18        things were?

19                  A.    Specifically -- you know what,

20        honestly, I don't recall.           I don't recall.              10:35:57

21                  Q.    Okay.

22                  A.    But I do -- but what I do

23        recall is that there were many.

24                  Q.    But you felt that -- that the

25        papers reflected sufficiently a -- a fair                        10:36:08


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1         description of the work enough that you gave

2         them to Ms. D'Souza?

3                   A.    Well, I wouldn't -- I wouldn't

4         characterize it that way.

5                   Q.    Okay.                                           10:36:23

6                   A.    I think I -- I viewed it more

7         as -- as a starting point.           When you start

8         cold with understanding a geospatial project

9         and, you know, it's just how to wrap your

10        brain around it, and so I thought this might                    10:36:36

11        be helpful, anticipating that there would be

12        likely some questions that would come of it.

13                        But this was, you know,

14        fundamentally the ideas of -- of it were --

15        you know, and it showed -- it showed I felt                     10:36:48

16        like our desire to try to find proper

17        placement for the -- the information that we

18        had.

19                  Q.    And there's -- if you flip to

20        TTV 006843, just a few pages back, there's                      10:37:03

21        a -- a draft affidavit of Mr. Phillips.

22                        Do you know whether

23        Mr. Phillips -- well, strike that.

24                        Did you ever provide this to

25        Mr. Phillips for his review?                                    10:37:16


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1                   A.    I -- I don't recall.

2                   Q.    Do you know if the lawyers did?

3                   A.    I -- I don't -- I really don't

4         know --

5                   Q.    Okay.                                           10:37:27

6                   A.        specifically.

7                   Q.    Do you know if anyone consulted

8         with him in connection with the preparation

9         of his affidavit?

10                  A.    Yes, I'm sure that happened.                    10:37:36

11                  Q•    Okay.    And who would that have

12        been who consulted with him?

13                  A.    I mean, I -- I couldn't tell

14        you specifically.       I guess that's my answer.

15        I really couldn't tell you.           I'm sure someone          10:37:51

16        did, but I couldn't tell you specifically.

17                  Q•    Okay.    Do you -- did -- did you

18        review his affidavit?

19                  A.    I don't recall reviewing his

20        affidavit.                                                      10:38:11

21                  Q.    Do you recall whether you

22        formed a view of -- of whether his affidavit

23        as drafted accurately reflected the work that

24        OpSec was doing for TTV?

25                  A.    I don't -- I don't recall                       10:38:23


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1         reviewing it at all.

2                   Q.    If you look at Paragraph 26,

3         which is on Page 849, it            it -- this is in

4         a section talking about the analysis that

5         OpSec was doing.                                               10:39:05

6                         And then 26 says:         "To further

7         narrow our investigation, we matched devices

8         that were found within a hundred feet of one

9         or more drop box locations on at least ten

10        occasions and were within a hundred feet of                    10:39:15

11        an organization of interest multiple times

12        during the study period?"

13                        Is that consistent with your

14        understanding of what OpSec did?

15                  A.    It is consistent -- it is                      10:39:25

16        consistent.     However, it fails to capture the

17        nuance of the 100 feet being for

18        investigatory purposes the starting point

19        with the idea being to -- it was our

20        understanding that -- that that hundred feet                   10:39:52

21        would -- would be an appropriate place for

22        investigatory purposes.

23                        Less so in -- in the way that

24        this was -- was written.         So it's -- it's an

25        example of -- of a place that I would have                     10:40:07


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1         not been happy with at that time.

2                   Q.    And what do you mean when you

3         say "for investigative purposes"?

4                   A.    The way that we looked at it

5         and I will also say that prior to this, I                       10:40:22

6         didn't have -- you know, I didn't have

7         exposure to working with law enforcement so

8         I'm -- what they said was what we accepted.

9                         That was to get to -- to get to

10        an area that allowed them to make their own                     10:40:38

11        decisions because they would have to

12        recreate, they would have to match up the

13        data.     And so that was the -- that was the

14        reasoning that -- yeah, I'll leave it there.

15        That was the reasoning.                                         10:40:52

16                  Q.    Okay.    So the idea when you say

17        "for investigative purposes," you're

18        referring to investigations that would

19        subsequently be done by law -- by law

20        enforcement personnel?                                          10:41:03

21                  A.    That's right.        That -- that's

22        where this all started, yes.

23                  Q.    Yeah.    Okay.

24                        And when it says "within a

25        hundred feet," is that a radius of a hundred                    10:41:09


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1         feet?

2                   A.       I don't know.         You could --

3         yeah.      I guess you could characterize it as a

4         radius.         There were instances, many, where a

5         drop box was up against the side of a                               10:41:19

6         building.

7                   Q.       Right.     So obviously --

8                   A.       Right.     And more --

9                        (Speaking simultaneously.)

10                       (Discussion off the record.)                         10:41:55

11                           MS. KUCK:       We'll leave it

12                  there.     The transcript is fine.

13                            THE WITNESS:       Very impressed.

14        (BY MS. KUCK)

15                  Q.       And then in the next paragraph                   10:42:00

16        it says -- it talks about we identified 242

17        unique mobile devices of interest.

18                           Do you see that?

19                  A.        Yes, ma'am.

20                  Q.       Those -- that 242 was in                         10:42:08

21        Georgia, right?

22                  A.        Yes, ma'am.

23                  Q•       Okay.     And the 242 were of the

24        ones that you matched using the criteria in

25        the previous Paragraph 26, right?                                   10:42:24


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1                   A.       Yes.

2                   Q.      Okay.     And was that in

3         connection with the general election or the

4         runoff?

5                   A.      As I generally recall, our --                    10:42:36

6         our initial look started with the runoff and

7         then look back.       I don't want to speculate

8         on -- on how it -- on -- I don't -- I don't

9         want to speculate.          I really don't recall.

10                  Q.      Okay.     So you don't know                      10:43:07

11        whether the two           sitting here today, you

12        can't remember whether the 242 was in

13        connection with the runoff -- and when I say

14        "the runoff," you understand I mean the

15        senate runoff --                                                   10:43:18

16                       (Speaking simultaneously.)

17                  A.      Sorry.

18        (BY MS. KUCK)

19                  Q.      Senate runoff in Georgia as

20        opposed to the general presidential election                       10:43:23

21        in November of 2020?

22                  A.       Yes.

23                  Q.      Okay.

24                  A.      We -- we -- the project started

25        looking at the runoff, and that's why I'm a                        10:43:31


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1         little fuzzy on where -- where or how much or

2         whatever lines were drawn around the various

3         elections.

4                   Q.    Okay.      Fair enough.

5                         MS. KUCK:        We've been going                 10:43:46

6                   over an hour.     I've got one more

7                   question on this document, and then we

8                   can take a break.

9                         MR. EVANS:        Sure.

10                        MS. KUCK:        Few more questions.              10:43:51

11        (BY MS. KUCK)

12                  Q.    If you look at the page

13        beginning -- it's right at the beginning.                   It

14        starts at 821, and it goes through 836.                 And

15        those pages are marked as -- as exhibits.                         10:44:07

16                        Do you see that?

17                  A.     Yes.

18                  Q.     What are these documents?

19                  A.    Exhibits that were created in

20        supplement to the -- the suit.                                    10:44:24

21                  Q.    And who created them?

22                  A.    I -- I would -- I would be

23        speculating.        True the Vote did not create

24        them.

25                  Q     Do you know if OpSec created                      10:44:42


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1         them?

2                   A.    I -- I don't.        I don't -- I

3         can't say definitively.

4                   Q.    Okay.    Who else other than TTV

5         and OpSec would have had sufficient                             10:44:55

6         information to create these?

7                   A.    The law firm may have

8         attempted.     I -- I really don't know.

9                   Q.    But, for example, Exhibit F --

10                  A.    I'm sorry.                                      10:45:19

11                  Q.    -- which is on 826, does

12        that -- seeing that, do -- do you know where

13        that came from?

14                  A.    I believe that these were

15        similar to at minimum the type of map that                      10:45:36

16        Red Metrics was providing.

17                  Q.    Okay.    Did you have any

18        and -- well, strike that.

19                        Red Metrics was a contractor

20        that OpSec worked with on this project?                         10:45:49

21                  A.    Correct.

22                  Q.    Did you have any direct

23        communications with Red Metrics?

24                  A.    I did not.

25                  Q.    And -- but your understanding                   10:45:55


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1         is this type of -- of map would have -- was

2         being provided by Red Metrics to OpSec?

3                   A.    Well, I'm speculating only on

4         the basis of understanding that OpSec doesn't

5         do graphic -- typically doesn't do graphic                       10:46:13

6         stuff.

7                   Q.    Uh-huh.

8                   A.    So that would be my thought.

9         But, again, I am -- I am speculating.

10                  Q.    Okay.     But other than OpSec or                10:46:19

11        Red Metrics, can you think of anybody else

12        who would have had this information to -- to

13        create these maps?

14                  A.    I mean, theoretically the FBI.

15        But, you know, no.        I mean, that would be it.              10:46:32

16                  Q.    Okay.     And if the FBI had it,

17        it was provided by OpSec?

18                  A.    That -- yes -- well, I mean,

19        the data would have been, and then they would

20        have done graphics or whatever.                                  10:46:43

21                  Q.    Right.     Have you seen maps like

22        this in any other context?

23                  A.    In any other context?

24                  Q.    Yeah.     I see them here.

25                  A.    Uh-huh.                                          10:46:54


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1                   Q.    Were these part of the

2         deliverables, for lack of a better word, that

3         TTV got in connection with the contract we

4         talked about?

5                   A.    Well, again, we never took                       10:47:05

6 1       ownership or possession or -- but I do recall

7         seeing them, and I do believe that they were

8         a part of what was provided to the FBI, but

9         that handoff was not done by True the Vote.

10                  Q.    Right.     It was done by OpSec?                 10:47:20

11                  A.    Yes.

12                  Q.    If you look at the page,

13        it's -- it says Exhibit B at the top, but

14        it's TTV 006822.

15                  A.    Okay.                                            10:47:48

16                  Q.    And it says "Organizations of

17        interest"?

18                  A.    Yes.

19                  Q.    Were those the -- were those

20        organizations listed there among the ones                        10:47:56

21        that you referenced when you were talking

22        about -- when we were talking about the

23        contract and you said informants had provided

24        you with some information?            Is that where

25        this -- these names of these organizations                       10:48:10


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1         came from?

2                   A.    By this point in the analysis,

3         I would -- I -- I really don't remember if --

4         I really don't remember if what we were

5 I       originally given in Georgia turned out to be                    10:48:29

6         any of these or not.        I don't -- I don't

7         recall.

8                   Q.    Okay.    In looking at the names

9         of these organizations, the ones                   I'm

10        talking about the ones in Georgia, were they                    10:48:53

11        ultimately organizations that TTV concluded

12        were participating in ballot harvesting?

13                  A.    Well, we never concluded

14        anything.      We -- we observed that there were

15        patterns.                                                       10:49:13

16                  Q.    Okay.    Were these organizations

17        ones in which TTV observed patterns that it

18        believed could be reflective of ballot

19        harvesting?

20                  A.    Well, I mean, we -- we observed                 10:49:26

21        there was a pattern between devices going

22        back and forth from these addresses or from

23        addresses to drop boxes.

24                  Q.    Okay.    And then when you looked

25        at the addresses, these are organizations                       10:49:43


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1         that were at these -- those addresses?

2                   A.    Yeah.    I -- yes.       I -- I -- I'm

3         going to -- I'm going to say I -- it must

4         have been.

5                   Q.    Okay.    The set of exhibits we                 10:49:59

6         just looked at, do you remember reviewing

7         them in connection with this potential

8         filing?

9                   A.    All I can tell you is I --

10        well, I remember seeing them in the draft.                      10:50:19

11                  Q.    Okay.    And I know we talked

12        about Mr. Phillips's affidavit in particular,

13        but did you share this full draft with

14        Mr. Phillips?

15                  A.    I -- I would -- I mean, I would                 10:50:30

16        assume, but I don't recall.

17                  Q.    Okay.    Do you recall having any

18        discussions with him about the substance of

19        the draft?

20                  A.    The substance of the draft?                     10:50:40

21                  Q.    Yeah.

22                  A.    Not any specific conversations,

23        no.

24                  Q     Okay.

25                        MS. KUCK:      So we can take a                 10:50:49


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1                   break then because we've been going an

2                   hour and 20 minutes.

3                          MR. EVANS:     Okay.

4                          THE VIDEOGRAPHER:         Off the

5                   record at 10:50.                                      10:50:55

6              (Break from 10:50 a.m. to 11:05 a.m.)

7                          THE VIDEOGRAPHER:         Back on the

8                   record at 11:05.

9                          MS. KUCK:     And since we took

10                  the break, Mr. Vining, who is counsel                 11:04:46

11                  for the D'Souza defendants, has also

12                  joined us by telephone.

13                         Is that right?

14                         MR. EVANS:     Who is that?

15                         MS. KUCK:     Austin.                          11:04:55

16                         MR. EVANS:     Oh, Austin.

17                         MS. KUCK:     Austin Vining.

18                         MR. EVANS:     Got it.

19                         MS. KUCK:     And then,

20                  Mr. Vining, you're not recording this,                11:05:00

21                  are you?

22                         MR. VINING:      I am not.

23                         MS. KUCK:     And do you represent

24                  that you will not at any time?

25                         MR. VINING:      I will not record             11:05:07


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1                   this at any time.

2                          MS. KUCK:      Okay.     And do you

3                   have your headphones on so no one else

4                   can hear?

5                          MR. VINING:       I do have my                  11:05:15

6                   headphones on, and I am alone.

7                          MS. KUCK:      Okay.     Great.     Thank

8                   you.

9         (BY MS. KUCK)

10                  Q.     So let me show you a document                   11:05:20

11        that we've marked as Plaintiff's Deposition

12        Exhibit 33, which bears TTV 006957 through

13        TTV 00762.

14                  A.     Oh, that's it.         Okay.

15             (Marked Engelbrecht Exhibit No. 33.)                        11:05:39

16        (BY MS. KUCK)

17                  Q.     And this seems to be an e-mail

18        to Alex --

19                         MS. HYLAND:       Can I have a copy,

20                  please?                                                11:05:55

21                         MS. KUCK:      Oh.

22                   (Discussion off the record.)

23        (BY MS. KUCK)

24                  Q.     This seems to be an e-mail from

25        you to an Alex Pfeiffer with an address at                       11:06:14


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 1        Fox News.

 2                        Do you see that?

 3                  A.    Yes.

 4                  Q.    And who is Mr. Pfeiffer?

 5                  A.    He was a -- I think a producer,                 11:06:19

 6        but at Fox, and he represented a number of

 7        shows.

 8                  Q.    Was Tucker Carlson's one of

 9        those shows?

10                  A.    I -- I really couldn't -- I                     11:06:34

11        can't affirm that.       I don't know.

12                  Q.    Okay.    And why were you

13        sending -- well, strike that.

14                        It appears that -- that you

15        sent him the same set of documents that you                     11:06:45

16        had sent to Ms. D'Souza that we just looked

17        at a few minutes ago?

18 I                A.    Yes.

19                  Q.    And this is in September, so

20        this is a -- a month later than the -- the                      11:06:53

21        sending of them to -- strike that.

22                        This is in September, which is

23        a month after you apparently sent them to

24        Mrs. D'Souza, correct?

25                  A.    I -- yeah.      Yes.                            11:07:04


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1                    Q.    Okay.    And why were you sending

2         them to Mr. Pfeiffer?

3                    A.    It's been a long time.             And

4         I         I -- I -- you know, all -- I don't

5         really -- specifically recall.              But it would         11:07:20

6         have clearly been around trying to explain

7         what we've been working on and -- and try to

8         determine whether or not there was any

9         interest in taking a closer look at it.

10                  Q.     And there's a -- fair to say a                  11:07:35

11        summary of your work in the cover e-mail

12        here?

13                   A.    Yes.

14                  Q.     And who prepared that?

15                   A.    I would have.                                   11:07:46

16                  Q.     And so where did you get the

17        information that's included here, the

18        specific -- I'm talking about the specifics

19        relating to the project?

20                   A.    Yeah.    That would have been                   11:07:59

21        from OpSec.      Oh, well, let me make sure.

22                         To -- to the extent that it

23        includes data elements that are -- I would

24        say correlated to open records requests and

25        those kinds of things, those would have been                     11:08:19


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1         from us.

2                   Q.    Okay.    So the first category

3         under geospatial data, would that have come

4         from OpSec?

5                   A.    Yes.                                            11:08:28

6                   Q•    And then under the second

7         category, which is video --

8                   A.    Yes.

9                   Q•    -- was that information that

10        you had at TTV?                                                 11:08:34

11                  A.    That's a good question.            We did

12        request the video, but we did not have the

13        capacity to open and view it.            It required

14        special -- everything had a different viewer,

15        and it was a ton of data.          And so -- and it             11:08:49

16        was all hard drive and whatever so...

17                  Q.    Uh-huh.     So did you then

18        provide that data for OpSec for OpSec to do

19        its work with?

20                  A.    Yes, we provided the hard                       11:09:04

21        drives to OpSec.

22                  Q.    Okay.    And then in parentheses

23        under the first bullet under video, it says:

24        "Video availability in other states is

25        essentially nonexistent despite CISA                            11:09:13


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1         guidelines to contrary.         Open records

2         requests submitted consistently since January

3         continue to be met with conflicting

4         communications and stalls."

5                         Am I correct in understanding                    11:09:27

6         that at this point in time you only had been

7         able to obtain the drop box surveillance

8         video in Georgia?

9                   A.    I -- I can't confirm that.            We

10        ultimately got some limited video out of                         11:09:48

11        Michigan and one drop box out of Wisconsin.

12        But it -- that may have been what I was

13        referring to when I said "essentially

14        nonexistent."

15                  Q.    The -- the video that was used                   11:10:03

16        in 2000 Mules film, that was provided by TTV

17        by way of OpSec, correct?

18                  A.    Correct.

19                  Q.    And was any of that video used

20        in the film from any state other than                            11:10:21

21        Georgia?

22                  A.    I don't believe so, no.

23                  Q.    Okay.    So you think everything

24        in the film came from the Georgia records?

25                  A.    Yeah.    There was a sequence                    11:10:35


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1         about long-term care that happened in -- I

2         don't remember if that was Michigan or

3         Wisconsin.

4                   Q•    But other than that, where

5         there were clips of people voting --                            11:10:51

6                   A.    Yeah.    I don't believe so.

7                   Q.    -- you think it was all from

8         Michigan -- or from Georgia?

9                   A.    All from Georgia.

10                  Q.    Yeah.                                           11:10:57

11                  A.    Yes, I think so.

12                  Q.    Okay.    And then the next

13        section is a description of the additional

14        exhibits and database correlations.

15                        Is that information that you                    11:11:09

16        prepared or you got from someone else?

17                  A.    Let's see, the first three

18        bullets would have been OpSec related.

19                        The database of all available

20        chain of custody would have been True the                       11:11:37

21        Vote.

22                        And then the extensive open

23        records request would have been True the

24        Vote.

25                  Q.    And everything else was OpSec?                  11:11:54


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1                   A.     Yes.

2                   Q.     And what were you -- what was

3         your objective here, what were you hoping

4         that Mr. Pfeiffer might do with this

5         information?                                                      11:12:08

6                   A.     Yeah.    I -- I just -- take an

7         interest.      It was a very chaotic time.            And I

8         think then and now that this body of work

9         was -- was -- would have been very important

10        to explore deeply.        And just -- and we hadn't               11:12:26

11        talked about it at all.          Because we were

12        trying to work with law enforcement and not

13        get ahead of them.

14                         And so it felt a little like

15        trying to catch up, like let me just show you                     11:12:39

16        what we've been working on, you know.                That

17        was it.

18                  Q.     And did you have any follow-up

19        conversations with Mr. Pfeiffer after you

20        sent this information?                                            11:12:51

21                  A.    Not that I can recall.

22                  Q.    Did you follow up with him at

23        all?

24                  A.    Not that I can recall.

25                  Q.     Okay.    The draft intervenor                    11:12:58


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 1        documents we've been talking about --

 2                  A.    Uh-huh.

 3                  Q.    -- did you provide those to

 4        anybody else other than Ms. D'Souza and

 5        Mr. Pfeiffer?                                                   11:13:11

 6                  A.    Not -- not that I can recall.

 7                  Q.    Do you recall, though, at some

 8        point later after the lawsuit was filed you

 9        provided them to the Salem general counsel?

10                  A.    I don't specifically recall                     11:13:20

11 ,      that, but if that's what the documents show,

12        then that's what I did.

13                  Q.    Okay.    You can't remember

14        anybody else?

15                  A.    No.                                             11:13:31

16                  Q.    All right.      In May of 2022

17 ,      there was a lot of postings by TTV about

18        pulling the rip cord and releasing some data.

19                        Do you remember that?

20                  A.    Yes.                                            11:13:52

21                  Q.    And was that data that TTV had,

22        or was it all data that OpSec had?

23                  A.    It would have been data that

24        OpSec had.     We would have probably put in

25        like the bullets I was just talking about                       11:14:02


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1         like the spreadsheet of chain of custody

2         documents, but it was broadly what OpSec had

3         at that point or what the database consisted

4         of at that point, to be more specific.

5                   Q.    Okay.     And that data, though,                   11:14:15

6         was never released, correct?

7                   A.    No.

8                   Q.    And why not?

9                   A.    2022 turned out to be a very --

10        preceding months turned out to be very                             11:14:31

11        difficult on many levels.           And that plus as

12        we -- you know, as we tried to put something

13        into a presentable format, you couldn't

14        just -- you couldn't just post it.                  It would

15        just fry anybody's computer.                                       11:14:50

16                        So how would you do that?              How

17        would you chunk it up?          How would you, you

18        know, post it?

19                        The costs were extremely

20        significant.        And, you know, we know well                    11:15:00

21        enough that if you post something that's not

22        easily digested, you get as much pushback

23        than if you just do it at all and just say

24        this is what's going on so we -- you know,

25        that's what ultimately we began to post.                           11:15:19


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1         Like, this is what's happening, and this is

2         why it's not being posted so...

3                   Q.    And do you remember when the

4         decision was made finally that you wouldn't

5         be posting it?                                                  11:15:30

6                   A.    I -- I don't recall.

7                   Q.    You know a man in Georgia by

8         the name of David Cross?

9                   A.    I -- I certainly -- I do know

10        his name, yes.                                                  11:15:51

11                  Q.    Okay.

12                  A.    And I have met him, yes.

13                  Q.    And who -- and what context do

14        you know him?

15                        I'm sorry, in what context have                 11:15:59

16        you met him?

17                  A.    I -- I became aware of him

18        after he filed a complaint with the Secretary

19        of State that we got brought into without

20        my -- I didn't know who he was at the time.                     11:16:18

21                        And that -- I mean, that was --

22        that was how that happened.

23                   (Discussion off the record.)

24                        THE WITNESS:       We done with 33?

25                        MS. KUCK:      We're done with 33.              11:16:46


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1                           THE WITNESS:       Okay.      Try to

2                    keep them...

3         (BY MS. KUCK)

4                    Q.    And that -- the complaint that

5         you're talking about that he filed in Georgia                     11:16:50

6         was in April of 2022.

7                          Does that sounds right?

8                    A.     Yeah.    I would have to look at

9         it.       I mean, that's -- I mean, I don't know

10        when he actually filed it.                                        11:16:58

11                   Q.     Yeah.

12                   A.    I think that's when -- whatever

13        the dates are on the documents.

14                   Q.    Right.

15                   A.    I'm not objecting to those.                      11:17:04

16                  Q.     Okay.     Let's mark as Exhibit 32

17        a document bearing Bates numbers MA-000460

18        through MA 00462.

19              (Marked Engelbrecht Exhibit No. 32.)

20                     (Discussion off the record.)                         11:17:55

21        (BY MS. KUCK)

22                   Q.     So the -- this document appears

23        to be a screenshot from a post on Facebook by

24        True the Vote.

25                         Do you see that?                                 11:18:07


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1                   A.    Yes.

2                   Q.    And this is January 30 of --

3         doesn't have the year, but I can represent to

4         you it's 2022.

5                   A.    Okay.                                            11:18:16

6                   Q.    The -- it says:         "True the Vote

7         would like to extend a special thank you to

8         David Cross for being a great American.               We

9         deeply appreciate his work for free and fair

10        elections in Georgia.        It's patriots like him              11:18:26

11        that make this country great.            This is just

12        the beginning.      Get ready, patriots."

13                        Do you see that?

14                  A.    I do.

15                  Q.    And so this is -- this is                        11:18:35

16        January before his complaint was filed in

17        April?

18                  A.    (Nodding head.)

19                  Q•    Does this refresh your

20        recollection in any way that you were aware                      11:18:44

21        of him prior to the time he submitted the

22        complaint?

23                  A.    This does -- I do recall this.

24                  Q.    Yeah.

25                  A.    I was not aware of -- of this                    11:18:51


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1         post.     I -- it is my general recollection

2         that someone from the team at that time knew

3         David now that I'm seeing this.

4                   Q.     Uh-huh.

5                   A.     And I remember being extremely                11:19:07

6         frustrated.      In fact, I'm frustrated now

7         looking at it because as I genuinely recall

8         what this gentleman in this video goes on to

9         hold up appears to be voter registration

10        applications which was not -- I mean, it's                     11:19:22

11        not necessarily at cross purposes with the --

12        with the comment, but it wasn't -- it wasn't

13        accurate.      I mean, in my -- I would not have

14        done this, and so I was -- I was frustrated

15        at the time.                                                   11:19:37

16                  Q.     And do you remember who it was

17        on your team that was responsible for posting

18        this?

19                  A.    It most likely had been

20        Chelsea.                                                       11:19:48

21                  Q.    Did she -- did she know

22        Mr. Cross?

23                  A.    I can't -- I mean, they were

24        both from Georgia, but I can't -- somebody

25        knew him or maybe his name had been published                  11:20:00


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1         with -- along with this.          I don't -- I don't

2         know.

3                   Q.    What do you recall about any

4         conversations you had with her about this

5         posting?                                                        11:20:09

6                   A.    As I vaguely recall --

7                   Q.     Uh-huh.

8                   A.    -- this got a good bit -- not

9         this necessarily, but his original or

10        whatever -- whatever -- if he posted                            11:20:21

11        something or however it originally came out,

12        I don't recall how, but I remembered the

13        conversation with Chelsea saying that when

14        you -- when he -- as I -- again, I'm -- as I

15        generally recall, at some point in this video                   11:20:35

16        he fans out what appears to be very long

17        pieces of paper.

18                        I say those are not -- those

19        are not ballots.      Those are not in a security

20        envelope.      Who knows what he's putting in.            I     11:20:46

21        mean, that's not something we would be

22        highlighting or should be highlighting.

23                  Q.    Okay.    And the -- the

24        discussion you had with her about this, was

25        it around the time of the post or at some                       11:20:59


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1         later point in time?

2                   A.       I couldn't -- I really couldn't

3         tell you.

4 I                 Q.        Okay.    And you can't recall

5         whether it was after you learned about the                          11:21:09

6         complaint that he filed in Georgia?

7                   A.        If -- I'm sorry.         If this came

8         after he filed the complaint in Georgia?

9                   Q.        You became -- did you become

10        aware of it before or after he filed his                            11:21:23

11        complaint?

12                  A.       I -- I couldn't -- I couldn't

13        tell you.

14                  Q.        Okay.    So let's take a look at

15        his complaint which we marked yesterday as                          11:21:37

16        Exhibit 29.

17                  A.        Okay.

18                       (Discussion off the record.)

19                  A.        Okay.

20        (BY MS. KUCK)                                                       11:22:06

21                  Q.        And is this the -- the

22        complaint filed by Mr. Cross that you were

23        referring to?

24                           I should actually refer --

25        because there's a number of documents here.                         11:22:21


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1         I should refer you to 82 -- I think it's

2         Page 8231 --

3                         MS. HYLAND:       8231?

4                         MS. KUCK:      Yeah.

5                         THE WITNESS:       Okay.                        11:22:40

6         (BY MS. KUCK)

7                   Q.    -- through 8237.

8                   A.    Okay.

9                   Q.    That's his complaint?

10                  A.    I -- I -- just to be clear,                     11:22:51

11        this is -- we got -- everything came back as

12        part of his complaint so --

13                  Q.    Okay.

14                  A.    -- I don't -- I'm not entirely

15        sure what would be considered as -- was what                    11:23:06

16        Mr. Cross specifically submitted.

17                  Q.    Okay.    And when you say "what

18        came back," you're referring -- you                 you

19        your testimony is you obtained these

20        documents from an open records request?                         11:23:21

21                  A.    Open records request.

22                  Q.    In Georgia?

23                  A.    Yes.

24                  Q.    And what caused you to make

25        that request?                                                   11:23:27


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1                   A.       I had read in the newspaper

2         that True the Vote's complaints had been --

3         what's the right word -- discussed or

 4        determined, I guess.            And I -- I had no

5         knowledge of what was being -- what that                            11:23:46

6         would be.

 7                           And there was, I believe -- I

8         believe the reference that in the -- in --

9         that the -- the trigger was the SEB 2022-054

10        that I -- that that was the -- the thing I                          11:24:02

11        thought we could -- we could go after.                   I had

12        no idea really what was -- what -- what we

13        should be looking for.

14                            Yeah.    That's -- I should read

15        this first.         That's correct.         Because that's          11:24:16

16        how we -- how we -- how we laid this out.

17                       (Discussion off the record.)

18        (BY MS. KUCK)

19                  Q.       And when you say "54," you're

20        referring to the page at the bottom?                                11:24:29

21                  A.       No, I'm referring to the

22        complaint number, like 20 -- like on

23        Page 8230.

24                  Q.       Okay.     Okay.     So Page 8230?

25                  A.        That's just an example of how                   11:24:48


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1         the state election board was numbering cases

2         and --

3                   Q.       I see.

4                   A.        Yeah.    And that's what I knew

5         had been referred to.            Somewhere I'd read it.             11:24:57

6         I mean, I must have read it.                I wouldn't have

7         heard that.        But that's what I knew to go by

8         because I didn't -- we had submitted

9         complaints, but we hadn't been advised of

10        anything at the SEB and I didn't -- I didn't                        11:25:10

11        know that ours had been given any -- whether

12        or not they had been given case numbers, so I

13        was just trying to figure out what was going

14        on.

15                  Q.       And so -- so TTV around this                     11:25:20

16        time had also submitted its own complaint?

17                  A.        No, we submitted complaints

18        back in initially -- oh, gosh                   end of

19        October or November of 2021.

20                  Q.       Right.     And it was still                      11:25:40

21        pending, though, at this time in April of

22        2022?

23                  A.       Oh, yeah.

24                       (Discussion off the record.)

25        (BY MS. KUCK)                                                       11:26:05


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1                   Q.    Okay.    Let's mark as Exhibit 34

2         a document bearing MA-0000631.

3              (Marked Engelbrecht Exhibit No. 34.)

4         (BY MS. KUCK)

5                   Q.    And this is an agenda from the                  11:26:29

6         state board of election Georgia Secretary of

7         State dated May 17 of 2022.

8                         Do you see that?

9                   A.    Yes.

10                  Q.    And is the -- under Section 7                   11:26:41

11        there are three cases referred to.

12                        Are those the cases referred to

13        Mr. -- that were filed by Mr. Cross?

14                  A.    I don't know that they were all

15        filed by Mr. Cross.       I just knew that those                11:26:52

16        were the ones we wanted to look at.

17                  Q.    Okay.    But if we look at the

18        number on Page 8231 that you were referring

19        to, the first page of -- of the -- if we look

20        at 8231?                                                        11:27:15

21                  A.    Yes.

22                  Q.    And that says "Case title" --

23                  A.    Uh-huh.

24                  Q.    -- "SEB 2022-054"?

25                  A.    Yes.                                            11:27:23


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1                   Q•    And that lines up with one of

2         the ones that's under Section 7?

3                   A.    Correct.     Yes, it does.

4                   Q.    Okay.    And this case,

5         SEB 2022-054, you under -- do you understand                    11:27:34

6         that was a case filed by Mr. Cross making

7         allegations against Mr. Andrews who is the

8         plaintiff in this case?

9                   A.    Yeah.    At the time, I didn't

10        know what it was.       But, I mean, having read                11:27:52

11        these documents, yes.

12                  Q.    Okay.    And then if you look on

13        that agenda further up under No. 5?

14                  A.    Yes.

15                  Q.    It says "Update on True the                     11:28:01

16        Vote complaint"?

17                  A.    Yes.

18                  Q.    Do you know what that refers

19        to?

20                  A.    We were not aware that -- that                  11:28:05

21        there was going to be any discussion about

22        anything related to True the Vote.

23                        As I generally recall, a

24        representative from the Secretary of State's

25        office talked with the board about -- I -- I                    11:28:23


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1          really don't recall the -- the back-and-forth

2          specifics, but -- I don't -- I really don't

3          recall the back-and-forth specifics.

4                           The end result was, as I -- as

5          I believe out of this meeting, the state                        11:28:51

6          election board authorized to advance or -- or

7          shortly after -- thereafter we received a

8          subpoena.      So that -- that was the nature of

9          that, but I didn't know anything about it.                 I

10         wasn't prepared for it.                                         11:29:07

11                   Q.    Did -- did you or anyone else

12         representing True the Vote attend this

13         meeting on May 17, 2022, of the Georgia state

14         election board?

15                   A.    Not to the best of my                           11:29:20

16         knowledge.

17                   Q.    So when -- so you received

18         Mr. Cross's complaint through the open

19         records process in Georgia?

20                   A.     Yes.                                           11:29:42

21                   Q.    And if you look at 8233, which

22         is the second page of the exhibit, Exhibit 9

23         I think it is -- 29, it says, quote, A

24         private investigative organization, True the

25         Vote, purchased billions of cell phone pings,                   11:30:00


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1          and they identified this individual -- which

2          is underlined -- by tracking his cell phone

3          pings to multiple ballot drop boxes.

4                           Do you see that?

5                    A.     I do.                                           11:30:11

6                    Q.     Is that statement true?

7                    A.     No.   That is not true.

8 I                  Q.     And so where would Mr. Cross

9          have gotten that idea?

10                   A.     I really don't know.                            11:30:18

11                   Q.     Did you ever ask him?

12                   A.      Yes, I did.      I e-mailed him

13         and -- because I wanted to have something in

14         writing.       And said what -- you know, it's

15         part -- it's an exhibit somewhere because                        11:30:31

16         I've seen it.

17                          And asked why he included True

18         the Vote.      And he said he -- he didn't think

19         that he had.       And I just -- oh, you know,

20         Okay.     I mean, yes, you did.          But that was            11:30:45

21         it.

22                          And then I went on to say:

23         "Please don't do that."

24                   Q.     Did you -- in that e-mail

25         chain, did you tell him that that statement                      11:30:54


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1          was false?

2                    A.      I -- I don't remember the

3          specifics of the e-mail chain.                It's possible

4          that I did.       I -- I definitely told him this

5          was not -- we have no affiliation with this                        11:31:04

6          and don't do it.          Don't include us in these

7          things.        This is not -- we're not a party to

8          this.

9                    Q       Well, let's look at TTV 00016.

10                           Okay.     So let me mark as                      11:31:26

11         Exhibit 35 a document bearing control Nos.

12         TTV 00016 through 00017.

13              (Marked Engelbrecht Exhibit No. 35.)

14         (BY MS. KUCK)

15                   Q.      Is this the e-mail chain that                    11:32:06

16         you were referring to your correspondence

17         with Mr. Cross?

18                   A.       Yes.

19                   Q.      So it looks like the -- from

20         the chain that he actually reached out to you                      11:32:14

21         on May 22 about your complaint.

22                            You see that on the second

23         page?

24                   A.      I do see it, but it may be a

25         time zone thing because he's responding --                         11:32:30


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1          you know, I said:      "To avoid confusion,

2          please don't reference True the Vote."

3                         And then he says:           "I don't

4          think I've ever referenced True the Vote."

5                    Q.   At the        in the top one he is,              11:32:40

6          but I'm going to the -- if you look on

7          Page 17.

8                    A.   Oh.

9                    Q.   It looks like he reached out to

10         you, and then you responded.                                    11:32:47

11                   A.   Oh, that's possible.            I don't

12         recall it that way, but I guess that's --

13         that's possible.

14                   Q.   And in -- in the response that

15         you gave, which is at the bottom of 2 --                        11:33:01

16         of -- of TTV 00016, you say to -- "Also, I

17         have a request.      To avoid confusion in your

18         further complaints, please don't reference

19         True the Vote or the movie.           That will avoid

20         future misrepresentations in the press which                    11:33:17

21         will definitely help us both."

22                        Do you see that?

23                   A.   Yes.

24                   Q.   But you didn't say to him the

25         information in your complaint is incorrect?                     11:33:24


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1                    A.        Yeah.     I -- I mean, I -- I said

2          it was a misrepresentation, but I didn't go

3          beyond that.        I felt like if True the Vote

4          didn't have anything to do with it, he can

5          say whatever he wants to say.                 I just don't           11:33:37

6          want to have us named in it.

7                    Q.       Do you ever remember having any

8          communication with him other than this e-mail

9          chain about the complaint that he filed?

10                   A.       About the complaint that he                       11:33:50

11         filed?         I really don't recall.

12                   Q.       But the -- the back-and-forth

13         you had with him about the complaint that you

14         were remembering in your earlier answer,

15         that's what this document --                                         11:34:09

16                   A.        Yes.

17                   Q.        -- is?

18                   A.        Yes.

19                   Q.       Do you -- are you aware of

20         anyone at TV -- TTV ever -- ever saying to                           11:34:14

21         him that, you know, his -- he had

22         misrepresented TTV's work in his complaint?

23                   A.        That they said that to me?

24                   Q.        That -- no.

25                            Do you -- do you recall anyone                    11:34:29


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 1         at TTV saying -- saying that to him?

 2                   A.    I -- I -- I -- it's possible,

 3         but I -- I don't -- I wasn't -- as I

 4         generally recall, I wasn't in a conversation

 5         where that specifically occurred, but it's                     11:34:42

 6         possible.

 7                   Q.    But you don't know -- you can't

 8         identify anybody?

 9                   A.    I can't.    I mean, you know,

10         there were people that were working with us                    11:34:51

11 I       at that time that lived in Georgia.               It's a

12         very small community.       It's entirely

13         possible, but I -- I can't -- I don't know of

14         a specific example.

15                   Q.    Is it possible that one of                     11:35:00

16         those -- those people gave him the

17         information that's reflected in his

18         complaint?

19                   A.    I wouldn't -- I wouldn't see

20         how.      I mean, they -- they wouldn't have had               11:35:11

21         access to anything at that point so...

22                   Q.    This is       so the complaint is

23         dated April 25, 2022?

24                   A.     Uh-huh.

25                   Q•    The movie wasn't out at that                   11:35:24


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1          point, correct?

2                    A.       That's right.

3                    Q.       Okay.     But the trailer was out?

4                    A.       The -- yes, the -- there were

5          two trailers, and the one of them had been                          11:35:32

6          out for a while.           I don't recall the second

7          one.

8                    Q•       Okay.     And we also -- we spoke

9          yesterday with Mr. Phillips about an

10         appearance you did on Charlie Kirk?                                 11:35:47

11                   A.        Yes.

12                   Q.        You remember that?

13                            And that was prior to this as

14         well, right?         That was April 8?

15                   A.       I -- whatever -- whatever date                   11:35:56

16         it was.

17                   Q.       Other than those -- those

18         two -- the trailers and the Charlie Kirk

19         interview, are you aware of any other public

20         discussion from which he could have drawn the                       11:36:21

21         conclusions that he has in this bullet?

22                   A.        No.    But I am recalling he also

23         was very active in -- in filing complaints

24         and was also getting open records requests

25         video.         That, I do -- that, I do recall.               I     11:36:40


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1          couldn't tell you the specific

2          conversation --

3                    Q.    Right.

4                    A.    -- or who told me that, but I

5          do recall that.                                                  11:36:48

6                    Q.    But none of that would have

7          formed any basis for a statement that True

8          the Vote had purchased cell phone pings and

9          identified this individual by tracking his

10         cell phone?                                                      11:37:00

11                   A.    No, that would not have been --

12         that's not true.

13                   Q.    Right.

14                         And you never asked him where

15         he got that impression from?                                     11:37:06

16                   A.    No.   And -- and honestly when

17         we looked at this in -- in yesterday's

18         setting, my first recollection was only that

19         he said True the Vote.          I was shocked afresh

20         to see that that was written in there in this                    11:37:22

21         way.      That's -- yeah, I -- I have no idea why

22         or...

23                   Q•    Where he would have gotten that

24         impression from?

25                   A.    I don't know.                                    11:37:35


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1                    Q.   Now, at this -- the hearing

2          that was held on May 17, you were aware that

3          at that hearing the Georgia SEB cleared

4          Mr. Andrews of any wrongdoing as alleged in

5          Mr. Cross's complaint?                                          11:37:56

6                    A.   Yes, ultimately I became aware

7          of that.

8                    Q.   Do you remember when you became

9          aware of it?

10                   A.   Probably first when I had -- I                   11:38:02

11         read it somewhere, and then it was affirmed

12         again, you know, through this.

13                   Q.   Right.     So you read about it

14         someplace, and then you got the open records

15         which also indicate that Mr. --                                 11:38:13

16                   A.   I think that's right.               I

17         think --

18                   Q.   -- Andrews was a --

19                   A.   I think there's a transcript.

20                        I'm sorry.                                       11:38:21

21                   Q.   Right.     So I'll just read the

22         question in so the record is clear.

23                        So you read about it someplace,

24         and then you think you got the open records

25         requests which also indicate that Mr. Andrews                   11:38:28


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1          had been cleared by the SEB?

2                    A.   Yes, I believe that that's part

3          of what you -- what I -- what I got back in

4          this, yes.

5                    Q.   And we talked about earlier the                 11:38:43

6          movie hadn't come out at this point, right?

7                         The movie ultimately came out,

8          and it included the footage of Mr. Andrews,

9          correct?

10                   A.   Yeah.    I did not know -- I                    11:39:05

11         still don't know, you know, who Mark Andrews

12         is, but -- but yes, that video that -- that

13         was included in this complaint was in the

14         movie.

15                   Q.   Okay.                                           11:39:18

16                   A.   Or a portion of it, I guess I

17         should say.

18                   Q.   But you were aware by that time

19         that the SEB had concluded that there was no

20         evidence that that individual, whoever they                    11:39:27

21         were, had engaged in -- in ballot harvesting?

22                   A.   I'm sorry, can you repeat

23         the...

24                   Q.   Yeah.    And let me just be

25         clear.                                                         11:39:39


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1                         By the time the film came out,

2          you were aware that the SEB had concluded

3          that there was no evidence that that

4          individual, whoever they were, had engaged in

5          ballot harvesting?                                              11:39:52

6                    A.   I was -- I became aware of that

7          after the film came out.          Is that -- is that

8          the way you're -- is that the question?

9                         I was not aware of it before.

10         I was aware of it after.                                        11:40:05

11                   Q.   And how did you become aware of

12         it?

13                   A.   I read it in the paper -- or I

14         must have read it in the paper or someone

15         told me about it because -- because it was                      11:40:13

16         being attached to True the Vote.              And because

17         I had not heard anything from the state

18         election board, I didn't -- I didn't even

19         know that there had been a hearing.

20                   Q.   Right.     So you -- yeah, my                    11:40:24

21         question is unclear.

22                        So you knew there was a

23         hearing, and at that hearing the individual

24         who appears in the -- the footage at 8235 was

25         cleared of any wrongdoing by the SEB,                           11:40:40


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1          correct?

2                    A.   I -- I didn't -- I did not know

3          that there was a hearing.         I mean, I -- in

4          advance -- you know, whenever the hearing

5          was, I didn't know that was happening.                         11:40:50

6                    Q.   Okay.

7                    A.   I want to make sure I'm

8          answering your question.

9                    Q.   Yeah.

10                   A.   Okay.                                           11:40:54

11                   Q.   And then but once you got the

12         open records request, you understood that the

13         SEB investigator had cleared that individual?

14                   A.   I did understand that, yes.

15                   Q.   Okay.    And the investigator had               11:41:01

16         found no evidence of ballot harvesting by

17         that individual?

18                   A.   That's what the investigator

19         had in here, yes.

20                   Q.   Okay.    So by the time the film                11:41:15

21         came out, which included the same video, you

22         were aware that the video in the film was of

23         someone who the SEB had cleared of ballot

24         harvesting?

25                        MR. EVANS:      Objection;                      11:41:34


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1                    misstates testimony.

2                             THE WITNESS:        Do I --

3                            MR. EVANS:        Yeah.      You can

4                    still answer.

5                    A.       No.   I did not know of this                     11:41:43

6          before the film came out.

7                            Our open records request was

8          May the 26th.       I think that the movie was

9          much earlier in May.

10         (BY MS. KUCK)                                                       11:42:01

11                   Q.      When you did your open records

12         request and you learned that the individual

13         had been cleared, did you take any steps to

14         make sure that that individual did not have

15         any further public allegations of ballot                            11:42:24

16         harvesting made against them?

17                   A.      I -- I -- I really don't

18         recall.        I -- yeah.     I really -- I don't

19         recall a specific conversation.                 I -- you

20         know, in my -- in my at that point still                            11:43:08

21         understanding of the law, which is pertinent,

22         it -- it was illegal.            If you could not -- if

23         you mailed -- excuse me -- deposited more

24         than your own ballot, which you could do in

25         the case of immediate family or family as                           11:43:23


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1          defined by Georgia law or if you were infirm,

2          in the hospital or in prison, you can do

3          that, but you had to sign -- my understanding

4          was you had to sign as an assister.

5                         And because we already had the                  11:43:36

6          open records request back from Gwinnett, as

7          we talked about the Gwinnett anomaly and the

8          reason that we were looking at Gwinnett, and

9          we knew that there were no assister

10         signatures.    And so, you know, that -- to me,                11:43:48

11         that -- that still held.

12                   Q.   So your view was that

13         regardless of whether they were ballots of

14         his family or not, they were being deposited

15         illegally because your view was that there                     11:44:09

16         would have had to have been an assister

17         certificate filed for him to deposit even the

18         ballots of his family?

19                   A.   That was my absolute

20         understanding, yes.                                            11:44:24

21                        Additionally, I will say, you

22         know, he went on record as saying he

23         deposited five ballots, but when you actually

24         look at the voter records, there's only an

25         indication of four.                                            11:44:33


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1                           So there was also that.

2                    Q•     There was an indication that

3          four people in his family ballots were

4          received on that date?

5                    A.     Correct.     Correct.                           11:44:46

6                    Q•     There's nothing in the record

7          about how many he actually deposited on that

8          date?

9                    A.     No.   There -- there is, I

10         believe.                                                         11:44:53

11                   Q.    Right.     He deposited five?

12                   A.     Uh-huh.

13                   Q.    But the voting records you're

14         talking about talk about when certain ballots

15         were received, right?                                            11:45:01

16                   A.     Correct.

17                   Q.    Not when they were deposited?

18                   A.     You know, that's a good

19         question.      Let's look and see.

20                          Yeah.    They do characterize it                11:45:08

21         as date ballot received.           However --

22                   Q.     Received, not deposited?

23                   A.     Correct.

24                          However, the other -- the other

25         four were all on the same date.                                  11:45:18


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1                    Q.   Right.

2                    A.   Yeah.

3                    Q.   One of them was received later?

4                    A.   Yes, it was received later.

5                    Q.   Okay.     And so -- and your                     11:45:26

6          understanding of the law, where does that

7          come from?

8                    A.   I cannot quote you the specific

9          citation, but there is a passage in the

10         Georgia law that describes in two parts how                     11:45:45

11         you can -- how you can cast a ballot for

12         someone other than yourself and then the

13         the requirement that there be an assister

14         signature accompanying that.

15                   Q.   And that's based on your own                     11:45:59

16         reading of the statute?

17                   A.   Initially based on my own

18         reading of the statute, yes.            And then

19         corroborated by just general consensus.

20                   Q.   Okay.     So even -- even if your                11:46:11

21         interpretation of the law were correct, you

22         are taking the position that he must have

23         been depositing these five ballots illegally

24         because he didn't file an assister

25         certificate, right?                                             11:46:39


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 1                   A.   No, not -- not filing an

 2         assister certificate, but just sign the back

 3         of the envelope.

 4                   Q.   Okay.    But that still would not

 5         be evidence of ballot harvesting, would it?                    11:46:52

 6                   A.   I'm sorry.      Can you --

 7                   Q.   Yeah.

 8                        You don't have -- even if

 9         your -- your assumptions about what happened

10         on those five ballots is correct, you don't                    11:47:05

11 I       have any evidence that he went to more than

12         one drop box to deposit ballots?

13                   A.   Well, it's two -- I think

14         that's two different questions.

15                   Q.   Yeah.    It is.      That's                     11:47:21

16         that's --

17                   A.   Yeah, so no, I mean, I don't

18         have any indication that he went to more than

19         one, but I do have indication, depending upon

20         how you want to define ballot harvesting,                      11:47:32

21         that, you know, any -- any ballot beyond your

22         own, if -- if not accompanied by a signature,

23         very simple signature on the back of the

24         envelope, would have had that run afoul of

25         Georgia law.                                                   11:47:48


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1                    Q•   Okay.    But you don't have any

2          evidence of him going to more than one drop

3          box?

4                    A.   If we're talking about like in

5          the 242, the study of the 242.                                 11:48:03

6                    Q.   Any evidence of any kind.

7                    A.   No, I mean, the -- that was

8          not -- that was part of the Gwinnett anomaly

9          period, and that video footage became -- I

10         mean, that was separate and apart from the                     11:48:17

11         study of the 242.

12                   Q.   Because at the time that the

13         geospatial data was done you didn't have

14         video from Gwinnett County?

15                   A.   Correct.                                        11:48:28

16                   Q.   And so you couldn't match the

17         video with the geospatial analysis at that --

18         at that point in time where the movie was

19         getting made because you got the Gwinnett

20                   A.   Yeah.    We got the Gwinnett                    11:48:41

21         video much later.

22                   Q.   Okay.    Do you have any evidence

23         that that individual was paid to -- to

24         deposit those ballots?

25                   A.   No.                                             11:48:50


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1                    Q.   And do you have any evidence

2          that that individual went to any nonprofit

3          organization to get those ballots?

4                    A.   No.

5                    Q.   Let me just have you look at                    11:48:59

6          what we marked yesterday as Exhibit 17.

7                    A.   Okay.

8                    Q.   Okay.    So we looked at this

9          document yesterday.      It's Exhibit 17.          It's

10         a -- appears to be a social media post from                    11:50:16

11         True the Vote.

12                        Do you see that?

13                   A.   Yeah, I do.

14                   Q.   And the first paragraph says:

15         "To understand this quote, you must first                      11:50:24

16         understand ballot harvesting.           This is when

17         absentee ballot are collected and taken to a

18         ballot box by someone who isn't a member of

19         your immediate family."

20                        Do you see that?                                11:50:34

21                   A.   I do.

22                   Q.   If we use that definition of --

23         of ballot harvesting, there is no evidence

24         that the individual engaged in ballot

25         harvesting, is there?                                          11:50:44


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1                    A.    I mean, this is -- this is not

2          the definition of -- of Georgia law, so it's

3          just a -- I mean, I don't think it's -- I

4          don't think you can really compare it.

5                    Q.    No, I'm not asking you about                      11:50:54

6          Georgia law, but I'm saying if we use this

7          definition of ballot harvesting, the

8          individual who we've identified -- who the --

9          the plaintiff identifies as Mr. Andrews would

10         not fall within that definition, right, even                      11:51:13

11         under the Georgia investigation?

12                         MR. EVANS:        Objection; asked

13                   and answered.     Improper hypothetical.

14                          THE WITNESS:        Do I still

15                   answer?                                                 11:51:24

16                         MR. EVANS:        Yeah.

17                   A.    I -- I'm -- if you're asking me

18         if -- I guess this is Instagram.                If this is

19         taken to mean anything in connection to this

20         case or Mark Andrews, I would say no, I'm                         11:51:38

21         not -- I'm not really sure this --

22         (BY MS. KUCK)

23                   Q.     Yeah.     I just want to make sure

24         when we -- because some of these terms are

25         used differently in different contexts.                           11:51:47


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1                    A.    Oh, yes.       Yes.

2                    Q.    But if we used this definition

3          of ballot harvesting, leaving aside Georgia

4          law, if ballot harvesting is when absentee

5          ballots are collected and taken to a ballot                       11:52:00

6          box by someone who isn't a member of the --

7          your immediate family, that would not cover

8          Mr. Andrews?

9                          MR. EVANS:        Objection; asked

10                   and answered.                                           11:52:14

11                   A.    I -- I mean, I -- I really

12         don't know how to answer that because this

13         isn't a definition of anything.                This is a

14         social media post.         I -- that's -- that's,

15         you know, impartial at best.                                      11:52:33

16                         Sorry.      Not impartial.

17         Incomplete.

18         (BY MS. KUCK)

19                   Q.    Okay.      So let me just break it

20         down.                                                             11:52:42

21                          You -- you're not aware of any

22         evidence that Mr. Andrews was depositing

23         ballots other than for his immediate family?

24                         MR. EVANS:        Objection; asked

25                   and answered.                                           11:52:57


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1                    A.     The voter records indicate that

2          only four ballots were received on the same

3          day where he deposited five.              That -- that I

4          am aware of.

5          (BY MS. KUCK)                                                     11:53:15

6                    Q.    Other than that, do you have

7          any evidence?

8                          MR. EVANS:        Objection; asked

9                    and answered.

10                   A.     Just, again, I'll refer back to                  11:53:18

11         what Georgia law says and what Gwinnett

12         County told us, that there were no assister

13         signatures.

14         (BY MS. KUCK)

15                   Q.    Let me have you look at another                   11:53:35

16         document that we marked yesterday as

17         Exhibit 19.

18                   A.    Okay.      I'm not as good as

19         yesterday's.

20                   Q.     That's okay.                                     11:53:58

21                   A.    Okay.

22                   Q.    Let me just get my copy.

23                         Is -- is exhibit -- well,

24         strike that.

25                         You referred to a complaint                       11:54:54


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1          filed by TTV with the Georgia state election

2          board.

3                         Is -- is Exhibit 19 a copy of

4          that complaint?

5                    A.   I believe it's a -- I believe                   11:55:10

6          it's a copy of all three -- of all three

7          complaints.

8                    Q.   Okay.    Looking at the -- the

9          first complaint -- well, before I have you

10         look at the specific one, did -- do the same                   11:55:27

11         people draft all three complaints?

12                   A.   Yes, I drafted all three.

13                   Q.   You drafted them yourself?

14                   A.   Yes, I drafted them.           I had

15         others, you know, proof them, but I drafted                    11:55:39

16         them.

17                   Q.   Did you have any counsel

18         involved in drafting them?

19                   A.   Yes, I did.

20                   Q.   And what was the involvement of                 11:55:48

21         counsel, without giving me any specific

22         information about advice they may have given

23         you?

24                   A.   Oof.    I don't even know how to

25         answer that without saying what advice they                    11:56:01


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1          gave.

2                    Q.       Okay.

3                    A.       I mean, they -- they looked at

4          it, and Georgia counsel that knew -- you

5          know, he was very familiar with Georgia law.                        11:56:11

6          And --

7                             MR. EVANS:       Well, don't --

8                    don't say any of the advice or --

9                             THE WITNESS:        Okay.

10                            MR. EVANS:       -- counsel that you             11:56:18

11                   were provided.

12                            THE WITNESS:        I mean, is that a

13                   sufficient -- I don't know how to --

14         (BY MS. KUCK)

15                   Q.       So you        so -- yeah, let me                 11:56:22

16         just -- you reviewed -- you drafted these

17         complaints yourself?

18                   A.       Yes.

19                   Q.       You had Georgia counsel take a

20         look at them before you submitted them?                             11:56:32

21                            Or was it later?

22                   A.      Oh, no, it was definitely

23         before.        But there was a good bit of, you

24         know, discussion around certain aspects just

25         to make sure it was laid out.                I don't know           11:56:48


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1          what I can say and not say so...

2                     4.    Okay.     Okay.     Fair enough.

3                           But you were the primary

4          drafter?

5                    A.     Yes.                                             11:56:55

6                    Q.     And where did the information

7          in these complaints come from?

8                    A.     From the -- the -- the results

9          of the geospatial project that we had worked

10         on.       And in -- just to be clear, are we just                 11:57:13

11         going to talk about the first complaint or

12         all three at the same time?             I mean, they

13         were all from True the Vote's work --

14                    Q.    Right.

15                   A.     -- broadly.        I mean, you know.             11:57:23

16                    Q.    Let's focus on the -- the first

17         complaint in the exhibit, which is TTV_007146

18         through 48.

19                   A.     Okay.

20                    Q.    And that one is entitled                         11:57:35

21         "Complaint: Ballot trafficking General

22         Election November 2020 and Runoff Election

23         January 2021 periods.

24                          Counties:       Atlanta Metro."

25                          Okay.     So we have the same one?               11:57:51


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1                    A.       Yes.

2                    Q.       So the information in that

3          complaint, where -- when you drafted it,

4          where did you get that information?

5                    A.       This was just a compilation                     11:57:59

6          of        of the events of -- as described that

7          either True the Vote or the OpSec, you know,

8          came to learn.

9                    Q.       And did you -- before you filed

10         this, did you believe that everything in it                        11:58:29

11         was accurate?

12                   A.      Oh, yes.

13                   Q.       Okay.    You're not aware of any

14         inaccuracies in it when you filed it?

15                   A.       I'm not -- I'm not aware of                     11:58:42

16         any.

17                   Q.       Okay.    Did you review the

18         complaint with Mr. Phillips before you filed

19         it?

20                   A.      I -- I don't remember.              It was       11:58:52

21         a long time ago.          I don't specifically

22         recall.        Some of this was a result of OpSec

23         work but...

24                   Q.       Other than the lawyers, did

25         anyone -- well, strike that.                                       11:59:09


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1                         Just yes or no, did lawyers

2          give you comments on your draft?

3                    A.   Yes.

4                    Q•   And other than the lawyers, did

5          anyone else give you comments on the draft?                    11:59:17

6                    A.   Not that I can recall.             I mean,

7          the first page of this, you know, indicates

8          that I sent it to Cole

9                    Q.   Uh-huh.

10                   A.   -- Hughes, it's possible that                   11:59:33

11         he and I discussed it, but I don't have any

12         specific recall.

13                   Q.   Okay.    If you look at the

14         second page which is TTV_007147

15                   A.   Okay.                                           11:59:52

16                   Q•   -- the fourth full paragraph

17         down, it says:     "During the runoff election

18         period, in six counties in and around Atlanta

19         552,987 cell phones came within a narrowly

20         defined distance of ballot drop boxes during                   12:00:07

21         our study period.      However, 242 unique

22         devices made repeat trips to drop boxes

23         averaging 23 trips each.         These same 242

24         devices went repeatedly averaging eight trips

25         to -- each to specific NGOs."                                  12:00:25


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1                         Do you see that?

2                    A.   Yes.

3                    Q.   Does that refresh your

4          recollection that the 242 number came from

5          the runoff election, not the general                           12:00:32

6          election?

7                    A.   Well, yeah.       I mean, that is

8          what this says, yes.

9                    Q.   Yes.    You have no reason to

10         believe that's inaccurate?                                     12:00:43

11                   A.   I -- no.     I -- I -- I really --

12         I really don't recall because I -- I do know

13         that we ultimately received video from 2020

14         so -- but this was before all of that so.

15                   Q.   Okay.    So to the -- and when                  12:01:06

16         you -- when you actually drafted this

17         document, you recall believing that

18         everything in it was accurate?

19                   A.   Yes.

20                   Q.   Yeah.    Okay.                                  12:01:16

21                        It refers to eight trips to

22         specific NGOs.

23                        Can you identify those NGOs?

24                   A.   Not -- not by name.           There were

25         just, you know, addresses and whatever they                    12:01:35


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1          were they were.

2                    Q.    Okay.    At some point in time,

3          you had a list of those NGOs?

4                    A.    I don't know that True the Vote

5          did.      OpSec would have, yes.                                12:01:48

6                    Q.    Do you recall providing lists

7          of those NGOs to Mrs. D'Souza?

8                    A.    No.   Let me -- let me restate

9          that.     Maybe.

10                   Q.    Okay.                                           12:02:12

11                   A.    Well, let me let you ask your

12         question because I think I probably know

13         where that's headed.

14                   Q.    Well, did you ever provide

15         Ms. D'Souza with any list of -- of NGOs that                    12:02:25

16         you had reason to believe were involved in

17         ballot trafficking in Georgia?

18                   A.    Well, I provided her with, as

19         we looked at earlier, the legal brief that

20         had names of -- I forget what we called it or                   12:02:42

21         what was called on that document but --

22                   Q.    Uh-huh.

23                   A.    -- potential organizations or

24         something like that.

25                         And then as I just -- I know                    12:02:50


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1          because of what's come out in discovery,

2          there had been a folder that I had created of

3          990s tax returns, and it -- it really had

4          no -- it was just, you know, a compilation of

5          returns across many states as I generally                      12:03:11

6          recall.

7                         And that had, you know,

8 I        nonprofits in it, and they would have had

9          access to that.

10                   Q.   Looking at the paragraph we've                  12:03:26

11         been talking about on 7147 that starts

12         "During the runoff election period."

13                   A.   Yes.

14                   Q.   The -- at the end of the first

15         sentence, it -- it talks about the 552,987                     12:03:49

16         cell phones came within a narrowly defined

17         distance of drop box -- ballot drop boxes

18         during our study period.

19                        Do you see that?

20                   A.   Yes.                                            12:04:02

21                   Q.   Do you remember conversations

22         with anyone about that language?

23                   A.   I mean, there would have

24         necessarily been a conversation with OpSec

25         about it, but I can't tell you a specific                      12:04:16


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1          conversation.

2                    Q.    And when you say with               again,

3          when you say "OpSec," you mean Mr. Phillips?

4                    A.    I mean OpSec, the -- the

5          corporation, but, you know, Mr. Phillips was                     12:04:27

6          clearly a part of OpSec so...

7                    Q.     Well, was there -- my

8          understanding from his testimony is that he

9          was the only OpSec employee, correct?

10         Everybody else was a contractor?                                 12:04:41

11                   A.    I -- I -- listening to him

12         yesterday, I don't know that he was an

13         employee.      I don't know.

14                   Q.     Okay.

15                   A.    But, I mean, it's likely that I                  12:04:46

16         spoke with him.       I mean, it's likely that I

17         spoke with him as the primary person.                It's

18         possible.      I don't have a -- I don't -- I

19         couldn't tell you who else I talked with.

20                   Q.     Okay.    And when we spoke                      12:04:59

21         earlier, do you remember speaking to any of

22         his contractors who did the geospatial

23         analysis?

24                   A.    No.

25                   Q.     Okay.                                           12:05:06


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1                    A.    I did not.

2                    Q.     Okay.     So other than -- other

3          than Mr. Phillips, is there any other person

4          you would affiliate with OpSec that you would

5          have spoken to?                                                   12:05:18

6                    A.    No.      I mean, that -- not -- not

7          as a -- no, I can't.

8                    Q.     Okay.

9                          MR. EVANS:        We should probably

10                   break for lunch pretty soon.                            12:05:39

11                         MS. KUCK:        Yeah.     I've got two

12                   quick exhibits that relate to this,

13                   and then we'll be ready to break.

14                    (Discussion off the record.)

15                         MS. KUCK:        You know what, let's             12:06:44

16                   break for lunch now.

17                         MR. EVANS:        Okay.

18                         MS. KUCK:        The exhibits are a

19                   little...

20                          THE VIDEOGRAPHER:           Off the              12:06:50

21                   record at 12:07.

22              (Break from 12:07 p.m. to 1:21 p.m.)

23                          THE VIDEOGRAPHER:           Back on the

24                   record at 1:21.

25                         MS. KUCK:        Okay.     And we have            13:20:07


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1                    Mr. Vining is back on?            Ms. Hyland?

2                             MR. VINING:        Yeah.

3                             MS. HYLAND:        Yes.

4                             MS. KUCK:       Okay.     Good.     All

5                    right.                                                    13:20:16

6          (BY MS. KUCK)

7                    Q.       Earlier this morning we talked

8          about an e-mail where you were sending

9          Mrs. D'Souza material about the scope of the

10         project, those draft court papers we talked                         13:20:27

11         about?

12                   A.       Oh, the scope of the geospatial

13         project?

14                   Q.       Right.

15                   A.       Yes.                                             13:20:34

16                   Q.       Right.     And that was in August

17         of 2021?

18                   A.       I think -- shall I grab it?

19         Would that be helpful?

20                   Q.       I'm not going to ask you                         13:20:42

21         questions about it.           I just want to sort of

22         orient this.

23                   A.       Okay.     Sure.

24                   Q.       Okay.     So then after you sent

25         those documents, what was the -- what                               13:20:48


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1          follow-up conversations did you have with

2          Mrs. D'Souza?

3                    A.    I really can't -- I -- I can't

4          recall a specific conversation.             I mean,

5          there clearly was something that happened,                        13:21:06

6          but I can't recall anything specific.

7                    Q.    Do you recall having a dinner

8          in Dallas in the middle of September with the

9          D'Souzas?

10                   A.    Yes.    And I'm so sorry.          I was          13:21:21

11         thinking -- yes, I just -- I thought you

12         meant like shortly thereafter whatever.                   But

13         yes.      Yes, I do remember the dinner in

14         Dallas.

15                   Q.    Okay.    Then do you remember any                 13:21:31

16         conversations you had with her other than

17         scheduling the dinner between the time you

18         sent her the materials and the dinner?

19                   A.    Okay.    That part of it, I

20         don't --                                                          13:21:39

21                   Q.    Okay.

22                   A.    -- I don't recall any recall

23         of.

24                   Q•    And who attended that dinner?

25                   A.    Myself, Gregg Phillips, Bruce                     13:21:42


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1          Schooley, and then Dinesh and Debbie D'Souza.

2                    Q.       And what did you discuss at

3          that dinner?

4                    A.        They were discussing --

5          actually, it was more just a general dinner,                       13:21:59

6          but they were discussing the movie.                  Bruce

7          Schooley was just emphatic about sequestering

8          the videos that we had.           That was a very big

9          point.         And -- which was -- you know, what

10         ultimately what the agreement was.                   And then      13:22:15

11         that was really -- that's all I can remember.

12                   Q.       So at -- by that point in time,

13         by the time you had this dinner, had you

14         agreed with them that you were going to be

15         doing a movie together?                                            13:22:30

16                   A.        Huh-uh, no.

17                   Q•       And so when you say you mainly

18         talked about the movie, what do you mean by

19         that?

20                   A.        Just what -- you know, I mean,                 13:22:37

21         we -- that was -- that was the dinner

22         preceding a meeting the next day with -- that

23         they had coordinated with Salem

24         representatives, and so that was what it was

25         about.         But, you know, they were -- they were               13:22:46


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1          talking about business things that, you know,

2          we had no knowledge or, you know, furtherance

3          in.

4                    Q.   Right.     But this -- so at

5          this -- is this generally the first time you                    13:23:03

6          discussed with the D'Souzas turning your work

7          into a film?

8                    A.   I -- I can't say that it was

9          the very first --

10                   Q.   Yeah.                                            13:23:17

11                   A.   -- but it was -- I mean, it was

12         still uncertain if that would happen because

13         they didn't -- they were going to make a

14         movie regardless, and -- it was my

15         understanding.     And whether or not this was                  13:23:25

16         going to be it, they -- they didn't know.

17         And that was it.

18                   Q.   Okay.     All right.        So -- so the

19         idea was they were planning to make a movie,

20         it was possible it was going to involve your                    13:23:37

21         research, but you hadn't reached an agreement

22         on that yet?

23                   A.   Sort of.      They were -- my

24         understanding was they were going to make a

25         movie full stop.      They were going to make a                 13:23:47


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1          movie.

2                    Q.    Right.

3                    A.    And then maybe it would include

4          a portion -- maybe if they made a movie about

5          this -- this sort of broader issue --                            13:23:56

6                    Q.    Uh-huh.

7                    A.   -- it may include some of the

8          work that we had done.          And that was -- that

9          was it.

10                   Q.    Okay.     And then your                          13:24:05

11         recollection is that dinner was right before

12         meetings with Salem were held?

13                   A.   I think it was the next day

14         or -- I'm so sorry.        I really don't -- it

15         must have been because dinner was dinner, so                     13:24:18

16         I guess it was the next day.

17                   Q.   Let me just show you some

18         documents, and maybe that will help.

19                   A.    Sure.

20                    (Discussion off the record.)                          13:24:34

21         (BY MS. KUCK)

22                   Q.   I just want to get us oriented

23         in time --

24                   A.   Sure.

25                   Q.   -- and get the chronology                         13:24:36


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1          right.

2                    A.   Okay.

3                    Q.   So I'm going to mark as

4          Exhibit 36 a document bearing Control

5          No. TTV 006932.                                                13:24:43

6                    A.   Thank you.

7               (Marked Engelbrecht Exhibit No. 36.)

8                    A.   Oh, okay.

9          (BY MS. KUCK)

10                   Q.   And is that the dinner -- is                    13:24:54

11         this a -- this appears to be an OpenTable

12         invitation sent to you from Mrs. D'Souza for

13         a reservation on September 15, 2021 at -- is

14         it Uchi in Dallas?

15                   A.   Uchi, yes.      Yeah.                           13:25:08

16                   Q.   And is this the dinner you're

17         referring to?

18                   A.   Yes.

19                   Q.   So it's -- and then is it your

20         testimony that you believe that you met with                   13:25:15

21         Salem the next day?

22                   A.   Yes.    Well, at this dinner we

23         had not met with Salem yet, so it must have

24         been the next day.

25                   Q.   Okay.    Did you have more than                 13:25:24


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1          one meeting with Salem to discuss the

2          possibility of -- of making a film?

3                    A.   No, we were in and out.

4                    Q.   Okay.    So let me show you --

5          let me go to your Exhibit 31, which is your                    13:25:37

6          response to the interrogatories.

7                         And there are separate ones for

8          TTV, but am I correct that they're for all

9          intents and purposes the same as your own

10         personal ones?                                                 13:26:06

11                   A.   For all intents and purposes,

12         yes.

13                        Okay.

14                   Q.   So if you look at Page 8,

15         there's Interrogatory No. 3.           There's a               13:26:13

16         there's a reference to this -- the Summit

17         that was held with Salem.         And this says

18         October 2021 in Dallas.

19                        If you go on the next page,

20         third full paragraph, it says:            "Engelbrecht         13:26:42

21         states that the "summit" referenced in

22         this... it was a meeting that took place at

23         the Salem Media's offices in Dallas, Texas,

24         on or around October 16, 2021?"

25                        I'm wondering if that should be                 13:26:53


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1          September 16 now that we've looked at --

2                    A.   It should be.

3                    Q.    Good.    Okay.

4                    A.   It should be.         There was a lot

5          of confusion about what's -- what was even                      13:27:02

6          meant by Summit.

7                    Q.    Yeah.

8                    A.   So yeah.

9                    Q.   Okay.     So you had dinner on

10         September 15, and then you met with Salem in                    13:27:07

11         Dallas on September 16?

12                   A.   September 16, that's correct.

13                    (Discussion off the record.)

14                   A.   Oh, you know, may I -- because

15         I'm just seeing                                                 13:27:32

16         (BY MS. KUCK)

17                   Q.   Is the -- is invitation for the

18         15th of October?

19                   A.   It is.

20                   Q.   Okay.     I'm sorry.        So the               13:27:37

21         e-mail is dated the 15th of --

22                    (Discussion off the record.)

23         (BY MS. KUCK)

24                   Q.   So -- so let me clarify the

25         record because it was my mistake.                               13:27:45


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1                         So the -- the dinner

2          reservation was sent to you on September 15,

3          2021, but it is a reservation for October 15,

4          2021; is that right?

5                    A.   That's correct.                                 13:28:00

6                    Q.   And that's the day before

7          what's in some instances been called the

8          Summit with Salem?

9                    A.   Correct.

10                   Q.   So then did you -- during that                  13:28:07

11         period from September 15 to October 15, did

12         you prepare for the meeting for -- with

13         Salem?

14                        You knew you were going to have

15         the meeting --                                                 13:28:19

16                   A.   Uh-huh.

17                   Q.   -- after the dinner, right?

18                   A.   Yes.

19                   Q.   Okay.

20                   A.   And to the best of my                           13:28:22

21         recollection, we -- we didn't we weren't even

22         really sure what we were going to be expected

23         to do.

24                        So the only thing that we could

25         have prepared was the same, you know, things                   13:28:39


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1          that we had a few videos and the explanation

2          of the project.     And that was it.

3                    Q•   And so the -- the interrogatory

4          says that the -- the information discussed at

5          the meeting included but was not necessarily                   13:29:00

6          limited to TTV's defendants' data and

7          research findings regarding geolocation and

8          geotracking data and the D'Souza defendants'

9          desire to use that research in a film they

10         were already planning to produce.                              13:29:14

11                        What -- what specifically did

12         you share with Salem about your data and

13         research findings?

14                   A.   I -- it was a long time ago.              I

15         really don't have specific recall.                Just         13:29:26

16         description of the project and probably -- I

17         mean -- and I don't want to speculate.               I

18         more just the explanation of what we were

19         doing and if we had videos, which I -- I seem

20         to recall we did, which I don't even know                      13:29:42

21         that we showed.     It -- it was -- it was -- we

22         did not know what we were really expected to

23         do.

24                   Q•   Okay.    So you didn't have a

25         formal presentation that you made to Salem?                    13:29:54


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1                    A.   Not that I recall.

2                         There was a time where we were

3          asked to speak.     I mean, that was a formal

4          sort of tell us what you're doing but -- and

5          I feel like we did show something, but I do                    13:30:05

6          not remember what that was specifically.

7                    Q.   Okay.    And would you have any

8          records in your files as to what you showed

9          them?

10                   A.   Not other than what -- you                      13:30:17

11         know, what's been provided.          I...

12                   Q.   Okay.    And then what happened

13         next after that meeting?

14                   A.   We made the presentation, and

15         then we left.      And they, as I understood it,               13:30:39

16         went on to dinner.      I don't know if they

17         stayed -- I don't know.        I really don't know.

18                        At some point, we were told --

19         and how quickly, I couldn't tell you, but at

20         some point we were told that they were                         13:30:54

21         interested in including us or, to be more

22         precise, including the video.

23                        And -- and initially that was

24         going to be it.     So that was -- that was how

25         that was presented.                                            13:31:07


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1                    Q.        And when you're referring to

2          "the video," are you referring to the drop

3          box surveillance video --

4                    A.        Yes.

5                    Q.       -- that you obtained through                     13:31:14

6          open records --

7                    A.        Correct.

8                    Q.        -- requests?       Yes.

9                              And that, at this point, would

10         have been Michigan -- or I'm sorry, would                           13:31:20

11         have been Georgia?

12                   A.        Yes.

13                   Q.        Okay.

14                        (Discussion off the record.)

15                             MS. KUCK:      Let's mark                       13:32:02

16                   Exhibit 37 bearing control Nos.

17                   TTV 007087 through 7089.

18              (Marked Engelbrecht Exhibit No. 37.)

19         (BY MS. KUCK)

20                   Q.        This seems to be an e-mail from                 13:32:55

21         you to Ms. D'Souza with the "re trafficking

22         overview."

23                             Do you see that?

24                   A.        Yes.

25                   Q•        And what is this document                       13:33:04


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1          that's attached?

2                    A.   It looks like a -- an overview

3          of the project that I prepared.

4                    Q.   Okay.     And why were you sending

5          it to Mrs. D'Souza at this point?                  Now we're     13:33:17

6          up to November 23, 2021.

7                    A.   It -- I'm asking will it work.

8          I have no recall for what -- what she needed

9          it for or -- I don't know.

10                   Q.   It -- it appears, though, that                    13:33:37

11         the       if you look on...

12                    (Discussion off the record.)

13         (BY MS. KUCK)

14                   Q.   If you look on the third page,

15         which is TTV 007089, it looks like -- it says                    13:34:03

16         "remaining funding requirements."

17                        Do you see that?

18                   A.    Yes.

19                   Q.   Was there some discussion at

20         this point that more money would need to be                      13:34:15

21         raised for you to go forward with this

22         project?

23                   A.    No.    I believe that this

24         document had been created already -- well,

25         you know what, I -- actually, strike that.                       13:34:26


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1                         I don't -- I don't recall.                   And

2          I don't recall the nature of where this came

3          into play.     It -- you know, it outlines

4          things that we never were able to do, so I

5          don't -- I don't recall -- I don't recall                           13:34:44

6          where or why.

7                    Q.    Okay.      Did you discuss with

8          Debbie D'Souza around this point in time the

9          need to raise more money for your project?

10                   A.   I don't recall.                                      13:35:02

11                   Q.    And so you -- you don't -- do

12         you have any recollection as to whether this

13         document was related to the negotiations

14         surrounding the film or something else?

15                   A.   I -- I really don't -- it                            13:35:24

16         doesn't correspond to anything that happened,

17         so I don't really know.           Maybe she just asked

18         for an overview.       But, again, I'm

19         speculating.       I...

20                   Q.    When you say "it doesn't                            13:35:38

21         correspond to anything that happened," what

22         do you mean?

23                   A.    Well, when you look at these,

24         you know, funding requirements and the things

25         that we were aspiring to do, that -- we                             13:35:46


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1          didn't have the funding for that.             So I'm

2          just not sure where -- where it came from or

3          why I was responding in that way.

4                    Q.   Okay.    So the -- and the items

5          under remaining funding requirements, you                      13:35:58

6          never undertook that part of the project; is

7          that right?

8                    A.   There were elements of it that

9          we -- that we, you know, carried on with to a

10         very limited extent, but for the most part,                    13:36:11

11         this was just -- no.

12                   Q.   Now, at some point in time you

13         entered into a formal agreement with Salem

14         and the D'Souzas, correct?

15                   A.   Correct.                                        13:36:25

16                   Q.   And what -- what were the

17         negotiations that led to that agreement?

18                   A.   There were really no

19         negotiations.      It was, you know, as I recall,

20         Dinesh I think called on the phone and said,                   13:36:40

21         you know, this -- that they would be willing

22         to -- or not be willing.         That's not really

23         even the right term.       They were interested in

24         using our footage.      Of course, we were elated

25         about that.    We had never, you know, sought                  13:36:56


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1          to do any of this, but that was -- that was

2          good news.

3                         He was going to try to see if

4          we -- you know, if we could be compensated in

5          some way, and we thought that would be fine.                    13:37:13

6          And then they presented what they presented

7          and...

8                    Q.   So when you said this wasn't

9          something we       we didn't seek to do this,

10         what do you mean?                                               13:37:22

11                   A.   Well, when we started the

12         project, there was no -- no expectation that

13         it would be a movie ever.

14                   Q.   But when you started meeting

15         with the D'Souzas, at that point in time you                    13:37:32

16         were --

17                   A.   Right.

18                   Q.   -- you were hoping to do a

19         movie with them?

20                   A.   Just hoping to really, you                       13:37:38

21         know, find a way to let the work be

22         recognized.

23                   Q.   Okay.     So then let's mark as

24         Exhibit 38 TTV 008962 through TTV 008969.

25             (Marked Engelbrecht Exhibit No. 38.)                        13:38:22


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1          (BY MS. KUCK)

2                    Q•   And did you -- do you recall

3          when Mr. D'Souza called you and said they

4          were interested in using your footage?

5                    A.   I do not recall that date, no.                  13:38:28

6                    Q.   And did you have any

7          conversations directly with Salem after the

8          time you met with them until you got this

9          call from Mr. D'Souza saying, you know, we're

10         interested?                                                    13:38:41

11                   A.   Not that I recall.

12                   Q.   So then this document is an

13         e-mail from you to Brian at

14         DigitalStrategyLimited.com.

15                        Do you know who that is?                        13:38:56

16                   A.   That would be Brian Glicklich.

17                   Q.   And who is Mr. Glicklich?

18                   A.   Brian Glicklich, I hired his

19         firm for a few months to help with PR and

20         just strategy and media strategy, that kind                    13:39:10

21         of thing.

22                   Q.   When did you -- about when you

23         hired -- when did you hire them?

24                   A.   Oh, gosh.

25                        My -- my best estimate would be                 13:39:27


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1          maybe July of 2022.

2                    Q.      So after the movie came out?

3                    A.       Yes.

4                    Q.      And when you said "to help with

5          PR," what -- was there any particular PR                          13:39:40

6          project?        Was it with -- in connection with

7          the film or something else?

8                    A.      We had a lot of other things

9          happening at that time.

10                   Q.      Okay.    So they had a broader                  13:39:47

11         mandate than just the film?

12                   A.       Yes.   Yeah.     The film really by

13         this point had largely, you know, been --

14         sort of had its moment, I guess you could

15         say, for our purposes.                                            13:39:57

16                   Q.      So you -- you send him this

17         e-mail.        It says:   "Attached is the NDA.

18         Licensing document is the guiding doc for the

19         disaster deal with Dinesh/Salem.                The doc is

20         horrible.       I'd forgotten how bad it really                   13:40:14

21         is."

22                           What -- what was the context of

23         your e-mail to him?

24                   A.      I -- I don't recall.           The --

25         I'd be speculating.         I don't -- I don't know.              13:40:30


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1                    Q.   Do you know why you were

2          calling it a disaster deal?

3                    A.   Well, the document was designed

4          just to lease the -- lease, I'm so sorry.

5          Strike that.                                                    13:40:51

6                         The document was designed to be

7          a licensing agreement for the use of -- of

8          this -- this video that we had.            And it --

9          you know, in my opinion that we'd never been

10         involved in anything like this before.               We         13:41:08

11         had no -- we had no expectations coming in.

12         I had never -- you know, hindsight is 20/20,

13         but I had no expectation of what it would or

14         would not be like to -- to have an agreement

15         like this.                                                      13:41:23

16                        It ended up where we -- you

17         know, we were asked to participate in -- at

18         events where we weren't prepared, where we --

19         I mean, we had no editorial control.               We --

20         we had no control over the script.                We had no     13:41:43

21         control over how videos were selected.               We

22         had no control over graphics.           We had no

23         control over documents.

24                        And, you know, we are

25         comfortable speaking for the work that we                       13:41:54


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1          did.      But I didn't have -- I didn't

2          understand moviemaking.         And that's just my

3          feeling.

4                    Q.     This -- if you'd turn to the --

5          the next page after the e-mail, there's an                      13:42:16

6          exclusive license and nondisclosure

7          agreement.

8                          Is that the agreement that you

9          entered into with Mr. D'Souza and Salem?

10                   A.    I apologize.       I'm -- I'm --                13:42:29

11         what page again are we?

12                   Q.    8963.    It's the first page

13         after the e-mail.

14                   A.    Okay.    I believe so, yes.

15                   Q.    Was -- it says -- it says, the                  13:42:41

16         second paragraph:       "Whereas, TTV is the owner

17         of highly confidential film footage."

18                         Do you see that?

19                   A.     Yes.

20                   Q.    I -- wasn't this footage                        13:42:53

21         obtained by you through public sources?

22                   A.     Yes.

23                   Q•    So what was so highly

24         confidential about it?

25                   A.     Nothing.    And -- no, nothing.                13:43:06


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1          This was not drafted by -- you know, by me.

2                    Q.   Did you give comments on any

3          draft of this agreement before you signed it?

4                    A.   As I vaguely recall, there

5          was -- there was a version before this that                    13:43:41

6          had language in it that I -- I couldn't -- I

7          just couldn't accept at all.           And then

8          this -- this was the final version.

9                    Q.   Okay.    What was the language

10         you couldn't accept?                                           13:43:57

11                   A.   As I generally recall, it was

12         an agreement that we would never admit that

13         we had anything to do with the movie, that we

14         would never talk about it publicly, which we

15         just couldn't -- I mean, we just couldn't do                   13:44:13

16         that.

17                   Q.   Okay.    And do you know why

18         Mr. D'Souza would make that request of you?

19                   A.   I really don't because it --

20         there's just -- there would have been no way.                  13:44:24

21         I don't.

22                   Q.   Okay.

23                   A.   I don't.

24                   Q.   You didn't have any discussion

25         with him about it; you just said that's                        13:44:29


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1          unacceptable?

2                    A.   Yes.

3                    Q.   Do you remember any other

4          comments you gave before the final?

5                    A.   I don't.     I could have made                  13:44:37

6          some, but I just don't remember them.

7                    Q.   Okay.    And then Paragraph 4,

8          which is on Page 8964, talks about revenue

9          share.

10                        Do you see that?                                13:44:50

11                   A.   Yes.

12                   Q.   And it says:       "The parties

13         agree that TTV shall receive an amount equal

14         to 10 percent of the feature film proceeds

15         which shall be paid by Salem and D'Souza as                    13:45:00

16         follows."

17                        Do you see that?

18                   A.   Yes.

19                   Q.   And did TTV receive that

20         amount?                                                        13:45:08

21                   A.   Ultimately, no.         It went to the

22         LLC.

23                   Q    And is that the Shadow Beach

24         LLC?

25                   A.   Yes.                                            13:45:24


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1                    Q.   Why was it paid to Shadow Beach

2          LLC rather than TTV?

3                    A.   At the -- at some point Dinesh

4          offered to do that.      And that seemed to be

5          a -- you know, acceptable so...                                13:45:40

6                    Q.   And why did he offer to pay it

7          to that entity rather than TTV?

8                    A.   I really don't -- I really

9          don't know specifically.         It -- it wasn't

10         something that we had sought to change, but                    13:45:53

11         when he offered it, we -- okay, that sounds

12         fine.

13                   Q•   And what exactly did he offer

14         you?

15                   A.   Just a change to -- to pay                      13:46:02

16         to -- you know, to another entity besides

17         True the Vote.

18                   Q.   And that was his idea?

19                   A.   Yes.

20                   Q.   And was that so that the funds                  13:46:13

21         could go directly to you and Mr. Phillips

22         rather than going through True the Vote?

23                   A.   Well, to the -- an entity that

24         we jointly owned, yes.

25                   Q.   But you don't have any                          13:46:32


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 1         recollection as to what led him to propose

 2         that to you?

 3                   A.   I really don't.

 4                   Q.   Okay.    In Paragraph 7, there's

 5         a whole indemnification procedure.                It's on      13:46:49

 6         the following page.

 7                   A.   Yes.

 8                   Q.   Has anyone ever made any

 9         indemnification requests to TTV pursuant to

10         this provision?                                                13:47:02

11                   A.   No.

12                   Q.   Salem hasn't requested that you

13         indemnify them in connection with any

14         disputes arising out of the film?

15                   A.   I'm not even sure what that                     13:47:17

16         would look like.

17                   Q.   Okay.

18                   A.   Did they contact us in -- that

19         would be something in writing?            I don't know

20         how that --                                                    13:47:23

21 I                 Q.   Well, you haven't -- they

22         haven't had -- you haven't had any contact

23         with -- you, TTV, haven't had any contact

24         with Salem in which Salem requested that you

25         pay any expenses they've occurred --                           13:47:34


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1                    A.     Oh, no.

2                     Q.    -- in connection with any film

3          or anything else?

4                    A.      No.

5                     Q.    When was the last time you had                  13:47:40

6          contact with Salem?        With anyone at Salem?

7                    A.     I think -- well, I saw their

8          counsel -- I believe his name is Chris, I

9          don't know if it's Anderson or Henderson --

10         at a hearing some months ago.             And just said          13:48:01

11         hi.       And then, I mean, that's -- that's the

12         most recent.

13                    Q.    Okay.    Let's look at a document

14         we marked yesterday as Exhibit 23.                  It says

15         22 on there.       22.                                           13:48:31

16                          MR. EVANS:      23 or 22?

17                          MS. KUCK:      22.

18                   A.     Okay.

19         (BY MS. KUCK)

20                    Q.    This appears to be an e-mail                    13:49:07

21         sent to you, Mr. Phillips, and some other

22         people affiliated with the D'Souzas on

23         December 9, 2021, from Bruce Schooley.

24                          Do you see that?

25                   A.     I think I'm using the wrong                     13:49:24


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1          one.

2                    Q.    23?

3                    A.    Sorry.

4                    Q.     There is it.

5                    A.    Okay.      Yes.                                   13:49:31

6                          MS. KUCK:        It's my handwriting

7                    probably.

8          (BY MS. KUCK)

9                    Q.    So my question is this appears

10         to be -- this appears to be an e-mail sent to                     13:49:46

11         you, to Mr. Phillips, and some other people

12         affiliated with the D'Souzas on December 9,

13         2021, from Bruce Schooley.

14                         Do you see that?

15                   A.    Yes.                                              13:49:57

16                   Q.    And who is Bruce Schooley?

17                   A.    He is affiliated in some

18         respect with Dinesh.          I'm not entirely sure

19         how.

20                   Q.    And he -- he -- and he was at                     13:50:05

21         this dinner --

22                   A.    Yes.

23                   Q.    -- with you on October 15?

24                   A.    Yes.

25                   Q.    And do you -- do you recall                       13:50:13


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1          receiving this document?

2                    A.    Not specifically.

3                    Q•     Generally, do -- well, do you

4          have any reason to believe you didn't receive

5          it?                                                             13:50:28

6                    A.    No, I don't.

7                    Q.    Generally, do you recall

8          getting a -- a draft from him of the

9          schedule, and it says:         "The start on a beat

10         sheet"?                                                         13:50:38

11                   A.    I mean, I -- I'm not disputing

12         that I received it.

13                   Q.    Yeah.

14                   A.    I really don't have any recall

15         of this but --                                                  13:50:44

16                   Q.    Okay.

17                   A.    -- you know, it...

18                   Q.    If you look towards the -- if

19         you go to page -- well, strike that.

20                         Do you understand this                          13:50:57

21         document, though, to relate to the 2000 Mules

22         film?      There was some confusion when I talked

23         to Mr. Phillips about it.

24                   A.    It -- I -- I mean, yes, in that

25         I'm -- you know, we were included in this,                      13:51:11


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1          but when you read what was actually laid out

2          and, you know, all of these -- all of these

3          ideas, this was -- this -- you know, I'm

4          speculating, to be clear, but this may have

5          been at the point where they were -- I don't                   13:51:30

6          really know.

7                         I mean, we had no -- we had no

8          editorial control over any of this.               I --

9          this was just his ideas, I guess.             I mean,

10         it's very, very outside what anything that we                  13:51:39

11         would have known about.

12                   Q•   Okay.    And -- and are you

13         referring to the ideas on the -- it says

14         the -- the part of the document says

15         "election film beat sheet input," which is on                  13:51:51

16         Page 7194?

17                   A.   Yes.

18                   Q.   Do you recall any discussions

19         with Mr. Schooley or any of the D'Souzas

20         about this -- these -- these ideas, as you've                  13:52:02

21         called them?

22                   A.   Not -- not -- no, not

23         specifically.

24                   Q.   How about generally?

25                   A.   I -- I mean, there -- there are                 13:52:14


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1          elements in here that, you know, he would

2          have -- he would have taken from the -- the

3          base of the -- the work that we had done, but

4          that's it.      I mean, there's just a lot here

5          that was never -- I don't even know where it                         13:52:35

6          came from.

7                     Q.    Okay.    So starting at this

8          point in time, December 9 of 2021, when he

9          circulates this schedule and this beat sheet,

10         how frequently were you in touch with                                13:52:48

11         Mrs. D'Souza concerning the making of the

12         film?

13                    A.    I -- I couldn't tell you.             I

14         would characterize it as infrequently.

15                          In hindsight, I didn't -- at                        13:53:00

16         the time, I didn't know what to expect.                    I

17         didn't -- I felt -- I felt very detached from

18         it.       I -- so I couldn't tell you with any

19         real clarity how often.

20                   Q.     Okay.    Do you recall having                       13:53:19

21         regular Zoom meetings between the TTV team

22         and the D'Souza team about the making of the

23         film?

24                    A.    I -- I recall seeing in a

25         document that we had one that that -- so I --                        13:53:33


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1          that was apparently something.            I don't

2          recall having regular.        I just don't.

3          It's -- maybe it's just been because it's

4          been a long time, but I just don't recall it.

5                    Q.   Okay.                                           13:53:45

6                     (Discussion off the record.)

7          (BY MS. KUCK)

8                    Q.   So let's mark as Exhibit 39 a

9          document bearing Control No. TTV 007201

10         through 7202.                                                  13:54:02

11              (Marked Engelbrecht Exhibit No. 39.)

12         (BY MS. KUCK)

13                   Q.   So this is -- this appears to

14         be a -- a Zoom invitation to you and -- I'm

15         sorry, I'm forgetting Cole's last name, Mr.?                   13:54:31

16                   A.   Hughes.

17                   Q.   Mr. Hughes from Ms. D'Souza

18         dated January 4, 2022.

19                        Do you see that?

20                   A.    Yes.                                           13:54:40

21                   Q.   And it says "topic E movie?

22                   A.    Yes.

23                   Q.   And this is about a month after

24         the document we just looked at.

25                        Do you recall having an initial                 13:54:49


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1          conversation with her at this point in time

2          at the beginning of twenty -- January 4 of

3          2022?

4                    A.   No, I don't.       I don't know why

5          Cole would be on -- I don't know.                              13:55:03

6                    Q.   Okay.    So you -- and do you

7          recall whether -- you have no recollection of

8          this meeting?

9                    A.   I really don't, no.

10                   Q.   Okay.    Do you have any reason                 13:55:10

11         to believe it didn't happen?

12                   A.   No, I mean, I just can't recall

13         it at all.

14                   Q.   Okay.

15                   A.   But I --                                        13:55:16

16                   Q.   You have no reason to believe

17         that you didn't actually have a meeting?

18                   A.   It wouldn't surprise -- I mean,

19         it would seem like that would be something

20         that could happen so...                                        13:55:23

21                   Q.   Okay.    Let's look at 7209.

22              (Marked Engelbrecht Exhibit No. 40.)

23         (BY MS. KUCK)

24                   Q.   Do you recall Mr. Schooley

25         reaching out to you to try and get video of                    13:55:47


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1          individuals going to more than one drop box?

2                    A.      I -- only because I've seen it

3          in the documents that we were provided.                     I

4          wouldn't have otherwise, but, yes, I do.

5                    Q.      Okay.    So -- so you know that                     13:56:03

6          there's e-mails, but you don't have a

7          recollection of it?

8                    A.      I mean, I didn't -- I wouldn't

9          have unless I saw the e-mail, but it

10         doesn't -- I don't dispute the e-mail.                                13:56:13

11                   Q.      Okay.    So let me show you a

12         document we've marked as Plaintiff's

13         Deposition Exhibit 40.           It bears Control

14         No. TTV        007209.

15                           So this is about a week after                       13:56:45

16         the Zoom invitation that we saw.                And there's

17         an e-mail at the bottom of the chain from

18         Mr. Schooley to -- it says "Hello -- Hi,

19         Catherine and Gregg."

20                           And he says:       "Nathan and I are                13:56:56

21         cutting a rough teaser based on Dinesh's

22         outline before we send out today for graphics

23         and sound music.         Now we see individuals

24         going to one drop box with what appears to be

25         one ballot.       At this point, they're just                         13:57:09


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1          using the drop box to vote.          Nothing illegal.

2          Do you have video of multiple drops by the

3          same person and/or multiple ballots and/or

4          evidence they were out of state?"

5                         And then it goes on a bit --                    13:57:22

6                    A.   Uh-huh.

7                    Q.   -- but do you see what I'm

8          talking about?

9                    A.   Yes.

10                   Q.   And then it looks like in                       13:57:25

11         response to that you sent him some videos?

12                   A.   No.    There was a platform that

13         we had given them access to.

14                   Q.   Okay.

15                   A.   And so that's why I was saying                  13:57:37

16         they're -- you know, just look at what you've

17         been given access to.

18                   Q.   And how many videos were given

19         to them on this initial platform?

20                   A.   I believe initially because it                  13:57:52

21         corresponded to the work that we had done,

22         there were approximately 70.

23                   Q.   Okay.    And those initial 70

24         videos were videos where -- where OpSec or

25         its contractors had been able to link the                      13:58:07


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1          geospatial analysis with the video of drop

2          box voting, correct?

3                    A.     That's what I understand, yes.

4                    Q.    Okay.    And then it says -- you

5          say        so you're talking about the platform                 13:58:21

6          and you say:       "Look in the repeater and

7          multiple ballots folders."

8                          Do you see that?

9                    A.     Yes.

10                   Q.    What were those folders?                        13:58:28

11                   A.    Repeater would have been just

12         same person going to different drop boxes.

13                         And then multiple ballots would

14         have been, you know, same person of the 242

15         with -- you know, clearly voting in -- with                     13:58:50

16         multiple ballots, so just different video

17         cuts.

18                   Q     And so you say the 242.

19                         Those are the 242 individuals

20         that the geotracking project identified in                      13:59:01

21         Georgia, right?

22                   A.     Correct.

23                   Q•    And of -- from that group,

24         there was a subset of 70 videos that then was

25         provided to Mr. D'Souza?                                        13:59:16


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1                    A.    Yeah.    Approximately.

2                    Q.   Approximately.         Okay.

3                    A.   But that's --

4                    Q.   About 70?

5                    A.    Yes.                                            13:59:21

6                    Q.   And those were not people,

7          though, in Gwinnett County, right, because at

8          this point you didn't have the Gwinnett

9          County video?

10                   A.    Yeah.    My recollection is no.                 13:59:29

11                   Q.   Okay.     Who pulled the 70, those

12         70 videos?     Who on your team?

13                   A.   On True the Vote's team?

14         Nobody on True the Vote's team.

15                   Q.   Okay.     So who pulled them?                    13:59:40

16                   A.   It would have been OpSec and

17         their -- that team.

18                   Q.   And do you know who on that

19         team pulled those together?

20                   A.   I mean, I would be speculating.                  13:59:47

21         It -- I can tell you it was -- you know, we

22         got the hard drives of the video, and it was

23         very difficult to unpack.          I don't know who

24         all was engaged in that.

25                   Q.   And did you get them from                        13:59:59


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1          Mr. Phillips or somebody else?

2                    A.   They were just put into the

3          the platform that was being shared at the

4          time.     I don't know who put them.

5                    Q.   Okay.    Who created the                          14:00:10

6          platform?

7                    A.   I don't -- I don't know who,

8          like, had the subscription or I don't -- I

9          don't know.

10                   Q.    You don't know who set it up?                    14:00:23

11                   A.   I don't.

12                   Q.    Somebody on the OpSec side?

13                   A.   It -- well, definitely on the

14         OpSec side, but I don't -- I don't know who

15         or how.                                                          14:00:31

16                   Q.   Okay.    You say in your e-mail:

17         "We're glad to talk through the videos with

18         you and what to look for.         It would be

19         helpful to see the script online.                 Let me

20         know when you can connect on a call."                            14:00:39

21                        Did you have a follow-up call

22         with him about this?

23                   A.   I couldn't tell you.

24                   Q.   Okay.

25                   A.    Calls were very limited.                         14:00:51


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1                    Q.    But you may have, you just

2          don't remember?

3                    A.    It's -- you know, it's

4          possible.      We had no video control or script

5          control or...                                                   14:01:03

6                    Q.    And did he give you access to

7          the script outline?

8                    A.    Not that I can recall.

9                     (Discussion off the record.)

10                   A.    This is -- this is -- before we                 14:01:28

11         move from this one, if I may --

12         (BY MS. KUCK)

13                   Q.    Sure.

14                   A.     -- because I thought about this

15         after we talked earlier.                                        14:01:34

16                         I recall -- and you're going to

17         have to ask Dinesh about this so I don't want

18         to get too far out over my skis here, but I

19         do recall Dinesh making the observation that

20         it was possible that he felt like maybe                         14:01:52

21         Mr. Andrews, after all of this occurred, was

22         seen in a -- in another video.

23                         And I'm saying that only by way

24         of I've had this -- I've remembered this, and

25         you may want to ask about it, but I can't --                    14:02:10


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1          I don't know.

2                    Q.       What do you mean he -- that

3          there was more than one video of Mr. Andrews?

4                    A.       That's what I generally recall

5          him saying.                                                        14:02:21

6                    Q.      But you didn't go back and look

7          yourself?

8                    A.       No, I mean, to me it was what's

9          done is done but...

10                   Q.       And in any case, Mr. Andrews                    14:02:28

11         was in Gwinnett County?

12                   A.       Correct.

13                   Q.       So it couldn't have been in

14         these initial 70 because at this point in

15         time in January 2022 you didn't have Gwinnett                      14:02:36

16         County yet?

17                   A.       Unless he was in another

18         county.        But this is -- you know, I am

19         repeating now what Dinesh said at some point.

20         Yeah.     As I've laid out how we proceeded with                   14:02:51

21         our project, that is entirely accurate --

22                   Q.       Okay.

23                   A.       -- but I'm just sharing that

24         that's something that, you know, you may want

25         to -- I -- ask about.           I don't know.                      14:02:59


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1                    Q.   Okay.    I know I'm going to see

2          him in a few weeks, and we'll -- we'll ask

3          him about it as well.

4                         But nothing -- you don't have

5          any information that you -- you didn't see                     14:03:12

6          Mr. Andrews in multiple videos?

7                    A.   It was a Gwinnett thing.            I...

8                    Q.   Yeah.

9                    A.   But I also want to be really

10         clear, we had no -- the videos were used like                  14:03:19

11         they were used, and I generally -- my general

12         observation was that they were being selected

13         based on what would look good on screen,

14         which makes sense, so...

15                   Q.   So let's mark as Exhibit 41 a                   14:03:38

16         document bearing Control No. TTV 007211.

17              (Marked Engelbrecht Exhibit No. 41.)

18         (BY MS. KUCK)

19                   Q.   And this is about four days

20         after the last e-mail we looked at.                            14:04:06

21                        So at the bottom it seems to be

22         an e-mail was originally sent to you from

23         Mrs. D'Souza with the preliminary teaser

24         trailer.

25                        Do you see that?                                14:04:26


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1                    A.   Yes.

2                    Q.   And you can't tell from this

3          copy of it, but do you recall whether anybody

4          else on your team other than you got this?

5                    A.   No.                                                14:04:34

6                    Q.   And then the following day it

7          looks like you wrote back and you said:                  "Our

8          recommended edits"?

9                    A.   Yes.

10                   Q.   And so I take it you reviewed                      14:04:47

11         it?

12                   A.   We looked at the link that they

13         provided, yes.

14                   Q.   Yeah.    And when you say "our,"

15         are you referring to you and Mr. Phillips or                      14:04:52

16         somebody else?

17                   A.   I just -- I tend to use that

18         term a lot, so it's -- I mean, everybody --

19         you know, yes.     But, I mean -- yes, I guess

20         would -- I would say that.                                        14:05:02

21                   Q.   Do you recall whether you

22         shared the -- the teaser trailer with the --

23         this preliminary teaser trailer with

24         Mr. Phillips?

25                   A.   I don't recall at all.                             14:05:13


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1                    Q.    And you gave her some comments

2          on it?

3                    A.    I did.

4                    Q.    And then at the end you said

5          again:     "Great job.     Super exciting."                       14:05:18

6                          Do you see that?

7                    A.    Uh-huh.

8                    Q.    So you didn't have any

9          objection to any of the content of the                     of

10         the teaser trailer other than these things                        14:05:25

11         that you were pointing out?

12                   A.    Well, I mean, as you can read,

13         you know, with what Ms. D'Souza went on to

14         say and there was no voice-over.               There was

15         just the -- you know, that -- that was still                      14:05:35

16         going to be done, and I was trying to be

17         supportive.

18                   Q.    Okay.

19                   A.    I don't even know that these --

20         these, you know, suggestions were even taken.                     14:05:46

21                   Q.    Yeah.     That was going to be my

22         next question.

23                         Do you know whether she took

24         your suggestions?

25                   A.    I -- I don't.         It was -- we had            14:05:54


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1          no editorial control.       They -- they needed to

2          do what they needed to do to make a movie and

3          that -- you know, we had licensed the video.

4          That was that.

5                    Q.   So this is January 14 and 15.                   14:06:07

6                     (Discussion off the record.)

7                (Marked Engelbrecht Exhibit No. 42.)

8          (BY MS. KUCK)

9                    Q.   I'm going to mark as the next

10         exhibit, 42, a document bearing Control                        14:07:05

11         No. 007230.

12                        So this appears to be another

13         Zoom invitation that was sent to you by

14         Ms. D'Souza.

15                        Do you see that?                                14:07:41

16                   A.    Yes.

17                   Q.   And that's a few days after she

18         gave you the teaser trailer and you gave her

19         some comments.

20                        Do you recall having a --                       14:07:48

21         another Zoom call with her in approximately

22         that time frame?

23                   A.   I -- I don't.        And I -- I have

24         such a void of recollection.           I don't know

25         if -- if this was an update to what the -- I                   14:08:00


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1          mean, I don't know if we had the first one.

2          I don't know if this was -- I don't know.                 I

3          have no recall of this at all.

4                    Q.    Okay.    But do you have any

5          reason to believe you didn't have the call?                     14:08:10

6                    A.    No.   The only edit I would add

7          there is I don't know if this was -- to the

8          extent that it's important, I don't know

9          that -- if this was a rescheduling of the

10         first one or the -- I -- I just don't know.                     14:08:21

11                   Q.    Okay.    Because you don't

12         remember whether you had the first one?

13                   A.   I really -- I really don't.

14                    (Discussion off the record.)

15              (Marked Engelbrecht Exhibit No. 43.)                       14:08:55

16         (BY MS. KUCK)

17                   Q.    So let's mark as Exhibit 43 a

18         one-page document bearing Control

19         No. TTV 007232.

20                         And this -- this appears to be                  14:09:25

21         a -- an e-mail from Ms. D'Souza to you and

22         Alex Pfeiffer and -- I'm sorry, strike that.

23                        It appears to be an e-mail from

24         Ms. D'Souza to Alex Pfeiffer at fox.com

25         copied to you and Mr. D'Souza with a subject                    14:09:46


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1          "here it is."

2                          And then she says:            "Hi, Alex,

3          here's the teaser."

4                          Do you see that?

5                    A.    I do.                                             14:09:54

6                    Q.    And we spoke earlier about

7          Mr. -- Mr. Pfeiffer.

8                          He is -- he is a producer at

9          Fox News?

10                   A.     That -- I -- I don't know if                     14:10:01

11         that's the right title, but I know he was

12         somehow at Fox News.

13                   Q.    Okay.      And why was she sending

14         this?      Do you know?

15                   A.    I -- I could only               I mean, I         14:10:10

16         could speculate that it was to have it shown

17         but I...

18                   Q.    Okay.      Did you review the final

19         teaser?

20                   A.    I don't recall.                                   14:10:24

21                   Q.    And do you know why she was

22         copying you on this?

23                   A.    I -- maybe just good form.

24         I -- you know, courtesy.            I don't know.

25                   Q.    Okay.      So that was January 18.                14:10:39


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1                     (Discussion off the record.)

2               (Marked Engelbrecht Exhibit No. 44.)

3          (BY MS. KUCK)

4                    Q.   So Exhibit 44 is a

5          multiple-page document bearing Control                          14:11:23

6          No. DD 000166 through DD 000176.

7                    A.   Okay.

8                    Q.   So then this appears to be

9          about a little more than a week later, and it

10         says -- seems to be an e-mail from                              14:12:04

11         Mrs. D'Souza to you and Mr. Phillips.               And

12         it's "re shooting schedule."

13                        Do you see that?

14                   A.    Yes.

15                   Q.   Do you recall receiving this                     14:12:17

16         e-mail?

17                   A.   Not specifically, but I have no

18         reason to think that I didn't.

19                   Q.   Okay.     So it seems to be a

20         back-and-forth about the possible shooting                      14:12:34

21         schedule for the film, right?

22                   A.    Yeah.    Yeah.     Well, for our

23         part.

24                   Q.   For your part, yes.

25                        And then on Page 171, you have                   14:12:42


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 1         an e-mail there to Mr. Schooley where you

 2         say:      "Got it.   Good deal.       Sidebar re the

 3         hackers, we want to be very clear that our

 4         team are not hackers, they're programmers,

5          miners, analysts, mathematicians, and                             14:13:05

 6         investigators.       In our community, the term

 7         'hacker' is a pejorative that suggests we

8 I        stole data or engaged in illegal acts.                 We

 9         paid for commercially and publicly available

10         data and did all of our work absolutely                           14:13:17

11         painstakingly above board."

12                         The next paragraph is, "I know

13         these are just internal notes, but did want

14         to mention the baggage of the term and

15         recommend we substitute it with something                         14:13:25

16         like researchers or analysts."

17                         Do you remember sending that

18         e-mail to Mr. Schooley?

19                   A.    I -- I don't remember it, but I

20         don't have any reason to dispute that I did.                      14:13:34

21                   Q.    Do you have any recollection of

22         giving the comment that the word "hacker"

23         should be avoided?

24                   A.    I'm sorry.       Can you restate

25         that?                                                             14:13:48


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1                    Q    Yeah.

2                         You say:     "Sidebar re hackers."

3          And then you have a number of comments, and

4          you want to -- you say:        "We recommend we

5          substitute it with something else like                         14:13:56

6          researchers or analysts."

7                         Do you remember having a

8          back-and-forth with him about the word -- the

9          use of the word "hackers" as opposed to

10         researchers or analysts?                                       14:14:05

11                   A.   I don't recall that.           I mean, I

12         can see that I responded to him when he said

13         "we have five extras acting as hackers," you

14         know, and to work on a hacker vibe, so that's

15         what I was responding to.                                      14:14:21

16                   Q.   Do you know whether they use

17         the term "hacker" in the movie?

18                   A.   I -- I hope not.         I don't -- I

19         don't recall.      I don't know.       We had no -- we

20         had no editorial control.         We lad no control            14:14:30

21         over what happened in their studio or who

22         they hired to do what.

23                   Q.   Let's mark as Exhibit 45 a

24         one-page document bearing Control

25         No. TTV 007235.                                                14:15:03


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1               (Marked Engelbrecht Exhibit No. 45.)

2                         (Discussion off the record.)

3                    A.        Thank you.

4          (BY MS. KUCK)

5                    Q.       Do you see this appears to be                    14:15:30

6          another e-mail during this time frame from

7          Mrs. D'Souza to you and Mr. Phillips

8          scheduling a Zoom call?

9                    A.        Yes, I see that.

10                   Q.       Okay.     And it says the topic is               14:15:46

11         "catch up"?

12                   A.        Yes.

13                   Q.       Do you recall a Zoom call

14         around this -- this time given what -- the

15         e-mails we just looked at?                                          14:15:56

16                   A.       Let me just look back at the

17         dates just to...

18                   Q.        Yeah.    This is the -- some --

19         this is the same date as your e-mail about

20         the hackers and the day --                                          14:16:07

21                   A.       Oh, okay.

22                   Q.       -- after -- seems to be the day

23         after she sent you the shooting schedule.

24                   A.       I have -- I have no recall of

25         any of the Zoom.           I don't have any reason to               14:16:19


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 1         believe that she didn't send this.                 I just

2          don't know if it happened or I -- I don't --

3          I just don't have any recall of it.

 4                   Q•   Okay.     You can't say either

5          way?                                                              14:16:31

 6                   A.   (Shaking head.)

 7 I                 Q•   Do you have general

8          recollection of any Zoom calls with the

 9         D'Souzas about the film or with Mr. Schooley?

10                   A.   I have recollection of calls.                      14:16:47

11                   Q.   Okay.

12                   A.   And I'm not disputing that

13         there could have been Zoom.           You know, when

14         you say "Zoom," you think video.

15                   Q.   Right.                                             14:17:03

16                   A.   I just -- that's the visual

17         that I'm trying to conjure

18                   Q.   Okay.

19                   A.   -- is like when we were all on

20         video, and I don't -- I don't recall.                             14:17:08

21         Again -- again, I would be -- I just don't --

22         I don't -- I just don't.

23                   Q.   So your recollection is more

24         consistent with you having audio calls during

25         this period of time, and it could have been                       14:17:23


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1          they were set up through Zoom, but you

2          don't -- when you say you don't recall calls,

3          you mean you don't recall video calls?

4                    A.   And that's -- to be clear,

5          that's not even to say that it wasn't a video                    14:17:34

6          call.

7                    Q.   Right.     Right.

8                    A.   I just truly do not remember

9          these calls.

10                   Q.   Okay.     And to extent you recall                14:17:39

11         audio calls, was Mr. Phillips on there with

12         you, or was it just you?

13                   A.   I -- it -- it could have been,

14         you know, either/or, both.           I don't know.        It

15         was -- it was not -- I mean, if -- based on                      14:17:55

16         this last document that was, I guess, as you

17         said, the day before this (indicating), there

18         were a lot of -- there was a lot of confusion

19         that we, you know, likely were trying to

20         understand but...                                                14:18:10

21                   Q.   And when you say "there was a

22         lot of confusion," what do you mean?

23                   A.   Can we...?

24                   Q.   Sure.     Of course.

25                        Now you want to look back at                      14:18:20


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1          Exhibit --

2                    A.   44.

3                    Q.   -- 44.

4                    A.   So my questions are more just

5          about travel and what -- what the expectation                     14:18:38

6          was, but I -- all I was looking at earlier, I

7          saw that Gregg had responded here and said:

8          "Can y'all remind me what our

9          responsibilities are in California.                We are

10         struggling with scheduling."                                      14:18:55

11                        Because we didn't -- initially,

12         we didn't know that this was happening.                   And

13         it went from there's going to be something in

14         California and we may want to call you and

15         ask you questions to there's going to be                          14:19:09

16         something in California and we may want to

17         have you on a conference call to can you come

18         to California and talk to everybody and kind

19         of brief them on the project to us being

20         there and actually being, you know, on                            14:19:24

21         well, I don't really even know if we were on

22         camera, but we were -- I don't think we

23         were -- if we were -- well, I don't -- we sat

24         with all the hosts and --

25                   Q.   Right.                                             14:19:37


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1                    A.   -- and did that.

2                         So I think what -- let me

3          just -- just for clarity --

4                    Q.   Uh-huh.

5                    A.   -- let me just read what Debbie                 14:19:45

6          said here.

7                         "Basically we are moderating a

8          Salem host panel discussing these issues and

9          why the significance.       You and Catherine are

10         two expert witnesses we need on hand to brief                  14:19:52

11         them and also to answer questions that will

12         inevitably arise.

13                        "The shooting there is

14         scheduled from 2:00 to 5:00.           However, we

15         would like to meet with you guys beforehand                    14:20:02

16         to go over the format."

17                        So it was like, you know, come

18         and, you know, if we have questions we'll ask

19         you, and we want to meet with you, but --

20         that we were not supposed to be in it, which                   14:20:12

21         we had no editorial control, and we had no

22         control over what was going to happen, did

23         not know who was going to be there.

24                        And so maybe that -- so maybe

25         this was trying to clear this up.             I -- I           14:20:25


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1          don't know.

2                    Q.      Okay.     But you did -- you went

3          to California?

4                    A.      I did.

5                    Q.      And then a day or -- a few days                  14:20:32

6          before that, you also did some filming in

7          Woodlands?

8                    A.       Yes, correct.

9                    Q.      And tell me about the filming

10         in Woodlands.                                                      14:20:44

11                   A.      I believe it is Dinesh's

12         studio.        I'm not sure.

13                   Q.       Yep.

14                   A.      But it's a studio in The

15         Woodlands.       And Gregg and I were invited to                   14:20:57

16         come to the studio.          As I generally recall,

17         we got there -- I don't know -- I mean, in

18         the -- I guess in the morning.                It felt very

19         much like a full day that we were there.

20                           We had no -- I mean, we knew we                  14:21:11

21         were going to be talking about the movie, but

22         we had no -- we just sat at a table.                  And

23         Gregg had his iPad and talked to some of the

24         things that -- that he, you know, showed on

25         his iPad, and -- and we just answered their                        14:21:28


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1          questions.

2                         And then as was mentioned

3          yesterday -- yesterday, there was, you know,

4          the blue screens and no editorial control,

5          lots left on the cutting room floor.                            14:21:47

6                         And then the next day, there

7          was just B-roll, which was just us like

8          getting in and out of cars and standing with

9          the extras that they had brought in.

10                   Q.   So the -- the scenes in the                      14:22:02

11         film where you're getting in and out of cars

12         or you're going to the Summit or any of

13         those, that -- that was all staged, right,

14         after the -- it was staged when you filmed at

15         this point in time?                                             14:22:17

16                        It wasn't an actual film of you

17         having a meeting?

18                   A.   No.    No.    That -- frankly,

19         that's why we didn't like -- you just said

20         the word "summit."       I was just --                          14:22:27

21                   Q.   Right.

22                   A.   It just didn't -- but -- but

23         no, it was -- with the slight exception of

24         the California event because we didn't --

25         hadn't -- you know, that wasn't staged                          14:22:38


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1          because we didn't even know we --

2                    Q.     Right.

3                    A.     -- would be a part of it.

4                           But, again, no -- we -- I know

5          I'm redundant, but we just had no editorial                       14:22:46

6          control.       This is -- we just -- moviemaking,

7          and that was it.

8                    Q.     And you said Mr. --

9          Mr. Phillips had something on his iPad, but

10         then you also talked about blue screens.                          14:23:02

11                          Can you explain that to me?

12                   A.     He had in the movie -- I -- I

13         can't tell you what it was even, but I know

14         he had his iPad with him.

15                          And then there were screens set                  14:23:13

16         up around the studio, and they were blue

17         because those graphics were going to be added

18         later.     I -- for clarity, I guess.

19                    (Discussion off the record.)

20                          MS. KUCK:       Yeah.     I'm sorry.             14:23:32

21         (BY MS. KUCK)

22                   Q.     So those were set up later.

23                          And then in the film, does the

24         film show whatever it was that was on his

25         iPad or it's something that's just put up on                      14:23:45


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1          the blue screens?

2                    A.   I --

3                    Q.   Okay.

4                    A.   I really couldn't tell you.

5                    Q.   All right.      So then you went to              14:23:52

6          California.

7                         You met with the Salem hosts,

8          correct?

9                    A.   Yes.

10                   Q.   And that was on film or they                     14:24:06

11         were filming when you were meeting with them,

12         or did you do an off camera also?

13                   A.   There was no -- to the best of

14         my knowledge, there was no off camera.               We

15         were not -- there was like a hallway                            14:24:18

16         situation where we were talking with them, I

17         believe that was all filmed.

18                        And then there was the -- the

19         point where we talked with the hosts when

20         they were seated.      And then we were asked to                14:24:34

21         leave, and then they did the rest of it.

22                   Q.   Okay.    Prior to that time, had

23         you had any conversations with any of the

24         hosts about the film?

25                   A.   So thinking about who was --                     14:24:51


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1          not that I can recall.

2                    Q.   But later after at least the

3          teaser came out, you were on some of the

4          shows that were hosted by those people,

5          right?                                                         14:25:10

6                    A.    Yes.

7                     (Discussion off the record.)

8          (BY MS. KUCK)

9                    Q.   So let's mark as Plaintiff's

10         Deposition Exhibit 46, TTV 7271.                               14:26:21

11             (Marked Engelbrecht Exhibit No. 46.)

12         (BY MS. KUCK)

13                   Q.   So this is an e-mail that

14         appears to have been sent to you,

15         Mr. Phillips, and Mr. Hughes by Ms. D'Souza                    14:26:53

16         on February 4, 2022, which I guess is two

17         days after the filming in California?

18                   A.   I think.

19                   Q.   Okay.    And she's asking you for

20         additional information.                                        14:27:10

21                        Do you see that?

22                   A.    Yes.

23                   Q.   So for the -- the first item

24         she's asking for is a thousand videos.

25                        Do you see that?                                14:27:20


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1                    A.    I do, yes.

2                    Q•    And what -- were there

3          follow-up conversations about that?                Did you

4          give them a thousand videos?

5                    A.     No.                                            14:27:28

6                    Q.    What happened?

7                          Okay.    Tell me what happened

8          with that item.

9                    A.    There's another version of this

10         where it goes back and forth with a                             14:27:34

11         conversation, but the -- -- there -- I mean,

12         a thousand videos.       The -- my understanding

13         became about that particular request that

14         they were trying to create, and it's

15         mentioned in other documents, a fly effect,                     14:27:53

16         like a matrix effect.

17                          They had done it in another

18         movie, and that's what they wanted to do

19         here.      And it's not reflected here, but in my

20         response on that document, I just say, you                      14:28:04

21         know, it -- the -- these -- these would just

22         be, you know, videos outside of the context

23         of what we've already provided.             I'd make

24         recommendations.       Like, I don't know what

25         to -- what to do.                                               14:28:24


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1                         And they came back and said,

2          Well, just any kind of video you're not going

3          to be able to see the person or whatever.

4                         And I really don't recall.                 At

5          that point, we had gotten -- well, no, I                         14:28:35

6          guess at this point we still didn't have some

7          of the Gwinnett stuff so

8                    Q.   Right.

9                    A.   -- I was -- and maybe this was

10         a lingering request.        I -- I don't -- I                    14:28:43

11         couldn't tell you about when and how that

12         actually...

13                   Q.   Do you recall how many videos

14         you gave them ultimately in addition to the

15         77 original ones, approximately 77?                              14:28:55

16                   A.    Yeah, approximately 70.

17                        But then there was the Gwinnett

18         anomaly which that was that 25-hour period

19         video.     And then with that, because of the

20         way they provided video, there was just a ton                    14:29:08

21         of -- I mean, it was -- it was a longer

22         period than just that 25 hours.             We wanted to

23         look at the 25 hours, but there was more than

24         that.

25                        And I -- I really couldn't -- I                   14:29:18


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1          don't know more than that except that we --

2          you know, when we -- our deal was with them

3          just to provide this video from the county

4          open records.      And so when we got it, we

5          provided it.       And that was it.                             14:29:34

6                    Q.   And that was Gwinnett County

7          you're talking about?

8                    A.   Yes, I don't recall there being

9          anything else.       There could have been.

10         But...                                                          14:29:44

11                   Q.   And then so therefore that --

12         that second batch of video from Gwinnett

13         County, again, it wasn't part of the

14         geospatial analysis matching of video and

15         analysis because you didn't have it in time,                    14:29:57

16         right?

17                   A.   That's -- yes.

18                   Q.   Okay.     And did the D'Souzas

19         understand that -- or did you tell Mr. and

20         Mrs. D'Souza that?                                              14:30:06

21                   A.   I -- I don't recall, but it

22         wouldn't -- I mean, I don't know how that

23         would have been material, but I -- I don't

24         recall telling them or not telling them

25         maybe.                                                          14:30:17


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1                    Q.   Okay.

2                    A.   I mean, we definitely talked

3          about the Gwinnett anomaly because we had

4          exhibits and everything with that.

5                    Q.   But you don't recall talking to                 14:30:24

6          them about whether the Gwinnett County video

7          had been matched with the geospatial

8          analysis?

9                    A.   I can't specifically recall it.

10         I just -- it came so late, it would -- it                      14:30:42

11         would -- in my mind almost have been assumed,

12         but I can't recall it.

13                        Again, we had no editorial

14         control, no control over what was used or

15         how, which videos were selected.             It was --         14:30:54

16         they were making -- they were trying to do

17         what they could to make it look good on

18         screen.

19                   Q.   Okay.    And then No. 2 on this

20         e-mail, it says:     "We need a list of                        14:31:06

21         nonprofits that are involved with the

22         trafficking."

23                        Do you see that?

24                   A.   I do.

25                   Q•   And did you ultimately provide                  14:31:11


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1          that in -- did you ultimately provide

2          information in response to this request?

3                    A.     I am -- I am not -- I know that

4          there is another version of this where I do

5          respond.       And I'm hesitant to -- to say what                14:31:21

6          that was.      I -- I -- I -- and maybe you have

7          a copy of it, but I do know I responded.                   I

8          don't recall how I responded.

9                    Q.     Okay.

10                   A.     I know that we were emphatic                    14:31:34

11         about not putting the names, and that's

12         repeated throughout the documents that I

13         provided many, many times.

14                   Q.     And why not?

15                   A.     It -- it was just -- it was                     14:31:46

16         not        we -- we just -- you know, we had

17         always hoped that these -- that these -- that

18         this would go on to be investigated.

19                          And while the apparent nexus

20         between potentially these organizations and                      14:32:00

21         devices seem significant, and we were

22         comfortable enough to say that they appeared

23         to be frequenting these addresses, we just

24         weren't comfortable going further than that.

25                          And, you know, we really                        14:32:17


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1          wanted -- we still were hoping that law

2          enforcement would -- would pick that up, and

3          we didn't want it to be blown out of

4          proportion.       And that was it.

5                    Q.      Okay.                                           14:32:27

6                            MR. EVANS:      Maybe let's do a

7                    quick break.

8                            MS. KUCK:      Sure.

9                            MR. EVANS:      I know we've been

10                   going about an hour and 20.                             14:32:33

11                           MS. KUCK:      Yeah.     Sorry about

12                   that.

13                           MR. EVANS:      No, you're good.

14                           THE VIDEOGRAPHER:          Off the

15                   record at 2:33.                                         14:32:36

16              (Break from 2:33 p.m. to 2:51 p.m.)

17                           THE VIDEOGRAPHER:          Back on the

18                   record at 2:51.

19             (Marked Engelbrecht Exhibit No. 47.)

20         (BY MS. KUCK)                                                     14:50:07

21                   Q.      Ms. Engelbrecht, before the

22         break we were talking about an e-mail that

23         you had received from Debbie D'Souza in which

24         had a list of things including a thousand

25         videos?                                                           14:50:21


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1                    A.     Yes.

2                    Q.    And that was on -- the date of

3          that e-mail was February 4.

4                          Do you recall having a call

5          about those items shortly thereafter?                           14:50:27

6                    A.    I -- I can't -- I don't recall

7          that.      I mean, I -- no, I don't specifically

8          recall that.

9                    Q•    Okay.    So let's mark as

10         Exhibit 47 TTV 007272.         And this is another              14:50:43

11         Zoom invitation for February 5.

12                         Do you see that?         That's the

13         day after the e-mail.

14                          You have no recollection of

15         this call?                                                      14:51:11

16                   A.    I don't.     I really just -- I

17         don't.

18                   Q.    Okay.    Do you have any reason

19         to believe it didn't happen?

20                   A.    Other than I have no recall of                  14:51:19

21         it, I -- I mean, not -- not necessarily.

22                   Q.    Okay.    So that's dated

23         February 5.     Let's mark the next document,

24         TTV 7274.

25              (Marked Engelbrecht Exhibit No. 48.)                       14:51:48


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1          (BY MS. KUCK)

2                    Q.   So here's a document that

3          appears to be another e-mail from Ms. D'Souza

4          to you and Mr. Phillips dated a few days

5          later, February 9, 2022.                                        14:52:20

6                         Re Zoom call, Wednesday, 7:15

7          Central Standard Time, 8:15 Eastern Standard

8          Time.     And items to complete.

9                         And then it says:           "Hi,

10         Catherine and Gregg.        Here are the items we               14:52:36

11         need to complete."

12                        Do you see that?

13                   A.    Yes.

14                   Q.   And it's pretty much that same

15         list that we had talked about she had sent                      14:52:42

16         you on the 4th?

17                   A.    Yes.

18                   Q.   And so she's following up again

19         in scheduling a call for the following day on

20         February 10; is that fair?                                      14:52:51

21                   A.    Yeah.    Yes.

22                   Q.   And so let's mark TTV 007276.

23              (Marked Engelbrecht Exhibit No. 49.)

24                   A.    Thank you.

25         (BY MS. KUCK)                                                   14:53:23


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1                    Q.   And then it -- this exhibit

2          seems to be an e-mail responding to the

3          e-mail we just looked at dated February 10,

4          2022, from you to Ms. D'Souza.

5                         Is this the e-mail you were                      14:53:47

6          remembering earlier when you spoke about you

7          responded?

8                    A.   I believe so, yes.

9                    Q.   Okay.     And you respond on the

10         video footage.     It says:       "We have around 70            14:54:04

11         videos currently separated out in our scaling

12         efforts to review more."

13                        Are those the 70 the 70 that

14         we've been talking about that you initially

15         provided?                                                       14:54:20

16                   A.   Tied to the 242, yes.

17                   Q.   Right.     Okay.

18                        And then you gave her a number

19         of ideas.

20                        Did the -- as to possible ways                   14:54:27

21         to show some of these issues, including, you

22         know, showing some -- the path of a mule,

23         et cetera.

24                        Did they take you up on any of

25         those ideas?                                                    14:54:43


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1                    A.   No.    No.

2                    Q.   Okay.    Did you ultimately give

3          them additional footage?

4                    A.   After this -- after the 70 and

5          242 and later --                                                 14:54:56

6                    Q.   Yeah.

7                    A.   -- we did give them the

8          Gwinnett footage.

9                         Yeah.    I mean, I don't -- I

10         don't recall -- I just don't -- that's --                        14:55:06

11         that's what I remember.

12                   Q.   Okay.    And then the second item

13         which we talked about earlier, which is:                 "We

14         still need a list of nonprofits that are

15         involved with the trafficking."                                  14:55:15

16                        Do you see that?

17                   A.   Yes.

18                   Q.   And you say:       "Here's a link to

19         the Georgia and Arizona organizations that

20         have published 990s."                                            14:55:22

21                        Do you see that?

22                   A.   Yes.

23                   Q.   So you were responding to her

24         response for a list of nonprofits with

25         this -- this link.                                               14:55:36


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1                         What was in the link?

2                    A.   The 990 tax returns.

3                    Q•   And those were -- how were

4          those organizations selected?

5                    A.   Some of them were -- seemed to                  14:55:50

6          be associated with some of the patterns that

7          had shown up.      Some of them were associated

8          with what we had been told by informants.                I

9          was trying to caution here that, you know,

10         this -- these were -- this is just data that                   14:56:11

11         we had pulled.

12                   Q.   You say:     "There are active

13         investigations going on in both of these

14         states, and we cannot risk bungling the

15         cases."                                                        14:56:24

16                        What were you referring to

17         there?

18                   A.   There were active -- at that

19         point, there were active investigations in

20         Arizona and in Georgia.        And I just -- I                 14:56:31

21         didn't want to get ahead.         As I've said, I

22         just didn't want to get ahead of -- our

23         primary purpose was was working with law

24         enforcement so...

25                   Q.   Who was doing those                             14:56:42


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1          investigations?

2                    A.    The -- the Secretary of State

3          of Georgia had announced that he was going to

4          do an investigation.        To this point, I don't

5          think anything had occurred, but I may be                       14:56:52

6          mistaken on that, but he had announced it.

7                          And then in Arizona, the Yuma

8          County Sheriff's Office and the -- I don't

9          recall if at this point we were already

10         talking with the -- the criminal team of the                    14:57:10

11         attorney general of Arizona, but those were

12         aware that that was happening.

13                   Q.    And in Georgia, what -- what

14         organizations were being investigated?

15                   A.    I don't know that any                           14:57:23

16         organization -- I don't know.            They had just

17         announced that they were -- they had seen,

18         you know, our -- we had had a meeting with --

19         with the Georgia Secretary of State.               We had

20         long since been to the Georgia Bureau of                        14:57:40

21         Investigations.     We were just happy that they

22         were considering anything so...

23                   CI•   Okay.    Did you ever tell her

24         that -- well, strike that.

25                         She's saying:        "We need a list            14:57:53


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 1         of nonprofits that are involved with the

 2         trafficking."

 3                               Did you ever explain to her

 4         that the organizations you were providing

 5         were people you suspected of it but didn't                           14:58:04

 6         have -- hadn't reached a conclusion about?

 7                   A.          Although I don't specifically

 8         state that here, I do -- I do feel fairly

 9         certain that it is a conversation that we had

10         had because I was emphatic about not -- not,                         14:58:22

11         you know, releasing names, not jumping to

12         conclusions.           We had not -- I just -- I

13         didn't want that to happen.

14                   Q.          But you think that might have

15         been some sort of oral conversation you had                          14:58:35

16         with them?

17                   A.          Yes.   I got a sense that they

18         were trying to do additional research.                     And,

19         you know, again, I wasn't sure what all was

20         going on but was trying to be helpful if I                           14:58:51

21         could.

22                   Q.          And then you conclude by

23         saying:        " We   have NGOs in other states too.

24 I       We'll send a list by close of business on

25         Friday."                                                             14:59:00


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1                          Did you provide that

2          information?

3                    A.    I don't -- I don't recall.

4                    Q.    And then am I -- am I correct

5          that because you         after you sent this                    14:59:17

6          information there was supposed to be a call

7          the same day, but the call was canceled

8          because you gave them the information?

9                    A.    That's -- that would -- that

10         would seem to be the order of events, but I'm                   14:59:27

11         not -- I'm not sure.

12                   Q.    Okay.

13                    (Discussion off the record.)

14              (Marked Engelbrecht Exhibit No. 50.)

15         (BY MS. KUCK)                                                   15:00:00

16                   Q.    Let's mark as Plaintiff's

17         Deposition Exhibit 50 a one-page document

18         bearing Control No. TTV_007280.

19                         And Exhibit 50 seems to be

20         another Zoom invitation for about 12 days                       15:00:42

21         later after the e-mail we just looked at to

22         you.      Topic is "Catch up movie meeting."

23                         Do you recall that you had

24         another conversation with her -- well, strike

25         that.                                                           15:01:02


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1                         Do you recall having a

2          conversation with her, say, 12 days after

3          your last e-mail exchange?

4                    A.   I -- I don't recall.           I recall

5          that we were anxious to complete, you know                     15:01:10

6          the provision of whatever they -- whatever we

7          were       were required to do.        And so they

8          were -- you know, as was indicated in this

9          last -- in the e-mail, 48 -- Exhibit 48 --

10                   Q.   Uh-huh.                                         15:01:29

11                   A.   -- where she said, you know,

12         here are the items we need to complete, that

13         we -- we very much looked through the lens

14         of, you know, what we needed to complete, you

15         know, our -- our contract to get -- get it                     15:01:37

16         done.

17                   Q.   You were -- when you say "your

18         contract," you're talking about the licensing

19         agreement?

20                   A.   The agreement, yeah.                            15:01:46

21                   Q.   But does the licensing

22         agreement have any specific as to how many

23         were -- how many pieces of video you're

24         supposed to provide or anything?

25                   A.   No.                                             15:01:56


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1                    Q.    Just -- it's just a license to

2          use video that you have?

3                    A.    To use open source or open

4          records video.

5                    Q.    Okay.     And it doesn't spell out               15:02:05

6          any of your specific obligations in terms of

7          providing that video?

8                    A.   I don't really recall.               We

9          would have to go back and -- and look at the

10         agreement.     But generally, I think that's --                  15:02:17

11         it was -- it was all about, you know, the

12         video.

13                   Q.    Right.     It was just a license

14         to use the video?

15                   A.    Yeah.     I -- I -- I'm not a                    15:02:25

16         lawyer, so I don't want to get over my skis

17         on it but...

18                    (Discussion off the record.)

19              (Marked Engelbrecht Exhibit No. 51.)

20         (BY MS. KUCK)                                                    15:04:19

21                   Q.    Okay.     Let's mark as Exhibit 51

22         an e-mail from -- well, strike that.

23                         Let's mark as Exhibit 51 a

24         document bearing control Nos. TTV 007294

25         through 7295.                                                    15:04:34


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1                     (Discussion off the record.)

2          (BY MS. KUCK)

3                    Q.       So do you see this appears to

4          be at the bottom an e-mail dated March 10

5          from Mr. Schooley to -- well, strike this.                         15:05:13

6                            It's -- it's -- it appears to

7          be an e-mail from Mrs. D'Souza forwarding an

8 I        e-mail to you and Mr. -- you and Mr. Phillips

9          from Bruce Schooley, correct?

10                   A.       Yes.                                            15:05:34

11                   Q.      And he's asking about some

12         questions relating to the film.

13                           Do you see that?

14                   A.       Yes.

15                   Q.      And do you know, did Mr. -- you                  15:05:42

16         or Mr. Phillips respond to this?

17                   A.      I -- I don't know.           I mean, if

18         it -- if we had, I imagine it would have been

19         pulled out of --you know, of this same

20         thread.        I don't know.                                       15:06:07

21                   Q.       Okay.    If you look down to the

22         last two lines on this page, he seems to

23         be -- he's asking a question about something

24         that he says Mr. Phillips stated in the film.

25                           Do you see that?                                 15:06:23


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1                    A.    Yes.

2                    Q.    And then the last two lines on

3          the page quote Mr. Phillips as saying:                "What

4          you are seeing -- what you see here on the

5          screen is a single person on a single day in                    15:06:31

6          Atlanta, Georgia.       They went to 28 drop boxes

7          and five organizations in one day."

8                         Do you see that?

9                    A.    Yes.

10                   Q.    So was -- was that the part                     15:06:40

11         when he was looking at his iPad?

12                   A.   I -- we'd have to look at the

13         movie.     I -- I don't know.

14                   Q.    You don't remember --

15                   A.   I don't.                                         15:06:50

16                   Q.   -- the sequence?          Okay.

17                    (Discussion off the record.)

18             (Marked Engelbrecht Exhibit No. 52.)

19         (BY MS. KUCK)

20                   Q.    Okay.    Let's mark as Exhibit 52               15:07:20

21         a one-page document bearing Control No.

22         TTV 7278.

23                         And then this appears to be an

24         e-mail from Mr. D'Souza to you, again,

25         following up on this NGO issue.                                 15:07:49


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1                         Do you see that?

2                    A.   Yes.

3                    Q•   Dated February 16?

4                    A.   Yes.

5                    Q.   And he says:       "I seem to have              15:07:56

6          the list of NGOs you tested for in Georgia,

7          Wisconsin, and Arizona, but not Michigan or

8          Pennsylvania."

9                         Do you see that?

10                   A.   Yes.                                            15:08:07

11                   Q.   When he says "NGOs you tested

12         for," do you understand what he's referring

13         to there?

14                   A.   No, I do not.

15                   Q.   Do you know -- did you give                     15:08:12

16         them a list for Georgia, Wisconsin, and

17         Arizona?

18                   A.   No.

19                        Not to best of my recollection.

20                   Q.   And do you recall responding to                 15:08:29

21         him that you hadn't given him such a list?

22                   A.   I -- I don't -- I don't --

23         I'm -- if I didn't respond, which it doesn't

24         look like I did, I'm nearly certain I would

25         have communicated that verbally.                               15:08:45


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1                    Q.    Okay.

2                    A.    Because they were, you know,

3          trying to -- clearly trying to get this.

4                    Q.    Right.     And so you -- your

5          recollection is you may have had verbal                          15:08:54

6          conversations with him about it, you just

7          don't remember this?

8                    A.    Just to try to explain the

9          situation, yes.

10                    (Discussion off the record.)                          15:09:29

11         (BY MS. KUCK)

12                   Q.    Let's mark as Exhibit 53

13         another Zoom -- well, bearing control

14         Nos. TTV 7280       oops.

15                   A.    Sorry.                                           15:10:10

16                   Q.    I've given you the wrong one.

17                         MS. KUCK:       7280.

18                    (Discussion off the record.)

19         (BY MS. KUCK)

20                   Q.   So let's mark as exhibit --                       15:10:36

21         it's not.

22                    (Discussion off the record.)

23         (BY MS. KUCK)

24                   Q.    So let's mark as --

25                         MS. KUCK:       Let's just go off                15:11:17


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1                    the record a second so we can

2                    straighten up the exhibits.

3                              THE WITNESS:      Sure.

4                              THE VIDEOGRAPHER:         Off the

5                    record at 3:11.                                          15:11:24

6               (Break from 3:11 p.m. to 3:21 p.m.)

7                              THE VIDEOGRAPHER:         We're back

8                    on record at 3:21.

9          (BY MS. KUCK)

10                   Q.       So we were just looking at some                 15:20:13

11         e-mails about Mr. D'Souza requesting

12         information for nonprofits in other states?

13                   A.        Yes.

14                   Q.       Did you ever eventually give

15         him that information that he was looking for?                      15:20:23

16                   A.        Not to the best of my

17         knowledge.

18                   Q.       And why not?

19                   A.       I didn't -- I didn't understand

20         the place that it would have gone in the                           15:20:41

21         movie.         I was concerned that it would be

22         misconstrued.        I already felt like we were in

23         a position of no control, and I just didn't

24         want to have anything taken out of context.

25                   Q.        So then at some point in time                  15:21:02


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1          you reviewed -- you saw a rough cut of the

2          film, correct?

3                    A.    Yes.

4                    Q.   And was that April 2 at the

5          D'Souza's home?                                                 15:21:14

6                    A.   I -- I couldn't confirm the

7          date, but it was at the D'Souzas' home.

8                    Q.   Okay.     Does April 2 sound

9          around the right time?

10                   A.   Probably.       I -- I don't really              15:21:24

11         know.

12                   Q.   And did you get a -- did you

13         receive a copy of that as well as watching it

14         at their home?

15                   A.    No.    Not that I'm aware of.                   15:21:33

16                   Q.   Okay.     Let's mark as Exhibit 53

17         a document bearing Control No. 7347 through

18         7348.

19              (Marked Engelbrecht Exhibit No. 53.)

20                    (Discussion off the record.)                         15:22:22

21         (BY MS. KUCK)

22                   Q.   And so this appears -- this

23         exhibit appears to be an e-mail chain of

24         back-and-forth between you and Mr. Schooley

25         dated April 7 of 2022.                                          15:22:35


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1                         Do you see that?

2                    A.   Yes.

3                    Q.   And it's -- the re line is

4          "last details."

5                         Are these comments you were                     15:22:45

6          providing to him on the version of the film

7          you had seen?

8                    A.   I -- it could have been that or

9          it could have been, you know, they just

10         needed a few outstanding things and I was                      15:23:01

11         just responding to that, communicated, you

12         know, directly or something.

13                   Q.   It says at the bottom "final

14         screen suggestion."

15                        Do you see that?                                15:23:15

16                   A.   I do.

17                   Q.   And that was a suggestion for

18         the final screen of the film?

19                   A.   Yes.

20                   Q.   And you're asking him to                        15:23:22

21         include the True the Vote logo?

22                   A.   Yes.

23                   Q.   As well as a QR code?

24                   A.   Yes.

25                   Q.   And why was that?                               15:23:32


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1                    A.   We were trying to encourage

2          people to become more familiar with True the

3          Vote and, you know, it was attached to a -- a

4          video.     And it led to our -- on our website,

5          as I recall.                                                    15:23:50

6                    Q.   And -- and you're providing

7          this to him after you had seen the film,

8          correct?

9                    A.   The -- the -- this language

10         I -- I mean, assuming the dates that you've                     15:24:01

11         given me, which I don't have any reason

12         necessarily to dispute, I guess that's the

13         sequence, yes.

14                   Q.   Did you -- after you               after

15         you saw the rough cut, did you give                             15:24:11

16         Mr. D'Souza any feedback on it?

17                   A.   As I generally recall, there

18         were two elements that I was, you know,

19         concerned about.      Tried to be supportive

20         overall, but I was concerned about the --                       15:24:33

21         this -- this interview that's referred to

22         here in No. 2.

23                        And I was concerned about the

24         representation of -- there was a scene where

25         we described how -- in an effort to encourage                   15:24:50


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1          the GBI to take another look at our data that

2          we had done or -- or OpSec had done an

3          analysis of a crime scene, and editing got a

4          little messed up.       And so I mentioned those

5          things.                                                         15:25:11

6                    Q.   And how did the editing get

7          messed up?

8                    A.   There were actually two crime

9          scenes --

10                   Q.   Uh-huh.                                          15:25:17

11                   A.   -- that we -- that we provided

12         analysis on or OpSec specifically provided

13         analysis on.       And we described both of them

14         sitting in Dinesh's studio that day, but only

15         one made it in.      And the way it -- the way it               15:25:32

16         ended up looking, at least in our opinion,

17         was that there was one exchange where -- and

18         I'm going off of recall so --

19                   Q.   Uh-huh.

20                   A.   -- bear with me.          But there was          15:25:45

21         a question about they showed two individuals

22         who had been arrested or indicted.

23                        And then Gregg was asked a

24         question, and he -- it -- bottom line is it

25         made it look like we were saying that our                       15:26:00


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1          research had led to their indictment, and

2          that was not accurate.        No doubt it was just

3          a slip in editing, but we knew that that was

4          not going to be good.

5                    Q.   And you told him that after you                 15:26:13

6          saw the rough cut?

7                    A.   As I generally recall, yes.

8                    Q.   Okay.    And was any change made

9          to the film after you told him that?

10                   A.   No.                                             15:26:21

11                   Q.   Okay.    What was the other thing

12         you were concerned about?

13                   A.   That an interview that we had

14         provided that -- with Heather Mullins in --

15         and a law enforcement officer that had only                    15:26:35

16         spoken under condition of anonymity -- let's

17         see if that's what's actually -- this

18         actually -- because there were a lot of

19         issues with that clip.

20                        I would just characterize this                  15:27:02

21         as I was -- you know, that was something that

22         I was mentioning there.        The thing I remember

23         is we had asked that his voice be modulated.

24                   Q.   Uh-huh.

25                   A.   And it, in my opinion, was not                  15:27:11


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1          sufficient.     And I don't -- I don't recall if

2          anything more was done with it or not.

3                          So this -- this clip -- this

4          recommendation, I don't know how that fully

5          factors in, but I do remember the voice thing                   15:27:24

6          because I was -- it was, you know, an

7          auditory.

8                    Q.    Okay.    And you also said in

9          here at some point in the movie Dinesh gives

10         an incorrect number about the average number                    15:27:35

11         of drop boxes.     The correct number -- the

12         correct number of average box -- drop boxes

13         is 38.

14                        Did -- was that change ever

15         made?                                                           15:27:46

16                   A.   I don't know.

17                    (Discussion off the record.)

18         (BY MS. KUCK)

19                   Q.   Do you recall earlier we were

20         talking about David Cross?                                      15:28:23

21                   A.    Yes.

22                   Q.    And when is your recollection

23         as to when you first met him?

24                   A.    My recollection was the first

25         time that we exchanged e-mails.                                 15:28:35


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1                    Q.        Uh-huh.

2                    A.       That's my recollection.

3                    Q.       And that was late in May of

4          2020.      It -- it was -- it was after the --

5          the hearing and -- in Georgia that dealt with                       15:28:45

6          Mr. Andrews, and then you went and got the

7          public records.

8                             Well, we can look at -- the

9          e-mail has a date on it.

10                   A.        Yeah.                                           15:29:03

11                   Q.        Let's just go back to that

12         e-mail, which I think it's...

13                        (Discussion off the record.)

14         (BY MS. KUCK)

15                   Q.       Exhibit 35.                                      15:29:18

16                   A.        Yes.

17                   Q.       And the date on that e-mail is

18         what?

19                   A.       May 22.

20                   Q.       So that's after the film came                    15:29:58

21         out?

22                   A.       I believe -- I believe so, yes.

23         The dates are running together.

24                   Q•       Okay.     So let's -- let me mark

25         as Plaintiff's Deposition Exhibit 54 a                              15:30:10


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1          multiple-page document bearing DDR-00056140

2          through DDR-00056142.

3               (Marked Engelbrecht Exhibit No. 54.)

4          (BY MS. KUCK)

5                    Q.   And this appears to a chat                      15:30:41

6          between you, Ms. D'Souza, and Mr. Phillips.

7                         Do you see that?

8                    A.   Yes.

9                    Q.   And the dates on it seem to be

10         April 5 of 2022 -- 2022?                                       15:30:57

11                   A.   Yes.

12                   Q.   Going to your third entry,

13         three down on Page 56141, and there's some

14         redacted material?

15                   A.   Yes.    Uh-huh.                                 15:31:14

16                   Q.   And then below that do you see

17         that list, it says "credits"?

18                   A.   Yes.

19                   Q.   And was that information that

20         you provided to Ms. D'Souza for the credits?                   15:31:20

21                   A.   Yeah.    I don't know that they

22         made the film, but I guess that was correct,

23         yes.

24                   Q•   Okay.    But there was

25         information you were giving her and asking                     15:31:33


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1          her to put in?

2                    A.   I -- I don't -- I recall

3          specifically, but it says "credits."              I -- I

4          don't really know.

5                    Q.   There's a         if you go to the              15:31:40

6          last line of that, it says:          "Special thanks

7          to Heather Mullins and David Cross for their

8          tireless research."

9                         Do you see that?

10                   A.   Yes.                                            15:31:54

11                   Q.   Why were you including

12         Mr. Cross there?

13                   A.   You know, I scanned this

14         document as you gave it to me.            I -- I don't

15         recall.                                                        15:32:06

16                        I do know that he and Heather

17         worked together.      There was a very small

18         group of Georgia citizen investigators, and I

19         was aware that David was among that group and

20         had worked with Heather.         Why I felt the need           15:32:19

21         to say this at that time, I -- I really

22         couldn't tell you.

23                   Q.   Okay.    And does this in any way

24         refresh your recollection that you were at

25         least aware of Mr. Cross prior to the -- your                  15:32:31


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 1         exchange later in May?

 2                    A.    Oh, yeah.      Only inasmuch as

 3         I         I mean, I wrote it, but I -- I -- it was

 4         such -- it was such a -- an intense time, and

 5         there were so many people.            And there were             15:32:45

 6         you know, it could have literally been a

 7         simple as, you know, I knew that -- I was

 8         aware of who was getting surveillance video,

 9         and at that point I -- you know, hats off if

10         you survived that gauntlet to get                                15:32:57

11         surveillance video.

12                          It could have literally just

13         been in a moment -- you know, that he was

14         doing that because it was arduous.

15                   Q.     Okay.    You just don't -- you                  15:33:06

16         just don't have any recollection of your

17 ,       contacts with him prior to the e-mail we

18         looked at?

19                    A.    I -- I really don't.

20                    Q.    Okay.                                           15:33:15

21                    A.    And it's -- there was a

22         tremendous amount happening at this time, and

23         I was trying to be inclusive and...

24                      (Discussion off the record.)

25         (BY MS. KUCK)                                                    15:33:54


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1                    Q      Let's mark -- well, strike

2          that.

3                           You saw the rough cut of the

4          film.

5                           And then do you recall that you                 15:34:03

6          also attended a premier in Las Vegas?

7                    A.     Yes, I do.

8                    Q.     And what -- how -- there was

9          also a premier later at Mar-a-Lago?

10                   A.    I don't remember the order, but                  15:34:19

11         there was a premier at Mar-a-Lago.

12                   Q.     Okay.    And the one -- the one

13         in Las Vegas, was that the -- the full

14         viewing of the movie, or is it some portion

15         of the movie?                                                    15:34:34

16                   A.     Well, the one in Las Vegas was

17         more like a panel.

18                   Q.     Okay.

19                   A.     And I don't -- either they had

20         some people in the live audience.               I don't          15:34:47

21         recall them showing the movie.              It could have

22         happened.      I just remember the panel.            That

23         was a very last-minute thing that we were

24         included in so...

25                   Q.     Okay.    So it was more -- it --                15:35:02


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1          was it a virtual event?

2                    A.    There was a -- there was a

3          virtual component.

4                    Q.   Right.

5                    A.   Absolutely.                                      15:35:09

6                    Q.    You were there in person?

7                    A.    Yes.

8                    Q.   Okay.

9                     (Discussion off the record.)

10         (BY MS. KUCK)                                                   15:35:41

11                   Q.    Let's mark 7370.         Oh, I have

12         it.

13                        So let's mark as Exhibit 55

14         TTV 7370 through 7371.

15               (Marked Engelbrecht Exhibit No. 55.)                      15:36:11

16         (BY MS. KUCK)

17                   Q.   There you go.

18                        And then you -- I know that

19         the -- the print is a little bit of small on

20         this -- is a little small on this.                              15:36:37

21                        This seems to be the jacket for

22         the DVD cover.

23                        Do you see that?

24                   A.    Yes.

25                   Q.   And Mr. Schooley was asking you                  15:36:49


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1          for your approval of that.

2                          Do you see that?

3                    A.    Yes.

4                    Q.    And you respond:           "No, we need

5          to add Gregg."                                                    15:37:02

6                          You see that?

7                    A.    Yes.

8                    Q.    And what -- what was -- do

9          you -- do you recall this back-and-forth?

10                   A.    I don't recall this particular                    15:37:10

11         back-and-forth.        I do recall seeing this and

12         being frustrated.

13                   Q.    Why were you frustrated?

14                   A.    You know, my name is

15         misspelled.     I have a side profile shot, and                   15:37:26

16         Gregg wasn't included.

17                         And it just -- it just seemed,

18         you know, every -- every other person that

19         appeared, you know, was -- I'm sorry.

20                         MS. HYLAND:         Did you say                   15:37:41

21                   somewhere on here that she responded

22                   that Gregg needed to be included.

23                         MS. KUCK:        Yeah.     It's at the

24                   very top.    It says:      "No, we need to

25                   add Gregg."                                             15:37:50


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 1                           MS. HYLAND:      I don't think my

 2                   version --

 3                           MR. EVANS:     Yeah.      Mine doesn't

 4                   have that.

 5                           MS. HYLAND:      I don't have that             15:37:53

 6                   one.

 7                            THE WITNESS:     Oh, yeah.       Mine

 8                   either.

 9                           MS. KUCK:     Okay.

10 I                         MS. HYLAND:      Is this 7370?                 15:38:00

11                           MS. KUCK:     No, it's 7374.

12                           MS. HYLAND:      Okay.     I have

13                   7370.

14                            THE WITNESS:     Yeah.      Me too.

15                           (Discussion off the record.)                   15:38:10

16         (BY MS. KUCK)

17                   Q.       So then let's mark -- just to

18         correct my error, let's mark 7374 through

19         TTV 7375.        And that's going to be the

20         exhibit, which is No. 56.                                        15:38:34

21                            You do -- it seems like you do

22         recall, though, reviewing the cover of the

23         DVD and being frustrated with it independent

24         of the e-mail?

25              (Marked Engelbrecht Exhibit No. 56.)                        15:38:51


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1                    A.       Yes, I remember that.

2          (BY MS. KUCK)

3                    Q.       Okay.    And this is the document

4          I was actually referring to that says:                    "No,

5          we need to add Gregg."                                              15:38:55

6                    A.       Uh-huh.

7                            MS. HYLAND:        Got it.          Thank

8                    you.

9          (BY MS. KUCK)

10                   Q.      And Mr. -- you and Mr. Phillips                   15:38:59

11         were ultimately named as executive producers

12         in the film?

13                   A.       Yes, we were.

14                   Q.       How did that come to be?

15                   A.      I have no idea.                                   15:39:10

16                   Q.       When did you first know you

17         were being named as executive producers?

18                   A.      I believe I saw it for the

19         first time on either -- something -- as I

20         recall, it was some printed material.                               15:39:22

21                   Q.       Okay.

22                   A.      And I don't know if it was

23         maybe this or if it was -- I just -- I don't

24         recall.        I don't even know if it says that in

25         the movie.       I just -- I don't -- it was such                   15:39:34


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1          a shock, I -- we -- I don't know.

2                    Q.   Did you have any objection to

3          that?

4                    A.   At that point because

5          everything was already out and done, it was                    15:39:46

6          just like a -- I mean, what -- what -- you

7          know, it's over.      I mean, we didn't have any

8          control or, you know -- I mean, it was

9          what was I going to say?

10                   Q.   Well, you could have objected                   15:40:05

11         that you didn't want your name on it as

12         executive producer.

13                   A.   Well, I mean, we were trying

14         not to be difficult.       And maybe -- you know,

15         it's possible I did say something.                I'm just     15:40:20

16         not recalling it.      But it was already printed

17         and done, and, you know, we were -- things

18         were very, very busy.

19                   Q.   Okay.    And you also had -- you

20         also asked for the TTV website to be put at                    15:40:31

21         the end of the film, right?

22                   A.   Yes, I did ask for that.

23                   Q.   Okay.    Even after you saw the

24         final cut of the film, you never publicly

25         disavowed the film in any way, did you?                        15:40:43


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1                    A.    I didn't disavow it.             I mean, I

2          think that's just sort of a choice of words.

3                           We were -- you know, we were

4          comfortable representing the work that we had

5          done where it became more moviesque.                 That         15:40:56

6          was -- that was more difficult.

7                          And when -- when there were,

8          you know, documents that weren't used or

9          graphics that weren't, in our opinion, maybe

10         appropriate, you know, we were still asked                        15:41:08

11         about those things.

12                   Q.     Right.

13                   A.     So...

14                   Q.    Because you were the executive

15         producers of the film?                                            15:41:16

16                   A.     Well --

17                         MR. EVANS:        First, is that a

18                   question?    Because if it's a question,

19                   objection; ask and answered.

20                         MS. KUCK:        Okay.                            15:41:25

21         (BY MS. KUCK)

22                   Q.    Am I correct the people would

23         ask you those questions because you are

24         listed as executive producers on the film?

25                         MR. EVANS:        Objection;                      15:41:32


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1                    misstates testimony.

2                            THE WITNESS:       Do I --

3                           MR. EVANS:       You can answer.

4                    A.      Yeah.    I don't -- I don't think

5          that had anything to do with it.                I just            15:41:36

6          think we were -- you know, True the Vote

7          is -- it had been at that point known that we

8          were working on this project and people

9          expected to hear from us.            And we were going

10         to have to hold the line for everything that                      15:41:47

11         was in the movie and some of the things that

12         were in it made it very difficult because it

13         was a movie.

14                          And they had -- I mean, they

15         made a movie, and that's okay.               That's what          15:42:00

16         they do.       And -- you know, and Dinesh was

17         very good about speaking to those things, but

18         that we just -- we had no editorial control.

19         We made suggestions but...

20         (BY MS. KUCK)                                                     15:42:11

21                   Q.     And the movie was marketed as a

22         documentary, right?

23                   A.     I've seen it as a documentary

24         and as a docudrama.

25                   Q.     Let's mark as Plaintiff's                        15:42:20


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1          Deposition Exhibit 57 a document bearing

2          Control No. DDR-00049438.

3               (Marked Engelbrecht Exhibit No. 57.)

4          (BY MS. KUCK)

5                    Q.   And this at the second page of                  15:42:53

6          this document, 439, appears to be a series of

7          text messages.

8                         Do you see that?

9                    A.   Yes.

10                   Q.   And up at the top you have --                   15:43:04

11         and this -- this is dated April 19, 2022?

12                   A.   Yes.

13                   Q.   Did you, around this time, go

14         to Mar-a-Lago and see a prescreening with

15         President Trump?                                               15:43:20

16                   A.   Yes.

17                   Q.   And do you -- do you know

18         whether this is before or after the

19         screening?

20                   A.   This would have been -- this                    15:43:24

21         would have been after.

22                   Q.   Okay.    And then when you say

23         "observations," are those your observations

24         having watched the next cut of the movie with

25         Mr. Trump?                                                     15:43:38


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 1                   A.      Yes.

 2                   Q.     Do you know whether any of your

 3         suggestions were followed?

 4                   A.     I do not know.

 5                   Q.      Then if you go down -- well, it                15:43:53

 6         says on Point 6 you've got -- not in the

 7         first one, but the second one down.

 8                          Do you see that the second

 9         paragraph says "on Point 6"?

10                   A.      Yes.                                           15:44:17

11 ,                 Q.     It says:     "On Point 6 the

12         comment is related to the scene where Dinesh

13         is walking up the steps of SCOTUS.                  There's

14         some good stuff in that section, but there's

15         also the stuff 45 hates about how nothing can                    15:44:28

16         be done.       If we can clip it, it would be

17         great."

18                          Do you see that?

19                   A.      Yes.

20                   Q.      What were you talking about                    15:44:33

21         there?

22                   A.     Oof.    I -- I -- it's been, you

23         know, so long.      I mean, there -- as I vaguely

24         recall, there's a scene where Dinesh walks up

25         the steps to the Supreme Court, and at that                      15:44:51


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1          time, there was just -- it was just so hotly

2          contested because there was hope that the

3          Supreme Court would hear certain legal cases.

4          And I just made the observation I -- you

5          know, just take it for what it's worth kind                    15:45:05

6          of thing.

7                    Q.   You say:     "There's been some

8          good stuff in that section, but there's also

9          the stuff 45 hates about how nothing can be

10         done."                                                         15:45:12

11                        Is 45 a reference to Mr. Trump?

12                   A.   Yes.

13                   Q.   And what were you referring to,

14         "stuff that he hates"?

15                   A.   The only thing I can think of                   15:45:27

16         is that I know broadly -- I mean, it was --

17         it was inappropriate of me to -- to write

18         something that now makes it seem as though I

19         was speaking on his behalf because that

20         certainly wasn't the case.          But I just knew            15:45:41

21         that -- that -- I mean, everybody that was

22         reading the headlines knew that he was

23         frustrated with the Supreme Court.

24                        I -- I mean, I don't even -- I

25         don't even remember.       And I don't know --                 15:45:53


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1          when we talk about "stuff," I don't -- I

2          just -- I don't even recall.

3                    Q.   Did you -- well, he --

4          Mr. Trump was at the April 19 Mar-a-Lago

5          screening, right?                                               15:46:06

6                    A.   Yes.

7                    Q.   And he obviously was at the

8          premier in May?

9                    A.   Yes.

10                   Q.   Other than at those two events,                  15:46:10

11         did you have any direct contact with him or

12         anyone on his staff about the film?

13                   A.   It's possible on his staff

14         about, you know, premier day stuff, but not

15         that I recall.                                                  15:46:26

16                   Q.   You don't recall anything of

17         substance?

18                   A.   No.

19                   Q.   Do you -- and just going down

20         on this e-mail, then, there's -- on April 21,                   15:46:31

21         2022, you have a -- do you see the text or

22         the e-mail -- the text you have to

23         Mr. D'Souza.       It says:    "Please give me a

24         call as soon as possible.          I've just received

25         word that you sent the full movie out to                        15:46:46


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1          people as a fundraiser for you.               I'm hoping

2          that is not the case.          Please call me."

3                    A.       Yes.

4                    Q.      Do you remember that incident?

5                    A.       Yes.                                             15:46:55

6                    Q.      What happened there?

7                    A.      I had someone who in the past

8          had been a donor to True the Vote call me and

9          talk about the movie, which I was -- I

10         just -- I had -- it just blind-sided me.                    And     15:47:06

11         I shared that with -- with Dinesh.

12                   Q.      And how did he respond?

13                   A.      Initially         well, I guess that

14         was Debbie's response.           Well, no, I guess

15         this was Dinesh's response that, you know,                          15:47:23

16         that's insane.       I -- I don't -- I don't

17         remember any specifics other than that he

18         confirmed that he had sent it out to -- to

19         people.        And I just -- and how he selected,

20         you know, the people, I -- I don't know, but                        15:47:44

21         I do know that a donor of True the Vote

22         called me.       I don't know to whom, how

23         extensive.       I just -- I was shocked.

24                   Q.      And so what was your

25         understanding at this point as to when and                          15:47:59


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1          how the movie was supposed to be released?

2                    A.    My understanding was it wasn't

3          going to be released until after the premier,

4          and then it would be shown in theaters or --

5          or sometime in May like, you know, maybe                        15:48:11

6          there was a -- maybe there was a theater

7          showing first.     I'm not sure, but it was

8          not -- it was not here.

9                    Q.    And did you and -- did you and

10         Mr. Phillips get a link to the film prior to                    15:48:30

11         the premier?

12                   A.   I don't -- it's possible.               It's

13         totally possible.      I don't recall.            We

14         were -- we were -- there were many other

15         things happening.                                               15:48:42

16                   Q.    Do you remember watching a full

17         version of it before the premier, or was the

18         first -- well, was the premier the first time

19         you saw it?

20                   A.   I don't recall.                                  15:48:50

21                    (Discussion off the record.)

22         (BY MS. KUCK)

23                   Q.   Let me mark as Plaintiff's

24         Exhibit 58, a one-page document that bears

25         control No. TTV 009850.                                         15:50:08


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1              (Marked Engelbrecht Exhibit No. 58.)

2          (BY MS. KUCK)

3                    Q.   Is this another -- appears to

4          be another True the Vote social media post

5          dated May 21, 2022?                                             15:50:26

6                    A.   Yes.

7                    Q.   And it says:       "Breaking news:

8          The raids have begun."

9                         And then under -- there's a --

10         I assume was a picture or something, but it                     15:50:37

11         says underneath:      "Bombshell report.            Law

12         enforcement raids nonprofits in 2000 Mules

13         ballot trafficking investigation"?

14                   A.   Yes.

15                   Q.   You see that?                                    15:50:47

16                        What does this refer to?

17                   A.   That was in Yuma County,

18         Arizona.

19                   Q.   And what -- what nonprofits

20         were raided?                                                    15:51:02

21                   A.   Oh, gosh.      I think -- I think

22         the name was Comite de Bien Estar.                I could

23         be -- I don't want to -- you know what, I

24         don't want to speculate.         I don't recall.

25                   Q.   And it says:       "The raids --                 15:51:16


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1          raids nonprofits in 2000 Mules ballot

2          trafficking investigation."

3                         Was that NGO a group that you

4          had talked to law enforcement about?

5                    A.   Yes, but I'll also point out                    15:51:32

6          this was not -- I don't believe this is --

7          just the way this was laid out, I think this

8          was an article that was written and -- and

9          who -- the -- whoever posted this posted it,

10         and that was the headline.                                     15:51:44

11                   Q.   The 2000 Mules -- the -- the

12         bombshell report headline or the headline

13         under breaking news?       Which --

14                   A.   I -- just the way it's laid

15         out, I think the "breaking news, the raids                     15:51:58

16         have begun" was -- was from True the Vote.

17                        But then this -- this would

18         have likely been whatever this was above it

19         attached.

20                   Q.   Okay.    Did you -- shortly                     15:52:10

21         before the -- after the viewing at Mar-a-Lago

22         on April 19 and prior to the premier on

23         March -- on May 7, did you -- was there a

24         back-and-forth with Mr. D'Souza about

25         renegotiating the terms of your agreement                      15:52:37


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1          with him?

2                    A.    Yes.

3                    Q.   And that was handled by your --

4          you have -- do you have an agent?

5                    A.   I just have a friend that I                       15:52:44

6          asked her to look at the agreement.                And I

7          was pretty disheartened by that point and

8          exhausted, and I asked her to look at the

9          agreement.     And she did.       And then she

10         offered to sort of intervene, but there was                      15:53:01

11         no contract or pay -- you know, there's

12         nothing like that.

13                   Q.    Okay.    So there wasn't a new

14         agreement?

15                   A.   No.                                               15:53:11

16                   Q.   I'm sorry.

17                         Was there a new agreement with

18         Mr. D'Souza?

19                   A.   No, there were -- there were

20         comments made back and forth that, you know,                     15:53:18

21         my general understanding was that, you know,

22         had we pressed it could have -- those could

23         have been considered binding, I guess, but

24         there was no -- no new document that ever

25         came up.                                                         15:53:32


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1                    Q.   Okay.    And as part of that new

2          negotiation, did you -- am I correct that you

3          were granted a 20 percent profit share in the

4          2000 Mules book?

5                    A.   That is one of the things that                  15:53:48

6          I -- well, I would like to look at the

7          document to be sure.

8                    Q.   Yeah.

9                    A.   But that was -- whether or not

10         it was in that exchange, that was mentioned                    15:53:55

11         at -- at some point, yes.

12                   Q.   Okay.    And at some point was

13         there talk of the expenses of you and

14         Mr. Phillips being paid?

15                   A.   I mean, I -- I know that we                     15:54:07

16         were paid for expenses, but I don't know if

17         that was in that document or not.

18                   Q.   Okay.    So just going --

19                   A.   I would like to also --

20                   Q.   Sure.                                           15:54:24

21                   A.   -- to clarify --

22                   Q.   Yeah.

23                   A.   -- with respect to the book

24         because I know that's been a point of

25         contention.                                                    15:54:29


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1                    Q.   Yeah.

2                    A.   We -- we didn't -- there was no

3          compensation for the book.          There -- when

4          we -- I'm sure we'll talk about the book --

5                    Q.   Uh-huh.                                         15:54:38

6                    A.   -- or possibly --

7                    Q.   Yep.

8                    A.   -- but that didn't happen.

9                    Q.   Okay.    You never received any

10         funds in connection --                                         15:54:44

11                   A.   No.

12                   Q.   -- with the book?

13                        Was there talk at -- early on

14         about you writing a book about 2000 Mules?

15                   A.   No.    There was talk that I                    15:54:54

16         could write a book.

17                   Q.   Yeah.

18                   A.   And I was hopeful about that,

19         but what was ultimately -- it was through

20         Regnery.                                                       15:55:03

21                   Q.   Uh-huh.

22                   A.   And they characterized it as a

23         pamphlet.

24                   Q.   Okay.

25                   A.   And I wasn't really interested                  15:55:07


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1          in that.

2                    Q.   When you say "it," you mean you

3          had written something and they said it would

4          be a pamphlet?

5                    A.   No, it was -- I -- I had this                   15:55:13

6          idea for a book, and I -- the -- one of

7          the -- one of the gentlemen -- I don't know

8          his name -- was in one of those early

9          meetings that -- that --

10                   Q.   Yeah.                                           15:55:26

11                   A.   -- that Dallas meeting.            And I

12         mentioned it, and I was very hopeful that

13         that could come together, but it didn't.

14                   Q.   Okay.    And instead, Mr. D'Souza

15         wrote a book?                                                  15:55:36

16                   A.   I think that was probably

17         always the plan.

18                   Q.   Okay.

19                   A.   I think that's a -- well, I

20         don't want to speculate.         I think -- I think            15:55:42

21         that that's -- I think that was always the

22         plan.

23                   Q•   So just going back to the --

24         the premier of the -- the movie.

25                        It was at Mr. Trump's club                      15:55:53


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1          Mar-a-Lago, right?

2                    A.    Yes.

3                    Q.   About how many people would you

4          say attended?

5                    A.   Full 500 -- I mean, I don't                       15:56:01

6          know how many.     Yesterday it was said 500.              I

7          don't -- I don't know.         It was -- it was a

8          lot of people.

9                    Q.   Okay.     And you spoke at the

10         premier along with Mr. Phillips and                              15:56:13

11         Mr. D'Souza, correct?

12                   A.   It -- we did speak.            We -- it

13         was not planned.       It was just called up on

14         stage to be acknowledged, and so we went.

15                   Q.   Okay.     So let's mark as                        15:56:30

16         TTV 007439.

17                    (Discussion off the record.)

18         (BY MS. KUCK)

19                   Q.   Plaintiff's Exhibit 59,

20         TTV 007439 through 7741.                                         15:57:17

21              (Marked Engelbrecht Exhibit No. 59.)

22         (BY MS. KUCK)

23                   Q.   And do you see on the second

24         page of this document it appears to be an

25         invitation for the premier?                                      15:57:42


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1                    A.       Yes.

2                    Q.      And then do you see at the

3          bottom you were listed -- it's listed as Q&A

4          with Dinesh D'Souza and Catherine Engelbrecht

5          and Gregg Phillips?                                                   15:57:52

6                    A.       Yes.

7                    Q•      Does that refresh your

8          recollection that you were always planned to

9          be part of the program?

10                   A.      It really doesn't.          I'm not                 15:58:00

11         disputing that it was here.             It's not what

12         happened.       But, you know, I guess my -- my

13         recollection is what actually happened.                     I

14         didn't recall that this was put on here like

15         this, but...                                                          15:58:13

16                   Q.      Okay.    Well, what actually

17         happened?

18                   A.      Dinesh went up and spoke.

19         Debbie went up and sang, and Dinesh went up

20         and spoke.       And as this -- as I generally                        15:58:21

21         recall.        And then -- then Dinesh acknowledged

22         us, and we came up on stage and everybody

23         clapped and we said thank you.               And there

24         wasn't a Q&A.

25                   Q.      Okay.    And did Mr. Trump also                     15:58:36


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1          acknowledge you personally?

2                    A.      Likely, yes.

3                    Q.      Yeah.

4                    A.      But I don't -- I can't say that

5          specifically, but he's very gracious in that                      15:58:44

6          way, so...

7                    Q.      Do you remember there was some

8          posts after         some social media posts

9          following the premier reporting that

10         Mr. Trump had encouraged people to do                             15:59:00

11         something at the premier?

12                   A.      I don't -- I don't recall that.

13                    (Discussion off the record.)

14                   A.      I'm not saying it didn't

15         happen.        I'm just saying                                    15:59:11

16         (BY MS. KUCK)

17                   Q.      Yeah.

18                   A.      -- I just don't recall it.

19                   Q.      Let's mark Defendants' -

20         Plaintiff's Exhibit 60.           It's a one-page                 15:59:34

21         document.

22              (Marked Engelbrecht Exhibit No. 60.)

23         (BY MS. KUCK)

24                   Q.      And I don't know what -- it

25         should have the Bates No. TTV 009873 -- oh,                       15:59:44


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1          which it does, very small letters at the

2          bottom.

3                      (Discussion off the record.)

4          (BY MS. KUCK)

5                    Q.    Do you -- this appears to be                      16:00:06

6          another True the Vote social media post?

7                    A.     Yes.

8                    Q.    Do you see that?

9                          Does this refresh your

10         recollection that there was reports that                          16:00:14

11         Trump encourages audience at 2000 Mules

12         premier to do something about voter fraud?

13                   A.    I -- I have absolutely no

14         recollection of him saying that.               I'm not

15         disputing that he did.          I just don't remember             16:00:25

16         it or any context around it.

17                   Q.    Okay.

18                         MR. EVANS:       All right.         I got

19                   to do a restroom break.

20                         MS. KUCK:       Yep.                              16:00:35

21                         MR. EVANS:       I only need five

22                   minutes.

23                         MS. KUCK:       Fine.

24                          THE VIDEOGRAPHER:          Off the

25                   record at 4:01.                                         16:00:40


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1               (Break from 4:01 p.m. to 4:12 p.m.)

2                           THE VIDEOGRAPHER:          Back on the

3                    record at 4:12.

4          (BY MS. KUCK)

5                    Q.    So we just talked about the                      16:10:55

6          the premier of the movie at Mar-a-Lago,

7          right?

8                    A.     Yes.

9                    Q.    Mr. Trump was consulted

10         throughout the process of making the film; is                    16:11:02

11         that correct?

12                   A.    Not to the best of my --

13         possibly.      I -- I don't know.         I had -- I --

14         not by me.

15                   Q.     Well, you were aware that he                    16:11:13

16         was -- strike that.

17                          You were aware that there was

18         coordination with him about when certain

19         things would be released; is that fair?

20                   A.    I -- I -- you know, you may be                   16:11:26

21         showing something that's going to make me

22         remember, but I -- I don't recall that.

23                   Q•     Okay.    So let's mark as

24         Defendants' -- as Plaintiff's Deposition

25         Exhibit 61 a two-page document bearing                           16:11:45


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1          control Nos. DDR-0004944 through 45.

2               (Marked Engelbrecht Exhibit No. 61.)

3                          MS. HYLAND:       Can we get our

4                    copies?

5                          MS. KUCK:      Oh, sorry.                       16:12:05

6                          MS. HYLAND:       Thank you.

7          (BY MS. KUCK)

8                    Q.    So this, again, appears to be a

9          text exchange involving you, Mr. Phillips,

10         and Debbie D'Souza.                                             16:12:24

11                         Do you see that?

12                   A.    Yes.

13                   Q.    And this is in April of 2022?

14                   A.    Yes.

15                   Q.    How often were you texting back                 16:12:30

16         and forth with Debbie at this point?

17                   A.    I mean, as the -- as the

18         situation, you know, arose.           In my -- in my

19         recollection, it was very little but...

20                   Q.    Okay.    So if you go on the                    16:12:47

21         right -- one, two, three, four -- four

22         entries down, it looks like there's a text

23         from you that says:       "Can we get a copy of

24         the marketing plan?       We're hearing from a

25         variety of outlets/people (GA" J -- "GOP,                       16:13:08


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1          Breitbart, et cetera) wondering why they're

2          not hearing anything.

3                           We'd like to understand what

4          the plan is."

5                           Do you see that?                                16:13:21

6                    A.     Yes.

7                    Q.     Do you remember asking about

8          the marketing plan?

9                    A.     I don't.     I do remember being

10         contacted by -- you know, not specifically by                    16:13:27

11         these individuals, but I do remember

12         generally being contacted by people saying

13         what's -- you know, what's going on and

14         presuming that, you know, I would know which.

15         Of course I didn't, so...                                        16:13:39

16                   Q.     Okay.    So then Ms. D'Souza

17         responds:      "One, website goes up on Monday.

18         Two, we don't want to send out any screeners

19         until Trump sees it for obvious reasons.

20         Three, trailer is ready to go next week.                         16:13:55

21         That's our main marking tool.             Four, Patricia

22         is ready to go with publicity, but she's

23         awaiting the three items above."

24                          Do you see that?

25                   A.     Yes.                                            16:14:07


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1                    Q.     Does that refresh your

2          recollection that there was coordination with

3          Mr. Trump before things were released?

4                    A.     I mean, they -- you know,

5          that's a comment he made.          I -- I don't know.               16:14:15

6          I don't know -- I would hate to speculate or

7          I don't want to speculate about what it was

8          related to.

9                            The -- and I don't even know

10         when he says "for obvious reasons."                The only         16:14:27

11         thing I can -- you know, I guess it hadn't

12         I don't know the timing of this versus the --

13         the time at Mar-a-Lago, but we had no

14         connection.      I had no connection.

15                   Q.     Did you have any understanding                     16:14:42

16         that the D'Souzas were coordinating with

17         Mr. Trump?

18                   A.     Not specifically.         I know that

19         there was a lot of coordination that went

20         into the D'Souza of Salem hosting of -- of                          16:14:52

21         the event.      And so, you know, towards those

22         ends there was a lot of back-and-forth.                   I

23         imagine.       I don't know, but I -- I would

24         assume.

25                   Q.     And there's -- the reference in                    16:15:05


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1          the entry I just read has a reference to

2 I        Patricia.

3                         Do you understand who that is?

4                    A.   Yes.

5                    Q.   Who's that?                                         16:15:16

6                    A.   That was the person that Dinesh

7          hired to do the PR for the movie.

8                    Q.   Okay.    And did you work with

9          her at all?

10                   A.   Best of my recall, I talked to                      16:15:27

11         her on the phone once, and -- and then there

12         were a few things that she -- media

13         opportunities that she set up or suggested, I

14         guess.

15                   Q.   When you say "media                                 16:15:44

16         opportunities," you mean for              for you

17         and/or Mr. Phillips?

18                   A.   Yes.

19                   Q.   Okay.    In addition to the

20         premier of the full-length movie, Mr. Trump                        16:15:56

21         also released the trailer at a rally.

22                        Was that correct?

23                   A.   I wouldn't -- yeah.           I mean, a

24         trailer was released at the rally, yes.                  A

25         rally.                                                             16:16:11


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1                    Q.    Right.     And that was the --

2          that was the release for the first time of

3          the trailer?

4                    A.    Yeah.     To the best of my

5          knowledge, yes.                                                  16:16:16

6                    Q.    Okay.     So let's mark as -- as

7          Plaintiff's Deposition Exhibit 62 TTV 007432

8          through TTV_007434.

9               (Marked Engelbrecht Exhibit No. 62.)

10         (BY MS. KUCK)                                                    16:16:37

11                   Q.    And that seems to be a -- an

12         e-mail from Mr. Hughes on which you were

13         copied.

14                         MS. HYLAND:        We still need our

15                   copies.                                                16:16:47

16                         MS. KUCK:       Oh.

17                    (Discussion off the record.)

18         (BY MS. KUCK)

19                   Q.    So this is an e-mail dated

20         April 23, 2022, from Mr. Hughes to a number                      16:17:05

21         of people and you're copied.

22                         Do you see that?

23                   A.    Yes.

24                   Q.    Some of these people we've --

25         you know who it's addressed to, we've talked                     16:17:14


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1          about before, but are they all members of the

2          TTV team?

3                    A.       No, only Chelsea Magee who was

4          a contractor and worked directly with True

5          the Vote.        The others were marketing types                   16:17:26

6          and just -- just with different firms.

7                    Q.       Okay.    And it starts with

8          saying:        "All, after Trump speaks on TTV and

9          2000 Mules at tonight's rally, Catherine will

10         be sending this e-mail out with a link to the                      16:17:44

11         new trailer."

12                            Do you see that?

13                   A.       Yes.

14                   Q.       Does that refresh your

15         recollection that you were coordinating with                       16:17:48

16         the Trump team on the release of items

17         relating to the film?

18                   A.       It doesn't.       It's likely a

19         function of time.          I just don't recall any

20         coordination like that or maybe I was told.                        16:18:01

21         I don't know.

22                   Q.       You don't have any

23         recollection?

24                   A.       I do not.

25                            MS. KUCK:      Do we have 9763 TTV?             16:18:30


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1          (BY MS. KUCK)

2                    Q.   I'm going to mark as Exhibit 63

3          TTV 9763.

4               (Marked Engelbrecht Exhibit No. 63.)

5          (BY MS. KUCK)                                                  16:19:12

6                    Q.   Which appears to be a set of

7          text messages between -- between you and

8          Mrs. D'Souza.

9                         Do you see that?

10                   A.   Yes.                                            16:19:23

11                   Q.   And then partway down, it says:

12         "POTUS reached out and wants to send out a

13         statement this morning.        It will include

14         links to Rumble and to the 2000 Mules site.

15         Get ready."                                                    16:19:42

16                        Do you see that?

17                   A.   Yes.

18                   Q.   And then below, it says:            "Yes

19         to both, and we already know about POTUS.

20         Liz Harrington called Dinesh last night."                      16:19:57

21                        Do you see that?

22                   A.   Yes.

23                   Q.   So what's the reference to

24         POTUS reaching out?

25                   A.   I -- I don't recall this.                       16:20:04


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1                    Q.   Okay.

2                    A.   It is -- it is possible that

3          Liz Harrington who represents the president

4          in a lot of things, you know, sent me a

5          message or something like that.            Clearly,            16:20:21

6          they had already called Dinesh so...

7                    Q•   So it's possible she -- she --

8                    A.   I did not speak to the

9          president about this.       I can tell you that.

10                   Q•   And I assume even though this                   16:20:33

11         is January 31, 2022, the POTUS referred to is

12         Mr. Trump, right?

13                   A.   Yes.

14                   Q.   And so your recollection, it

15         may be that someone on his staff reached out                   16:20:44

16         to you?

17                   A.   Yes.    Or I mean it could have

18         been -- it must have been something like

19         that, yes.

20                   Q.   Okay.    And Mr. Trump did, in                  16:20:54

21         fact, issue several statements relating to

22         the 2000 Mules, correct?

23                   A.   I -- I don't -- I mean, I don't

24         have any reason to believe not to -- not --

25         he did not, but I -- I don't know                              16:21:19


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1          specifically.

2                    Q.    Let's mark as Plaintiff

3          Deposition Exhibit DDR-00054972.

4                     (Discussion off the record.)

5               (Marked Engelbrecht Exhibit No. 64.)                      16:21:54

6          (BY MS. KUCK)

7                    Q.    And this, again, seems to be a

8          chat with you, Ms. -- Mrs. D'Souza, and

9          Mr. D'Souza.

10                         Do you see that?                               16:22:10

11                   A.    Yes.

12                   Q.    And then there's the first line

13         in the chat on the next page is from you.

14                         Do you see that?

15                   A.    Yes.                                           16:22:19

16                   Q.   It says:     "This is going out in

17         ten minutes"?

18                   A.    Yes.

19                   Q.    And that seems to be a

20         statement from Mr. Trump?                                      16:22:23

21                   A.   Or just a statement from his --

22         from the Save America group.

23                   Q.   Below it, it says "statement of

24         Donald -- by Donald J. Trump"?

25                   A.   Oh, okay.      Then yes.                        16:22:35


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1                    Q.       Okay.    Does this refresh your

2          recollection at all that you were in contact

3          with at least someone from his

4          representatives about statements he was

5          making about the film?                                              16:22:45

6                    A.       I was trying to look at the

7          date between this and this.              It really

8          doesn't.        It -- it -- I just have no -- I

9          just -- I can't -- I have no personal -- oh,

10         gosh, I have no personal recollection of                            16:23:02

11         this.

12                   Q.       Okay.

13                        (Discussion off the record.)

14         (BY MS. KUCK)

15                   Q.       Do you know who Jay Sekulow is?                  16:23:24

16                   A.        Yes.

17                   Q•       Okay.    And who is he?

18                   A.       He is an attorney, sort of in

19         the political realm, and has his own firm.                    I

20         don't know the name of it.                                          16:23:39

21                   Q.       And he has represented

22         Mr. Trump?

23                   A.        That's -- I -- I don't have

24         personal knowledge of that, but I -- he's in

25         that circle.                                                        16:23:47


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1                    Q.   Was he somebody that you spoke

2          with from time to time?

3                    A.   No.     There was a time -- I'm

4          trying to recall the -- the specifics around

5          it, but it had to do with drop boxes.               I do        16:24:17

6          recall that.       And -- and I don't recall

7          how -- yeah.       I don't -- I don't -- that's --

8          I do recall having an exchange of

9          conversation.      I don't want to speculate any

10         more than that.                                                 16:24:36

11                   Q.   Do you remember speaking to him

12         about the 2000 Mules filming?

13                   A.   That's -- it's -- not

14         specifically, no.       I think -- no, I mean,

15         I -- that's not a -- that's not a common                        16:24:46

16         person I speak with by any stretch.

17                   Q.   Okay.     So let's mark as

18         Plaintiff's Deposition Exhibit 65 TTV 9761.

19              (Marked Engelbrecht Exhibit No. 65.)

20         (BY MS. KUCK)                                                   16:25:20

21                   Q.   Again, it seems to be text

22         messages back and forth between you and

23         Mrs. D'Souza.

24                        Do you see that?

25                   A.   Yes.                                             16:25:26


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1                    Q.    And then the first one says:

2          "Good morning.     A couple of things.            Gregg

3          and I are supposed to meet with Mike Vess in

4          Dallas this morning.       Gregg flew to Dallas.

5          I was going to drive up last night, but                         16:25:35

6          turned around because my dad was taken to the

7          ER, and so I'm at Memorial Hospital in Katy

8          with him.      Gregg will still meet with him.

9          Just wanted to let you know."

10                         And then you say:         "Also,                16:25:49

11         Jay S. called me late yesterday.             He said

12         this shoot was being postponed.            Is that

13         accurate?"

14                         Do you see that?

15                   A.    Yes.                                            16:25:56

16                   Q.    What's that referring to?

17                   A.    As I mentioned earlier, I

18         recall that we had a conversation, and I do

19         not remember the genesis of it, but I do

20         recall that it was about the work that we                       16:26:10

21         were doing.

22                         And in the course of that

23         conversation, it was -- he made some comment

24         about the -- the -- the California -- going

25         to California, that that had been postponed.                    16:26:24


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1          And I didn't -- I didn't even know like where

2          that would come from.           I -- what's going on?

3          And that was it.

4                    Q.      Were you surprised he would

5          know about those details?                                          16:26:38

6                    A.      Yeah.     I had no -- yes.

7                    Q.      And then Mrs. D'Souza responds

8          to you:        "Wow.    Where in the world did Jay

9          Sekulow get the idea that we weren't filming?

10         That's absolutely false.             In fact, everything           16:26:58

11         is set to go.          They need you and Gregg at the

12         studio tomorrow at 8:30 a.m.               He got the

13         message messed up.          He wasn't even on the

14         call.     We just said we weren't releasing the

15         teaser yet.        That's all we said.           It did come       16:27:10

16         up, though, that they thought you were

17         apprehensive about this, but based on our

18         conversation, we just said the timing."

19                           Do you know what she's

20         referring to there?                                                16:27:20

21                   A.      I -- I have -- I don't know.

22         And I don't -- it doesn't even look like I

23         acknowledged it in my response.                I -- I

24         don't -- I don't -- I mean, there -- there

25         were a lot of calls, you know, I would                             16:27:37


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1          imagine, between Dinesh and -- and -- or

2          the -- Dinesh or D'Souza productions and

3          Salem that we were not a party to, again, as

4          I have said, you know, throughout.

5                           We had -- we were not involved                  16:27:50

6          in the production of this in all of the

7          moviemaking things that go in.              That's not a

8          negative.      It's just that that's not what we

9          did.      We -- so I don't -- when he says "the

10         call" or the -- you know, "the teaser," I                        16:28:05

11         don't even know what those things -- she's

12         referring to.

13                   Q.     Okay.

14                    (Discussion off the record.)

15         (BY MS. KUCK)                                                    16:28:20

16                   Q.    Do you -- we talked earlier

17         about there was a law enforcement interview

18         that was included in the film, and you had

19         some reservations about that.

20                         Do you remember?                                 16:28:30

21                   A.    I'm sorry.       Could you repeat?

22                   Q.     Yeah.

23                   A.    I was caught up in this still,

24         trying to look at it.

25                   Q.     The -- we talked earlier,                       16:28:35


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1          you -- you mentioned an interview of a

2          Georgia law enforcement officer that was in

3          the film, and you had some concerns about

4          that?

5                    A.   Yes.                                            16:28:45

6                    Q.   And you said Heather Mullins

7          was involved in that?

8                    A.   Yes.

9                    Q.   Did -- how did that --

10                        MS. KUCK:      Do you have some --              16:28:56

11         (BY MS. KUCK)

12                   Q.   How did that come to pass that

13         that -- you -- that you became aware of that

14         interview?

15                   A.   Heather was -- as I mentioned                   16:29:02

16         earlier, it's a very small community of

17         people that were, you know, trying to piece

18         together, you know, disjointed pieces of

19         documents and content and whatnot, and

20         Heather was involved in that in Georgia.                       16:29:22

21                        And I don't recall if she

22         reached out to myself or Gregg, but one of

23         us, and said that she had had someone come

24         forward to her, actually several people,

25         describing a project that they worked on that                  16:29:36


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1          they were, you know, troubled by, and

2          that's -- that's what that was.

3                    Q.   Okay.    And did you have

4          conversations with Mr. Trump's attorneys

5          about that interview?                                          16:29:50

6                    A.   I -- I don't recall.           I mean, I

7          assume you're going to show me something, but

8          I don't recall that.

9                    Q.   Okay.    Let me show you what

10         I've marked as Plaintiff Deposition                            16:30:03

11         Exhibit 66 TTV 007299.

12              (Marked Engelbrecht Exhibit No. 66.)

13         (BY MS. KUCK)

14                   Q.   And this appears to be an

15         e-mail to Mr. D'Souza from you dated                           16:30:37

16         March 15, 2022.

17                        Do you see that?

18                   A.   Yes.

19                   Q.   And reviewing this, does

20         this -- does this appear to be about that law                  16:30:52

21         enforcement interview?

22                   A.   Yes.

23                   Q.   Okay.    And you say in the

24         second paragraph:      "Further, I've read in

25         45's attorneys about this.          They have                  16:31:00


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1          additional ways they would like to use this

2          information to draw attention to the swamp."

3                         Do you see that?

4                    A.   Yes.

5                    Q.   Does that refresh your                          16:31:06

6          recollection that you were in contact with

7          Mr. Trump's attorneys in connection with this

8          video?

9                    A.   It -- it really doesn't, but

10         there are -- there are people that have                        16:31:16

11         represented President Trump that, you know,

12         I -- I do speak to more routinely.                So that

13         would have been that probably.

14                   Q.   So you think you may have

15         mentioned it to those attorneys?                               16:31:31

16                   A.   Likely, yeah.        I mean, if I

17         said I did, I did.

18                   Q.   Okay.

19                   A.   I would like to also just --

20         just for the record point out --                               16:31:47

21                   Q.   Sure.

22                   A.   -- that this is something we

23         did and had no clue if it was going to go

24         into the movie or not, but, you know, we did

25         this independent and then gave it to -- to                     16:31:56


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1          Dinesh.        But just we thought it was an

2          important element.

3                    Q.       You were encouraging

4          Mr. D'Souza to use it in the movie?

5                    A.       I -- I just said we have this,                  16:32:04

6          you know.        It was --     just wanted to let him

7          know.

8                    Q.       Okay.    And he ultimately did

9          use it in the movie?

10                   A.       He did use it.                                  16:32:13

11                     (Discussion off the record.)

12         (BY MS. KUCK)

13                   Q.       And you were also at this point

14         in time coordinating -- well, no, strike

15         that.                                                              16:32:41

16                            You -- you were also concerned

17         at this point in time about getting the film

18         released to help Mr. Perdue's campaign in

19         Georgia in which he was trying to beat

20         Mr. Kemp; is that accurate?                                        16:32:55

21                   A.       I don't remember that

22         specifically, but, again, let's see what you

23         got.      I just don't remember it.

24                   Q.       Okay.

25                   A.       These were -- you know,                         16:33:10


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1          these -- these conversations were one of, you

2          know, hundreds I would have in any given day,

3          so...

4                    Q.   Although when we -- when we

5          spoke earlier this morning, your -- when I                      16:33:24

6          asked you whether you ever coordinated your

7          work to influence anyone's political

8          campaign, you told me no.

9                    A.   Uh-huh.

10                   Q.   Is that true?                                    16:33:39

11                   A.   Yes.

12                   Q.   Okay.     And let's mark as --

13                   A.   Well, and let me make a -- let

14         me make a distinguishing characteristic here.

15         I think it's important                                          16:33:53

16                   Q.   Okay.

17                   A.   -- that True the Vote as a

18         501(c)(3) cannot coordinate.

19                   Q.   Right.

20                   A.   Myself in my personal capacity                   16:34:00

21         as a, you know, free American can talk about

22         politics and -- and can, you know, talk to

23         politicians, so there's that line.

24                   Q.   And how do you draw that line

25         when you're thinking about, for example, you                    16:34:13


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1          know, True the Vote working on this film?

2                    A.   Uh-huh.     I don't -- I mean,

3          I'll be interested to see what we have here.

4          I don't know that I recall -- well, excuse

5          me, let me say it differently.                                   16:34:25

6                         I don't recall.         But I don't --

7          I don't -- yeah.      I don't remember it being

8          anything that I would have thought would have

9          been a conflict.

10                   Q.   Okay.                                             16:34:34

11                        Okay.    So let's mark as

12         Exhibit 67 a document bearing control

13         No. DDR-00049474.

14              (Marked Engelbrecht Exhibit No. 67.)

15         (BY MS. KUCK)                                                    16:35:21

16                   Q.   And this seems to be another

17         text exchange involving you, Mrs. D'Souza,

18         and Mr. Phillips.

19                        Do you see that?

20                   A.   Yeah.                                             16:35:28

21                   Q.   And then the last complete

22         bullet that's there, it's dated March 6.                 And

23         it says under your name:         "What is the

24         release date for the movie?          I thought it was

25         April 21, but the last time we spoke you                         16:35:39


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1          mentioned that the release is in early May.

2          This is critical for many reasons, not the

3          least of which is Georgia.           David Perdue is

4          running for governor against Kemp.                 Perdue

5          needs our evidence out there in order for his                      16:35:54

6          campaign to have a chance.           The primary is

7          May 24, but early voting starts sooner.                   They

8          were counting on an April release."

9                          Do you see that?

10                   A.     Yes.                                              16:36:04

11                   Q.    Does that refresh your

12         recollection that you were concerned about

13         the -- the impact that the -- the film could

14         have on certain political races?

15                   A.    It -- it -- it really                              16:36:15

16         doesn't -- I mean, specifically, clearly,

17         this is -- you know, I'm not disputing the

18         document.      I don't recall it.

19                         I will say that when the --

20         because the whole geospatial project started                       16:36:29

21         in Georgia, one of the first individuals that

22         Gregg Phillips presented -- or the

23         information to was David Perdue.

24                         And, you know, I think it was

25         just a look back at that because we had not                        16:36:48


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1          gone public with anything.          And it was, you

2          know, the hope that that would come to light.

3                    Q.   Okay.    Let's look at document

4          previously marked as Exhibit 11.

5                    A.   I'm sorry, you told me.                         16:37:20

6                    Q.   11.

7                    A.   11.

8                    Q.   Yep.

9                    A.   I'm sitting here.          Okay.

10                   Q.   You have to do your own work on                 16:37:24

11         this one.

12                   A.   Okay.

13                   Q.   So this was a whole series of

14         text messages, and this is the way that it

15         was -- it was produced by Mr. D'Souza.                         16:37:41

16                   A.   Okay.

17                   Q•   So if you go to the page on the

18         bottom partway through that's marked

19         DD 000098.

20                        Do you see that?                                16:37:50

21                   A.   Yes.

22                   Q.   And then midway down there's

23         a -- a long paragraph.

24                        Do you see that under your

25         name?                                                          16:38:05


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1                            MS. HYLAND:       What page are you

2                    on?

3                    A.       Yes.

4                            MS. KUCK:      98.

5                            MS. HYLAND:       Oh.                           16:38:12

6          (BY MS. KUCK)

7                    Q.      And you say:       "One more

8          request.        I would like to talk about what we

9          can give to Perdue to start using now.                  There

10         was a massive coverup against us and the                          16:38:25

11         fraud.     We have all manner of dates and info.

12         I don't know how much of this is in the film

13         but, guys, Kemp did everything he could to

14         hurt us."

15                            I'm sorry, it's hard to read.                  16:38:42

16                           It does go on, but -- but what

17         I'm most interested in is the -- the part

18         where you say can we -- "What can we give to

19         Perdue."

20                           Do you see that?                                16:38:54

21                   A.       Uh-huh, yes.

22                   Q.      Does that refresh your

23         recollection at all that you were providing

24         information relating to the film to help

25         Mr. Perdue with his campaign?                                     16:39:02


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 1                   A.   It really doesn't.           I've

 2         never -- I've never -- I mean, I'm not

 3         disputing the document.

 4                   Q.   Right.

 5                   A.   But my frustration with                              16:39:11

 6         Governor Kemp, my personal frustration --

 7                   Q.   Uh-huh.

 8                   A.   -- in what had happened when we

 9         first presented it back in early 2021 would

10         have been enough for me to feel that anything                       16:39:24

11 ,       that we can do to get the truth out was going

12         to be good for the whole of the -- for the

13         whole of the state.

14                        And it -- you know, I

15         characterized it in that way, but I -- I -- I                       16:39:36

16         just don't remember it other than that.                   I

17         really don't.

18                   Q.   Okay.     Do you -- we can put

19         that away when you're done.

20                   A.   Sorry, just --                                       16:40:24

21                   Q.   It's okay.

22                   A.   A lot was going on.

23                   Q.   Do you know of someone named

24         Deroy Murdock?

25                   A.   Yes, he's a journalist.                              16:40:34


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1                    Q.   Okay.    And do you recall having

2          a lot -- well, strike that.

3                         Do you recall having

4          back-and-forth with him over the film?

5                    A.   I do.    I don't remember                       16:40:43

6          specifics, but I do remember some

7          back-and-forth.

8                    Q.   Do you recall that he -- he

9          produced a number of articles concerning the

10         film?                                                          16:40:52

11                   A.   It doesn't shock me.           I don't

12         think that I ever saw or, you know, read any

13         of them, but that doesn't surprise me.

14                   Q.   Okay.    So you don't remember

15         any discussion about whether any of his                        16:41:01

16         articles were accurate or not about the film?

17         Does that ring any bells?

18                   A.   No, it really doesn't.

19                        There was a lot going on.             A

20         lot more than just this.                                       16:41:16

21                   Q.   Okay.

22                    (Discussion off the record.)

23         (BY MS. KUCK)

24                   Q.   Plaintiff's Deposition Exhibit

25         No. 71...                                                      16:41:49


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1                     (Discussion off the record.)

2          (BY MS. KUCK)

3                    Q.     We're going to mark Plaintiff's

4          Deposition Exhibit 68 TTV_0007803 through 08.

5          And this seems to be a series of e-mails                         16:42:33

6          between you and Mr. Murdock.

7                          Do you see that?

8                    A.     Yes.

9              (Marked Engelbrecht Exhibit No. 68.)

10         (BY MS. KUCK)                                                    16:42:40

11                   Q.    Does this refresh your

12         recollection at all that you were -- had some

13         back-and-forth with him about the film?

14                   A.    I knew I had had some, yes.

15                   Q.     Okay.    And he on the front page               16:42:45

16         says -- he says:        "I should have added this

17         in green.      Cell phone geotracking data show

18         five pro-Biden ballot harvesting groups

19         (circled) and 28 ballot drop boxes (orange

20         dots) that one mule visited in the Atlanta                       16:43:06

21         area on the evening of [insert date]."

22                         And then he says:           "How does

23         this look?"

24                   A.     Uh-huh.

25                   Q.    And you say:        "We are doggedly             16:43:15


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1          steering clear of allegations re all the

2          ballots being pro-Biden, but there's nothing

3          to stop you from saying it."

4                         Correct?

5                    A.   Yes.                                            16:43:26

6                    Q.   Do you have any reason to

7          believe you didn't say that to him?

8                    A.   No.

9                    Q.   So --

10                   A.    Just to -- just to clarify for                 16:43:34

11         a second here.

12                   Q.   Sure.

13                   A.   Deroy Murdock I consider to be

14         one of the elders of the journalism world,

15         and I would not -- he has -- he has sent me                    16:43:43

16         many e-mails.      I say "many."       That's not

17         true, but he's sent me e-mails occasionally,

18         and he just has a view of things.

19                        And so I -- I just -- you know,

20         the things that -- the things I needed to                      16:43:57

21         clear up, I cleared up but also didn't -- I

22         was sort of being        in my opinion I was

23         being deferential to what he had already

24         written.

25                   Q.   Okay.    So once the -- once the                16:44:07


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1          film, the complete version of the film was

2          released at Mar-a-Lago --

3                    A.   Yes.

4                    Q.   -- you did multiple interviews

5          and appearances -- well, strike that.                          16:44:17

6                         Even before it came out, you

7          did a number of interviews and appearances in

8          anticipation of it being released, right?

9                    A.   I did a few, not -- not many.

10                   Q.   Okay.    You were on The Charlie                16:44:27

11         Kirk Show, which we talked about yesterday

12         and we'll talk about in a minute.

13                   A.   Okay.

14                   Q.   Do you remember doing talk

15         radio in Baltimore?                                            16:44:39

16                   A.   (Shaking head.)

17                   Q.   No.

18                        America Inc. interview?

19                   A.   I don't.

20                   Q.   You spoke to reporters?            Did          16:44:45

21         you speak to reporters?

22                   A.   Prior to the movie?

23                   Q.   Yeah.

24                   A.   I mean, it -- it's possible

25         that reporters called about it, but I -- I                     16:45:01


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1          just -- I don't -- I don't remember.

2                    Q•       Okay.    You spoke to -- to

3          reporters at The New York Times.

4                             Do you remember that, Danny

5          Hakim?                                                               16:45:20

6                    A.       I don't remember that.              It's

7          entirely possible that they called or wrote.

8          That's not uncommon.

9                    Q.       Okay.    Do you remember talking

10         to the reporters at The Wall Street Journal?                         16:45:30

11                   A.        Yes, we had talked with The

12         Wall Street Journal back starting in 2021,

13         so -- but this is a -- just to be clear, you

14         know, the press contacts us often.                    It was

15         not necessarily about the movie.                 It could            16:45:44

16         have been, but that's not an uncommon thing.

17                   Q.       And you don't have specific

18         recollection about talking to them about the

19         movie?

20                   A.       Not really.                                       16:45:53

21                        (Discussion off the record.)

22         (BY MS. KUCK)

23                   Q.       Let me show you a document that

24         is marked -- I'm going to mark as exhibit --

25         Plaintiff's Deposition Exhibit 69, a document                        16:46:33


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1          that bears the control Nos. TTV 0926.

2                (Marked Engelbrecht Exhibit No. 69.)

3          (BY MS. KUCK)

4                    Q.   That appear to be another

5          social media post for True the Vote?                           16:46:51

6                    A.   Yes.

7                    Q.   And it says:       "Here's the

8          poster for our new movie 2000 Mules which is

9          out the first week in May."

10                        Do you see that?                                16:46:59

11                   A.   Yes.

12                   Q.   And you referred to it as "our

13         new movie," right?

14                   A.   Yes.

15                   Q.   You're not saying it's -- it                    16:47:03

16         doesn't say it's Mr. D'Souza's movie.

17                        It's our movie?

18                   A.   Yeah.    That's what was written.

19                   Q.   And that's coming from True the

20         Vote?                                                          16:47:10

21                   A.   Yes.

22                   Q.   Do you recall taking any issue

23         with this post?

24                   A.   You know, I -- I don't recall

25         taking issue.      I -- as you've heard                        16:47:20


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1          throughout my testimony, my personal tendency

2          is to use the word "our" a lot.

3                          You know, I -- I also try to be

4          a team player.     I wanted it to, you know,

5          feel the -- despite having no editorial                        16:47:36

6          control and no script control and down the

7          line, I, you know...

8                    Q.    You wanted it to be seen as a

9          joint project with Mr. D'Souza?

10                   A.   I -- I just -- I wanted our                     16:47:50

11         work to be recognized, and I -- that was it.

12         I just -- I just wanted our work that we had

13         put blood, you know, time, talent, treasure

14         into.     And, you know, there were a lot of

15         things that were outside of that scope, but                    16:48:05

16         it was the biggest thing we had ever done to

17         that point and...

18                   Q.   When you say "it was the

19         biggest thing," what do you --

20                   A.    That geospatial project.                       16:48:14

21                   Q.   Okay.

22                   A.   And there was a lot of

23         heartache that went along with it along the

24         way a lot, so...

25                    (Discussion off the record.)                        16:48:29


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1          (BY MS. KUCK)

2                    Q.    Can you just take a quick look

3          at Exhibit 22?

4                     (Discussion off the record.)

5                    A.   Okay.                                            16:48:41

6          (BY MS. KUCK)

7                    Q.    This is a document that we

8          marked yesterday as Exhibit 22.             And there's

9          two entries from Mr. Phillips up at the top.

10                        It says:      "Our biggest issue                 16:48:57

11         right now is money.       True the Vote is

12         teetering on the edge.         Don't be shocked if

13         we have to close our doors in a few months.

14         Sad, but true."

15                        Do you see that?                                 16:49:07

16                   A.    Yes.

17                   Q.   And was that the -- was that

18         the case as of May of 2022?

19                   A.    Yeah.    I mean, if he wrote it,

20         that was -- that's something that I would                       16:49:14

21         have shared with him then.

22                   Q.   Okay.     And then he says:

23         "We're going to keep Catherine in front of

24         the media as long as we can.            I think it's

25         important to consolidate the number of people                   16:49:29


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1          speaking."

2                            And then he goes on and says

3          later in the text:          "CE and Dinesh are

4          killing the message right now.                Secretly

5          happy that fewer hosts tonight."                                     16:49:42

6                            And then there's a response

7          about the Salem house.

8                            And then he says:           "Right.        You

9          two need to continue this media blitz doing

10         as many shows as you can bringing consistency                        16:49:52

11         and power that no others can recreate."

12                           Do you see that?

13                   A.       Yes.

14                   Q.      And was -- that's referring to

15         the -- to the promotional activities that you                        16:50:02

16         were doing, right?          In connection with the

17         release of the film?

18                   A.      It -- it was -- I mean, that --

19         yes, that was the -- I'm not sure how to even

20         answer.        Maybe that's just enough.                             16:50:23

21                            Can you ask it again?              I'm

22         sorry.

23                   Q•       Yeah.

24                           And that -- strike that.

25                           Do you understand Mr. Phillips                     16:50:30


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1          there to be referring to the promotional

2          activities that you were doing in connection

3          with the release of the film?

4                    A.       He was talking about speaking

5          to the media.       Dinesh had hired the -- the --                 16:50:43

6                    Q.      Patricia Jackson?

7                    A.       Thank you.

8                            To do that.        And there, you

9          know, a handful of things that she sent my

10         way.      And, again, we're just trying to be                      16:51:01

11         positive.

12                   Q.      About the movie?

13                   A.       Yeah.    Or just about -- just

14         about every -- you know --

15                   Q.       Okay.                                           16:51:13

16                   A.       -- everything, just trying

17         to...

18                   Q.      And you were -- so you did a

19         number of -- of interviews promoting the

20         film, right?                                                       16:51:22

21                   A.      I -- yes, I mean, I -- we -- I

22         did interviews.       I -- what we say is a

23         number.        I don't -- not -- you know, not a

24         ton, but some.

25                   Q.       Okay.    And at some point, you                 16:51:36


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1          were on the Tucker Carlson show, right?

2                    A.     Yes.

3                    Q.     How did that come to be?

4                    A.     Somebody would have reached out

5          and asked me to be on or maybe it went -- at                     16:51:53

6          that point, maybe it went through one of the

7          PR firms -- not through Patricia, but that's

8          how -- I mean, they were interested in people

9          talking about the election, so...

10                   Q.    And do you recall that you --                    16:52:15

11         that you actually didn't mention the film

12         itself during that interview?

13                   A.    Uh-huh.

14                   Q•     Were you told by anyone not to

15         mention the film?                                                16:52:32

16                   A.    I -- I don't -- I don't

17         specifically recall any longer.              I do know

18         that there was -- well, I'll just leave it at

19         that.      I don't specifically recall any longer

20         because I couldn't tell you who said what to                     16:52:50

21         whom.

22                   Q     Right.     Okay.

23                         Do you recall, though, there

24         was some dispute between Mr. D'Souza and Fox

25         News over the film?                                              16:52:59


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1                    A.     Yes.

2                    Q.    What do you remember about

3          that?

4                    A.    That -- well, specifically I

5          recall that, you know, I did an interview                        16:53:03

6          that was sort of approximate to the time of

7          the movie, but I didn't mention it.                 But it

8          wasn't -- I mean, my opinion, it wasn't -- it

9          was about election matters process, and

10         that's what I'm really, I think, best known                      16:53:14

11         for is process.      You know, sort of focus on

12         the process of elections.

13                         So it didn't seem out of the

14         norm because it wasn't -- you know, it wasn't

15         about the movie.        It was just about the                    16:53:26

16         process so...

17                   Q.    But I -- but I -- my question

18         was:      Do you recall some dispute about Mr. --

19         between Mr. D'Souza and Fox News about the

20         film?                                                            16:53:40

21                   A.     Yes.

22                   Q.    What do you recall about that

23         dispute?

24                   A.    I -- as I generally, very

25         generally recall, he was frustrated that I                       16:53:44


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1          didn't bring up the movie or that, you know,

2          or that it was not allowed.             I mean, I -- I

3          just -- that was the -- that was the

4          genesis -- or that was the -- the nucleus of

5          it was that the movie wasn't mentioned, but                       16:54:01

6          it wasn't an interview about the movie so...

7                    Q.      Okay.    And there was some

8          footage that Mr. Carlson               or Mr. -- yes,

9          Mr. Carlson played on the -- on the show.

10                           Do you recall that?                             16:54:14

11                   A.      Yes.

12                   Q.      Where did that come from?

13                   A.      I do not know.        They -- they

14         often have things, and you just respond.

15         When you're in an interview like that and you                     16:54:22

16         likely know but you're literally just looking

17         at a camera and you have no idea what's being

18         shown on the screen.

19                           In fact, because I watched this

20         in preparation, my comments don't even                            16:54:34

21         correlate to what they're showing on the

22         screen.        In my opinion, my comments don't

23         even correlate to what we they're showing.

24                   Q.      After you were on the program,

25         and I'm talking not in connection with the                        16:54:45


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1          litigation, I'm talking about the time, did

2          you watch the interview?            Your own interview?

3                    A.      Like, you mean just like watch

4          to see how it went?

5                    Q.      How you did, yeah.                              16:54:56

6                    A.     I generally don't.

7                    Q.      Okay.    And are you aware that

8          TTV reposted that -- that interview on

9          Facebook, Instagram, and Rumble?

10                   A.     It doesn't shock me.                             16:55:13

11                   Q.      Okay.    There was unblurred

12         footage that was shown during that interview,

13         correct?

14                   A.      You know, I have -- I -- I know

15         that that is true because I have watched it                       16:55:24

16         since, but I had no editorial control, no

17         knowledge that that was happening.

18                   Q.     And you don't recall watching

19         it -- the interview at the time and seeing

20         that you were being -- there was -- there was                     16:55:37

21         unblurred footage being shown?

22                   A.      No, I do recall where I did

23         that remote, and it was a -- a place in

24         Florida.       And it was a very tiny room with

25         just -- you just watch the camera, and that's                     16:55:49


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1          it.       There's no way to see what's going on on

2          the screen, which is, you know, a

3          disadvantage.

4                    Q.     Can you recall anything at all

5          about any correspondence you or anyone else                      16:55:59

6          working for TTV had with Mr. Carlson's team

7          relating to that interview?

8                    A.     Relating to that interview?

9          No, I don't specifically.           You may -- there

10         may be something, but not that I can recall.                     16:56:19

11                   Q.     Okay.    And you can't recall who

12         was involved with scheduling it?

13                   A.     No.   That just -- it just --

14         you know, a call that comes, and if you can

15         do it, you do it.        And if not, you don't                   16:56:30

16         and --

17                   Q.     Okay.

18                   A.     I'm not -- I'm not a regular.

19                   Q.     Okay.    You think he reached out

20         to you, though?                                                  16:56:37

21                   A.     Well, he        he wouldn't have.

22                   Q.     Well, I'm sorry.

23                   A.     Yeah.

24                   Q.     Someone on his -- on his team

25         reached out to you?                                              16:56:42


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1                    A.     It's -- it's -- it is possible,

2          but it's also equally and probably more

3          likely that they reached out to some -- you

4          know, somebody -- a publicist that we were

5          working with.                                                    16:56:52

6                    Q.     Okay.

7                    A.    I just don't -- I just don't

8          remember.

9                    Q.     Okay.

10                   A.    I mean, those come so -- you                     16:56:55

11         know, you just try to do what you can, and it

12         just kind of -- just happens.

13                   Q.     Although you -- you know, as

14         you say, you're not a regular on Tucker

15         Carlson?                                                         16:57:04

16                   A.    No.

17                   Q.     So that would have been

18         something out of the ordinary?

19                   A.    I mean, not out of the

20         ordinary.      I do a lot of interviews, and I'm                 16:57:10

21         not -- you know, I mean, just another

22         interview.      It's about election process.

23                   Q•     You don't particularly care

24         that it was Tucker Carlson?

25                   A.    I mean, I -- I like his show,                    16:57:20


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1          but I'm not -- I've been doing this for a

2          long time.         Just talking about the process,

3          hoping that we get things fixed so I can go

4          back to a regular life.

5                    Q.       Okay.     And you also -- do you                  16:57:31

6          recall you also spoke with -- with NPR around

7          this time?        Reporters at NPR?

8                    A.       I recall specifically Tom

9          Dreisbach -- may be mispronouncing his last

10         name           reaching out, I think, via e-mail.                    16:57:51

11         I'm not -- I don't recall a phone call.                       It

12         could have happened.            But I do recall that,

13         yes.

14                   Q•       Okay.     And do you recall

15         that -- that TTV did -- did podcasts at which                        16:57:59

16         you spoke doing a Q&A of the movie?

17                   A.       I don't specifically recall.

18         It does          it wouldn't shock me but...

19                   Q.       Okay.     Do you recall doing any

20         podcasts on behalf of TTV in any way                                 16:58:16

21         connected to the movie?

22                   A.       Podcast on behalf of TTV?

23                   Q.        Yeah.    On the TTV platform?

24                   A.       Oh.

25                   Q.       Podcasts sponsored by TTV?                        16:58:26


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1                    A.    Oh.

2                    Q.    Maybe that's a better way to

3          say it.

4                    A.    No.   We didn't.        I mean, True

5          the Vote doesn't have a podcast platform.                        16:58:38

6                    Q.   Okay.     Does it sometimes do

7          virtual events?

8                    A.    When we say "virtual" -- when

9          you say "virtual events," they are -- we

10         occasionally do online trainings or                  I'm         16:58:58

11         trying to think.      I mean, that's               we don't

12         do event events like, you know, you would

13         think of an event.       Well, I don't -- I don't

14         know how we're defining "event."              I maybe

15         should stop there.                                               16:59:15

16                   Q.    Okay.

17                    (Discussion off the record.)

18         (BY MS. KUCK)

19                   Q.    Okay.    Let's mark as

20         Plaintiff's Deposition Exhibit 70, a document                    16:59:34

21         bearing Control No. DD 00063 through

22         DD 00086.

23              (Marked Engelbrecht Exhibit No. 70.)

24         (BY MS. KUCK)

25                   Q.    And the -- this also appears to                  17:00:05


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1          be a series of -- of texts that was produced

2          by Mr. D'Souza.

3                         Do you see that?

4                    A.   Yes.

5                    Q.   And the one I'm going to ask                    17:00:13

6          you about is on Page 69.

7                    A.   Okay.

8                    Q.   And this appears to be a text

9          exchange between you, Mr. Phillips, and

10         Mr. D'Souza.                                                   17:00:36

11                        Do you see that?

12                   A.   Yes.

13                   Q•   And there's some talk in here

14         about a QUA that Mr. D'Souza did with Philip

15         Bump of The Washington Post?                                   17:00:49

16                   A.   Yes.

17                   Q.   Do you know who Philip Bump is?

18                   A.   Yes.

19                   Q.   And what do you know about him?

20                   A.   I just know he's a journalist                   17:00:54

21         at Washington Post and did a large number and

22         a significant number of articles about this

23         movie.

24                   Q•   Okay.    And so the second text

25         from you, it says:      "I can't talk now, but                 17:01:08


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1          let's connect tomorrow when you're free to --

2          to talk through a few tiger traps."

3                             And you say:        "1, the murder

4          cases; 2, ACLED; 3, non-mule video in the

5          movie.         All manageable.      We just need to be              17:01:22

6          on the same page."

7                             Do you see that?

8                    A.        Yes.

9                    Q.       When you use the term "tiger

10         traps," what do you refer to?                                       17:01:31

11                   A.       I was just referring to -- it

12         was my way of expressing that some of the

13         things that Dinesh was communicating weren't

14         quite accurate and because they were a -- you

15         know, a sort of tacit reflection of our work,                       17:01:45

16         I wanted to try to avoid those issues.

17                   Q•       Okay.     The -- No. 1 is the

18         murder cases.

19                            Is that the issue that we

20         talked about earlier where your concern was                         17:01:59

21         that it was made to appear that you were --

22         that your information had solved a murder

23         when that wasn't the case?

24                   A.        Yeah.    That certainly would

25         have been one of the things.                There could             17:02:12


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1          have been more, I don't recall, but -- but

2          that certainly was one.

3                    Q•   And No. 2 says "ACLED."

4                         What's that a reference to?

5                    A.   It's just so long ago I -- I                    17:02:20

6          don't want to speculate.         There -- there

7          was...

8                         As I generally recall, there

9          were references that I was hearing, you know,

10         being made about ACLED and the data and the                    17:02:55

11         way to understand the data that was not

12         accurate.

13                   Q.   Okay.    And then 3 says

14         "non-mule video in the movie."

15                        What's that referring to?                       17:03:05

16                   A.   That is referring to the

17         distinction between the 242, 70 videos, and

18         then other footage that was used.             And the

19         other footage that was used was not part of

20         that 242, 70.                                                  17:03:23

21                        Now, there were still -- you

22         know, I think this was a distinction

23         Mr. Phillips made yesterday, mule, small m,

24         Mule, large M.     In our opinion, the videos

25         that were used were still reflective of                        17:03:37


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1          things that ran afoul of the law.

2                         But I felt it necessary to

3          clarify that that should be understood more

4          but, I mean, you know, that's...

5                    Q.   Yeah.    Because is it accurate                 17:03:50

6          to say you understand that "mules" as the

7          term is used in the film refers to the people

8          who were sort of linked between their video

9          and the geospatial harvest -- geospatial

10         project, the people on that original 70?                       17:04:05

11                   A.   Yeah.    I wouldn't say that.             I

12         would say that "mule" meant anybody.              I mean,

13         mule, ballot harvester, ballot.            I mean, all

14         of those words were fungible, just the

15         same -- you know, anybody that was running                     17:04:17

16         afoul of the law was, you know, in our very

17         loose vernacular, a mule.

18                        But then there was a set-aside

19         group that was the ones that had had

20         geospatial work attached to them, so...                        17:04:28

21                   Q.   But when you say "non-mule,"

22         you're referring to the people who didn't

23         have the -- when you're using it here in the

24         context of the film and the videos in the

25         film, you're referring to the people who were                  17:04:41


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1          not tracked with the geospatial data, right?

2                    A.   It was the -- I was -- I am --

3          was probably the fastest path to explain what

4          I wanted to talk about.

5                    Q.   So tell me again what was that.                 17:04:56

6                         What's the distinction that you

7          thought you should be drawing?

8                    A.   There was, in my opinion, the

9          stories of -- of what was being shown in the

10         film were being convoluted, and the stories                    17:05:07

11         about the Gwinnett anomaly and the Gwinnett

12         box and all of that footage was being

13         convoluted.    And that's not to say that they

14         weren't, you know, mules when they were --

15         you know, to be very, very clear, the Georgia                  17:05:21

16         law says if you vote more than one ballot

17         more than -- you know, more than your own

18         ballot, you must sign an assister signature

19         on the back of the envelope, and we had done

20         the work to determine that had not happened.                   17:05:33

21         So -- so, you know, that -- that is -- that

22         holds.

23                        But it was the -- the -- the --

24         the video that was, you know, added much

25         later that I just -- I just felt like                          17:05:49


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 1         needed -- it was a different -- it was a

 2         different story line, I guess you could say,

 3         for the movie.

 4                   Q.    Right, because the story line

 5         in the movie is about the people who were                        17:05:59

 6         geospatially tracked?

 7                   A.    I wouldn't say -- I wouldn't

 8         say it was -- I mean, that was one of them --

 9                   Q.    Right.

10                   A.    -- but there was also the                        17:06:08

11         Gwinnett anomaly and there were also, you

12         know, people -- little M mule just running

13         afoul of the law.      And that's, you know,

14         again, ballot harvesting depositing more than

15         one.      And in Georgia, you can't do that                      17:06:19

16         without an assister signature.

17                   Q.    No, I understand.           I'm just

18 I       trying to        to figure out the distinction

19         you're drawing between the two groups of

20         videos.                                                          17:06:29

21                   A.     Uh-huh.

22                   Q.    And when you say "non-mules" in

23         the film --

24                   A.     Uh-huh.

25                   Q.    -- you are referring to that --                  17:06:37


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1          not the 70 -- the 70 original videos.

2                          You're referring to the later

3          group of videos; is that right?

4                    A.    You know, I -- I just -- I

5          don't want to speculate.         It -- it really               17:06:51

6          could have been anything.         It could have been

7          any part of that movie that was -- was being

8          taken out of context.

9                          You know, it could have been

10         the -- the 242 mules versus the -- you know,                   17:07:07

11         the mules that were just depositing more than

12         one ballot.     I just -- there were just -- I

13         was just trying to -- I mean, Mr. D'Souza

14         was -- was, you know, light years ahead in

15         doing the media, and I just -- it -- I wanted                  17:07:26

16         to make sure it was accurate.

17                   Q.    When -- when the -- when the

18         term "2000 Mules" is used --

19                   A.    Uh-huh.

20                   CI•   -- where do you understand the                 17:07:38

21         2000 to come from?

22                   A.    That was a -- a -- a -- that

23         was Dinesh's idea of just taking the number

24         of identified devices in each of the

25         jurisdictions and then sort of rounding up.                    17:08:01


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 1         I mean, that was his -- his movie.

 2                   Q.   Right.     But he --

 3                   A.   His movie.

 4                   Q.   The 2000 included the -- it was

 5         an amalgam of, say, the 242 in Georgia?                         17:08:13

 6                   A.   Uh-huh.

 7                   Q.   And then there was, what, over

 8         a thousand in Philadelphia?

 9                   A.   I don't -- I don't know.

10                   Q.   But that's what he was doing?                    17:08:19

11         That's where those numbers come

12                        (Speaking simultaneously.)

13                   A.   That's where -- that's where

14 ,       that -- my understanding is that that's where

15         that came from.                                                 17:08:24

16                        And, again, I -- you know,

17         he -- his movie.      He gets to name it, so...

18         (BY MS. KUCK)

19                   Q.   Right.     But your understanding

20         is that's where the 2000 comes from.                            17:08:31

21                        It's the sum of that number?

22                   A.   I mean, that's my general

23         understanding.     Now, he may -- he may look at

24         that differently.

25                   Q•   Yeah.     Yeah.      Just all I can              17:08:39


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1          ask for your is your understanding.

2                    A.       Sure.    Sure.

3                    Q.       Okay.

4                             MS. KUCK:      I have just a little

5                    bit more.                                                17:08:45

6                             Do you want to take one more

7                    break?

8                             MR. EVANS:      Yeah.      Let's do

9                    that.

10                            THE VIDEOGRAPHER:          Off the              17:08:50

11                   record at 5:08.

12              (Break from 5:08 p.m. to 5:21 p.m.)

13                            THE VIDEOGRAPHER:          Back on the

14                   record at 5:21.

15         (BY MS. KUCK)                                                      17:20:18

16                   Q.       Okay.    Do you

17                            (Discussion off the record.)

18         (BY MS. KUCK)

19                   Q.       The -- do you -- we've referred

20         at several junctures to an interview that you                      17:20:38

21         and Mr. Phillips did on The Charlie Kirk Show

22         on April 8, 2022?

23                   A.       Yes.

24                   Q.       And on that you discussed the

25         2000 Mules project; is that correct?                               17:20:49


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1                    A.   Yes.

2                    Q.   And I could have you look at

3          what we marked yesterday as             as Exhibit 10?

4                    A.   Oof.

5                    Q.   You don't have it?                              17:21:17

6                    A.   I don't have it in my stack,

7          but let me just keep looking here, but I

8          don't show it.     Maybe it's in here.

9                         Oh, yes.     Sorry.       Got it.

10                   Q.   I'll be in trouble with the                     17:21:26

11         court reporter if you don't have it.

12                        Okay.    In Exhibit 10 appears to

13         be a text chain involving you, Mrs. D'Souza,

14         and Mr. Phillips?

15                   A.   Yes.                                            17:21:45

16                   Q.   Do you see that?         Okay.

17                        And then partway down -- well,

18         actually, it's the -- the second full text,

19         it says" "Last" -- and your picture is next

20         to it.                                                         17:21:58

21                        Says:    "Lastly, we did an

22         interview with Charlie yesterday.             He had the

23         same videos from the ad in Georgia, the ones

24         we talked about, and asked us to review them.

25         He says Salem knows but didn't want to tell                    17:22:09


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1          y'all.         I -- it's supposed to air tomorrow."

2                             Do you see that?

3                    A.        Yes.

4                    Q.       And that's referring to the

5          Charlie Kirk interview?                                            17:22:17

6                    A.        Yes.

7                    Q.       And when you say "he had the

8          same videos from the ad in Georgia, the ones

9          we previously talked about," what are you

10         referring to?                                                      17:22:25

11                   A.       I do not remember what the ad

12         in Georgia was.

13                            I do recall that I went into

14         this interview thinking it was a radio

15         interview, and then he had -- had videos that                      17:22:36

16         we -- we were shown.           And I just -- I don't

17         remember -- zero recollection about what "the

18         ad in Georgia" means.

19                   Q.       If I said there was a "Get

20         Georgia right" anti-Kemp ad, would that                            17:22:51

21         refresh your recollection at all?

22                   A.       I mean, no.       There -- there

23         were people doing all kinds of things.                   I --

24         I   --

25                   Q        Okay.    And according to the                   17:23:02


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1          text, it was -- it was a taped interview,

2          right?     It wasn't a live interview like -- I

3          assume the Tucker Carlson one was live?

4                    A.   I really don't know.           I -- it

5          could be live, could be delayed -- I don't --                  17:23:17

6          I don't know.

7                    Q.    Well, it says in your text:

8          "It's supposed to air tomorrow"?

9                    A.   Oh, well, okay.         Then yes, it

10         would have been.                                               17:23:27

11                   Q.   It would have been taped?

12                   A.    Yes.

13                   Q.   And then there's another long

14         text from you further down.          It says:      "Okay.

15         One more thing, Andrew, Charlie's staffer,                     17:23:36

16         also told Heather that in the interview we

17         say he's a police officer.          Note, I explained

18         that the version Andrew saw wasn't finished.

19         Shadow and voice filters were being adjusted.

20         We were working to get his e-mails with his                    17:23:48

21         name redacted on screen.         And, also, video

22         that we were still awaiting access to.               And

23         that if it comes together, she -- they will

24         not be on camera as much.         But all that

25         aside, I do want to hell tell her if how we                    17:24:02


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1          characterize the informant, would y'all look

2          at the transcript and let me know how he's

3          introduced?      We may need to speak -- tweak

4          slightly.      I just don't remember"?

5                    A.     Uh-huh.                                         17:24:14

6                    Q.    Do you see that?

7                    A.     Yes.

8                    Q.     What's that referring to?

9                    A.    I don't -- as I read this, I

10         don't have a recall of that exchange.                            17:24:23

11                          However, in reading it, it

12         would seem that Andrew, Charlie's staffer --

13         I don't know the context of "also told

14         Heather," but regardless, it goes on to -- it

15         must have been something that he then told                       17:24:40

16         me.

17                         And my only expectation was

18         that it wasn't finished and maybe there were

19         still things, you know, being adjusted.

20                         And it -- it was -- it was                       17:24:52

21         concerning to me that -- that the voice-over,

22         as I generally recall from this, was

23         indicating that he was a police officer,

24         which is        was not what we had agreed to

25                   Q.     Okay.    And, again, this goes                  17:25:10


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1          back with the -- the issue the Georgia law

2          enforcement officer?

3                    A.   Yes.

4                    Q•   And Heather is Heather Mullins?

5                    A.   Yes.                                            17:25:18

6                    Q.   Okay.    And after your

7          appearance on Charlie Kirk, did you watch it

8          when it was released?

9                    A.   No.

10                   Q.   Okay.    And when you said in                   17:25:38

11         your -- your first text about "he says Salem

12         knows but didn't want to tell y'all," do you

13         know what that's referring to?

14                   A.   Well, it says "didn't want to

15         not tell y'all."                                               17:25:50

16                        And the issue there was that

17         there was just a very tight hold on what we

18         could and couldn't say.        And, you know, the

19         sequestration of video and so forth.

20                        And so the fact that that came                  17:26:06

21         together and it was presented as Salem knows,

22         we were already in the area for speaking to

23         the Arizona legislators, but I just -- I just

24         felt like I needed to close the loop.

25                   Q.   Okay.    And how -- do you recall               17:26:20


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1          how it was that you came to be on Mr. Kirk's

2          show?

3                    A.   I -- it could have been a phone

4          call to either me or -- or Gregg or a

5          publicist.     I --                                             17:26:34

6                    Q.    Okay.    And you don't know --

7          you can't recall whether you reached out to

8          him or he reached out to you?

9                    A.   I -- I -- I can't.           I mean,

10         it -- it -- we were going to be in town                         17:26:45

11         anyway so...

12                   Q.    Okay.    And he is in the film,

13         right?

14                   A.    Yes.

15                   Q.   And this is after the film?                      17:26:52

16                   A.    Yes.

17                   Q.    So he's obviously familiar with

18         what's going on in the film?

19                   A.   I can't really -- I mean, he's

20         familiar with his part.                                         17:27:00

21                   Q.    Yeah.

22                   A.   I don't know if he's like -- I

23         mean, I guess based on this that he's -- you

24         know, they've had access to the -- to what I

25         was thinking was a rough cut.            Again, you             17:27:06


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1          know, going all the way back earlier when I

2          learned that, you know, somebody called me

3          and said they had -- so I -- I was making

4          some assumptions here.

5                    Q.   Okay.     And in the course of                   17:27:15

6          that interview, Mr. Kirk showed the video of

7          Mr. Andrews, correct?

8                    A.   Yes.

9                    Q.   And it was not blurred?

10                   A.   It -- it was not -- I don't --                   17:27:29

11         he showed it to us on his laptop.

12                   Q.   Right.

13                   A.   And I really don't recall

14         whether it was or wasn't then, but now since

15         all of this, I do know that what they posted                    17:27:42

16         wasn't.

17                        I -- I will state again.             I had

18         no editorial control.        And, frankly, the

19         thought that that was all going through

20         Salem, I just didn't -- it would have never                     17:27:52

21         even occurred to me so...

22                   Q.   So why don't we -- we're not

23         going to go through all the clips we watched

24         yesterday.

25                   A.   Okay.                                            17:28:02


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1                    Q.    Let's just go -- can we do the

2          one that's Deposition Exhibit 1C.

3                             (Video playing.)

4          (BY MS. KUCK)

5                    Q.    Okay.    Did you rehearse that                  17:29:54

6          interchange with Mr. Kirk before you had it

7          on camera?

8                    A.   No.

9                    Q.    When he says "this is Gwinnett

10         County, right," how does             how did you                17:30:04

11         how did you know that?

12                   A.   Because that was the most

13         pristine video, and we had spent so much time

14         on that Gwinnett anomaly that I saw that drop

15         box, I mean, I just knew it.                                    17:30:14

16                   Q.    Okay.    And he says:         "This is

17         one of the 2000 you profiled."

18                        And you said, "Yes."

19                        Right?

20                   A.    Yeah.    I -- I heard myself say                17:30:22

21         that.     I can only say that, you know, I was

22         just saying it in -- just sort of in passing.

23         I mean, it was all happening very quickly,

24         and I was shocked by all of it.             I was in,

25         you know, dungarees and expected to be on the                   17:30:41


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 1         radio.

 2                   Q•     Okay.    And it's your testimony

 3         that you didn't notice that the                     the video

 4         wasn't blurred?

 5                   A.     I -- I can't say that I -- I                      17:30:51

 6         mean, I didn't notice it, but I will say I

 7         had no idea what was going to ultimately be

 8         done with the video that they had.                  I -- I

 9         didn't know.       I mean, whatever I saw was on

10         Charlie's screen.        That's on Charlie's -- you                17:31:03

11         know, on Charlie's           or on a laptop, but I

12         had no -- I had no editorial control over

13         whatever else they were going to do with the

14         video.

15                   Q.     And you -- you never said to                      17:31:14

16         Mr. Kirk, Hey, if you're going to use that,

17         you've got to blur the identity?

18                   A.     I -- I mean, yeah, I don't know

19         that I did or didn't.         I mean, you know,

20 I       ultimately everything in the movie was                             17:31:27

21         blurred.       I -- I don't know.        I mean, it

22         could have been that he -- I just don't know.

23         He could have showed us blurred images and

24         then not used them.        I really don't know.              I

25         had zero editorial control.                                        17:31:39


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1                    Q.   Yeah, I -- I understand you --

2          you didn't have any control of it.                I'm just

3          trying to get at what you actually saw when

4          you were sitting there

5                    A.   Yeah.                                           17:31:46

6                    Q.   -- and what you communicated to

7          Mr. Kirk or his staff --

8                    A.   Uh-huh.

9                    Q.   -- afterwards.

10                   A.   Uh-huh.                                         17:31:50

11                        It's -- it's -- it's entirely

12         possible that I said something.            I don't -- I

13         don't -- I can't tell that, you know, that I

14         have any evidence of it or -- or I -- just an

15         interview that I thought was a radio                           17:32:04

16         interview, and he's part of the Salem team,

17         and I -- you know, and I don't know what else

18         they're putting on or doing at -- I have zero

19         involvement in that.

20                   Q.   Okay.    And are you aware that                 17:32:15

21         TTV reposted on a number of social media

22         channels afterwards?

23                   A.   It doesn't surprise me, so...

24                   Q•   Okay.    And would it surprise

25         you that they posted it with the unblurred                     17:32:27


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1          footage?

2                    A.      It doesn't.        They would have

3          just posted the interview.

4                    Q.       Okay.    Whoever was doing your

5          social media, would -- would they have been                        17:32:40

6          alerted to the fact that it was -- that they

7          shouldn't be posting any video accusing

8          people of voting fraud without -- without

9          redacting their identities?

10                   A.       You know, I think that The View                 17:32:53

11         was -- it was a show that had, you know,

12         checked all the boxes according to Salem and

13         Charlie and -- or Charlie's show and just

14         posted.        I mean, and I -- you know, that's --

15         that's it.                                                         17:33:13

16                   Q.      Let's look at what we marked as

17         Exhibit 19 or 16 -- 16 yesterday.

18                   A.       Yes.    Got it.

19                   Q.       Okay.    And that's an e-mail

20         dated April 19, 2022, from Jim Hoft of                             17:33:57

21         Gateway Pundit to you and Mr. Engelbrecht,

22         correct?

23                   A.       Yes.

24                   Q.      And it looks like you were

25         going to appear on his program shortly after                       17:34:10


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1          the Charlie Kirk program?

2                    A.     He -- he is the publisher of

3          a -- of an online news source called Gateway

4          Pundit, and I don't recall doing an interview

5          with him.      It's entirely possible that he                       17:34:29

6          wrote an article and -- and took clips.                    I...

7                    Q.    Okay.     Although he says in the

8          last sentence:     "If you have anything else

9          for us, please send it before the 4:00 p.m.

10         interview."                                                         17:34:41

11                         Do you see that?

12                   A.    Oh, yeah.       Okay.     And then the

13         interview link.

14                   Q.     Yeah.

15                   A.    I don't remember doing an                           17:34:45

16         interview, but it's possible that I did.                   I

17         don't -- I don't recall.

18                   Q.    Okay.     And he says:         "We have a

19         couple of clips of ballot traffickers you ran

20         during your Charlie Kirk interview."                                17:34:53

21                         Do you see that?

22                   A.     Yes.

23                   Q.    Did you say to him, Well, those

24         weren't my clips, they were Charlie's clips?

25                   A.    I -- I -- I don't -- I don't                        17:35:01


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1          it's possible.

2                    Q.     But are you just speculating?

3          You don't remember?

4                    A.     I don't remember.            I mean, this

5          was, you know, a long time ago.                                    17:35:10

6                    Q.     Two years ago?

7                    A.      Yeah.

8                    Q.     And did you -- did you indicate

9          to him before he ran them that any clips

10         needed to be blurred?                                              17:35:24

11                   A.     I -- what was the date of the

12         Charlie Kirk one?

13                   Q.      4/8.    April 8.

14                   A.      4/8.    I mean, it's -- it's

15         if I had known that there was an issue, I                          17:35:37

16         would have made note of it.              I would have had

17         no idea.       I mean...

18                   Q.      You don't remember saying

19         anything to him about it?

20                   A.     I -- I just don't remember this                   17:35:46

21         at all.

22                   Q.     Okay.

23                   A.     And I don't know what clips.                I

24         don't know.

25                          Again, no editorial control.                      17:35:53


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1          You know, I -- this -- I don't -- I mean, I

2          don't even -- frankly, I don't even know that

3          I did this.    I don't know.

4                    Q.   Okay.    Yeah.     My only question

5          about that is that he's saying there the                       17:36:09

6          clips you ran on the Charlie Kirk interview,

7          so he is characterizing them as your clips.

8                    A.   Yeah.    But that's -- that's

9          just a, you know, turn of phrase.             I mean,

10         I -- clearly, I'm not running the Charlie                      17:36:22

11         Kirk interview or Charlie Kirk show or, you

12         know, sitting at the editing board or

13         production board or whatever they even call

14         them.

15                   Q.   And your testimony is you don't                 17:36:32

16         remember providing those clips to Charlie

17         Kirk?

18                   A.   No.

19                   Q.   Are you aware of the unblurred

20         footage of -- of the video in which -- which                   17:36:41

21         we've been talking about, about Mr. Andrews

22         voting?

23                   A.   Uh-huh.

24                   Q.   Do you have any recollection of

25         anyplace else that it was played in an                         17:36:54


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1          unblurred state?

2                    A.   I -- no.      I mean, you know, at

3          the time, I was not          again, I was --

4          I -- our video went to just, you know, Dinesh

5          and what else other shows we're using or                            17:37:15

6          doing or how I -- I had no control over any

7          of that, so no, I don't know.

8                    Q.   Okay.     So let's -- let's talk

9          about the book for a minute.

10                   A.   Okay.                                                17:37:35

11                   Q.   And it was eventually agreed

12         that you would get 20 percent of any profits

13         on the book, right?

14                   A.   It was offered, yes.

15                   Q.   And did you agree to that?                           17:37:45

16                   A.   I really don't -- we would have

17         to look back at that e-mail exchange.

18         Probably not important.

19                   Q.    Yeah.    I'm just trying to save

20         a little       a little time.                                       17:37:54

21                   A.    Yeah.    No, I mean, the reason I

22         say it that way is not to be difficult.                   I

23         just don't know what Bettina [phonetic] would

24         have written back.

25                   Q.   Okay.                                                17:38:04


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1                     A.      I just don't know.

2                     Q.      Okay.    That was something you

3          asked for?

4                     A.      No.

5                     Q.      It was something Mr. D'Souza                    17:38:06

6          offered?

7                     A.       That's my recollection, yes.

8                     Q.      Okay.    And do you -- do you

9          recall that you accepted his offer?

10                    A.      At that point Bettina                           17:38:13

11         [phonetic] was -- was, you know, handling the

12         commentary and I was -- you know, that was

13         it.       It was late in the day and -- or, you

14         know, it was at the very end of all of this

15         so...                                                              17:38:29

16                    Q.      Okay.    You -- do you recall

17         that there were certain issues that led to

18         the recall of the first printing of the book?

19                    A.      Okay.

20                   Q.       And what were the issues that                   17:38:44

21         led to that recall?

22                    A.      I don't know of -- of issues

23         plural.         I do know of one.       Or at least I

24         believe I know of one.

25                    Q.      Okay.                                           17:38:54


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1                    A.   And that is the representation

2          of nonprofit organizations in the book.

3                    Q.   And did you have conversations

4          with anybody at Salem about that issue?

5                    A.    Yes.                                            17:39:11

6                    Q.    Okay.    Do you remember who?

7                    A.   I think it was their attorney.

8                    Q.   And did you have any

9          conversations with Mr. D'Souza about the

10         issue?                                                          17:39:34

11                   A.    Yes.

12                   Q.    What were those conversations?

13                   A.    He called me and asked me just

14         on the phone if I could corroborate some

15         names.     I don't remember if he said it was in                17:39:48

16         a book or if he just -- I -- I was so

17         shocked -- I was so shocked by the whole

18         thing.     I don't remember if he said it was in

19         a book or -- or how it came out.

20                        But in any event, I said, No, I                  17:40:01

21         can't do that.     What are we even talking

22         about here?     How -- what is happening?

23                        And I -- I generally recall

24         asking him about is this -- has this been

25         published or what is -- you know, what's the                    17:40:22


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1          status of this?     And as I generally recall,

2          he said, Oh, no, it's nothing to worry about.

3                         And I was troubled enough that

4          I reached out to Salem, and that is when I

5          learned that books had -- had already been                     17:40:42

6          released to the media and books were on their

7          way to stores.     And I was -- I was shocked.

8                    Q•   And why were you shocked?

9                    A.   Because we had never been

10         consulted on the book.        We had never -- I                17:41:02

11         have -- I just had no idea that there was a

12         book being -- actually being written.              I

13         mean, I knew there had been one that had been

14         talked about, but we were not involved in

15         that at all.                                                   17:41:17

16                   Q.   And when you were talking about

17         getting the 20 percent of the book profits,

18         is it your recollection you didn't even know

19         a book was in process?

20                   A.   Huh-uh.     I will say this.          They      17:41:30

21         did talk about a book early in the -- in the

22         discussion like maybe at the time with Salem

23         when -- when we were there in Dallas.

24                        So I don't want to represent

25         that I had never heard of a conversation                       17:41:43


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1          about, you know, a book.

2                          But absolutely we had no

3          involvement, and I was stunned to hear that

4          the copies had gone out and been released and

5          so forth.                                                       17:41:57

6                    Q.    Okay.    And the person that you

7          were corresponding with, does Tom Spence ring

8          a bell?

9                    A.    It rings a bell.         I think he is

10         the gentleman with Regnery that's not the                       17:42:13

11         Salem attorney, but yeah, so that does ring a

12         bell.

13                   Q.    Okay.

14                    (Discussion off the record.)

15         (BY MS. KUCK)                                                   17:42:40

16                   Q.    And do you recall that he

17         consulted with you about what the revised

18         language in the book would be?

19                   A.    He -- he said that, as I

20         generally recall, there was a sentence or two                   17:42:52

21         and he's like, You can, you know, look at

22         this.      The very few -- because they couldn't

23         change any of the typesetting that was

24         already done.      They didn't want to go to that

25         expense, and I believe that there was a --                      17:43:02


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1          like a passage, if I recall.

2                    4.        Okay.    And do you recall

3          providing comments on the passage?

4                    A.       I do recall saying something

5          about the passage, but I was -- I was                               17:43:13

6          absolutely in shock that this was, you know,

7          happening.

8                         (Discussion off the record.)

9          (BY MS. KUCK)

10                   Q.       And did you come to some                         17:43:38

11         understanding as to where Mr. D'Souza came up

12         with the names?

13                   A.       I -- I wouldn't say I came up

14         with an understanding.             I -- I did, you know,

15         speculate that it would have been over the                          17:43:51

16         course of, you know, the other exhibits that

17         we've reviewed today and -- and research that

18         we were doing.

19                   Q.       Did -- did you have a

20         discussion with him and say, Where did you --                       17:44:05

21         you know, where did you get that information?

22                   A.       Oh, I am sure I did.

23                   4•        Okay.    Can you tell -- have you

24         told me everything you can remember about the

25         discussion?                                                         17:44:16


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1                    A.      Yeah.    I think so.        It was -- I

2          was just -- yeah, I was just shocked.

3                    Q.      Okay.    All right.

4                            Let me mark...as...

5                            Just make sure I mark the right                 17:45:37

6          one.

7                     (Discussion off the record.)

8          (BY MS. KUCK)

9                    Q.      Let's mark as Plaintiff's

10         Deposition Exhibit 71 --                                          17:46:19

11                           MS. KUCK:      That's the book,

12                   yeah.

13         (BY MS. KUCK)

14                   Q.      A document bearing control

15         Nos. TTV 008527 through 28.                                       17:46:31

16                           Do you see that?

17                           MS. KUCK:      And I'll pass those

18         out.

19              (Marked Engelbrecht Exhibit No. 71.)

20         (BY MS. KUCK)                                                     17:47:00

21                   Q.      Is that the back-and-forth you

22         were remembering about the language?

23                   A.      I believe so, yes.

24                   Q.      Okay.    And did you approve that

25         language, or was there some -- was there some                     17:47:14


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1          tweaking of it?

2                    A.   I -- I really don't recall.

3                    Q.   Okay.

4                    A.   I -- I don't -- I don't recall.

5          And I don't -- I mean, I don't recall.                         17:47:29

6                    Q.   Okay.    "The -- the proposed

7          language, I have a list of them, as does True

8          the Vote, and True the Vote has agreed to

9          make the names available as needed to the

10         appropriate law enforcement authorities."                      17:47:42

11                        Do you see that's the language

12         he's proposing?

13                   A.   Yes.

14                   Q.   What is the list that's being

15         referred to?                                                   17:47:50

16                   A.   Well, according to this

17         passage, it's the activist and nonprofit

18         groups.

19                   Q.   Okay.    And did TTV have such a

20         list?                                                          17:48:08

21                   A.   We had NGOs, you know, that

22         were -- were locations of interest.

23                   Q.   And those were the NGOs that

24         you'd gone back and forth with with the

25         D'Souzas that we talked about earlier today?                   17:48:27


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1                    A.   Well, in -- yes.         I mean,

2          what -- we've talked about about sort of two

3          different tranches, and one of those being

4          things that showed up on the -- in the legal

5          brief and then the other being just a                          17:48:42

6          composite of tax returns for broad, you know,

7          research and...

8                    Q.   And where did those -- the --

9          the documents of the tax returns that were

10         pulled, how were those organizations                           17:48:53

11         selected?

12                   A.   I think a few of them were

13         organizations particularly in Arizona that we

14         had had reports about.

15                        Others were just known                          17:49:06

16         organizations in -- in the space and just --

17         just it was really just broad -- very broad

18         research.

19                   Q.   Okay.    He says:       "These groups

20         have a known ideological bent and deep                         17:49:21

21         affiliations with the cultural left and the

22         Democratic party."

23                        Is that a fair description of

24         the -- the types of groups that were in the

25         research you did?                                              17.49.34


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1                    A.   Was it -- I'm sorry.                Can

2          you re-ask -- can you repeat the question?

3                    Q.   Yeah.     I'm reading the last

4          sentence there after the bolded language.

5                    A.   Oh, okay.       Okay.                            17:49:53

6                    Q.   And it said:        "These groups

7          have a known ideological bent and deep

8          affiliations with the cultural left and the

9          Democratic party."

10                        And what I'm asking you is, is                   17:49:58

11         that a fair description of the group of

12         organizations that were contained in your --

13         your -- your file of tax returns?

14                   A.   You know, not -- not

15         necessarily.       The groups out in -- in Arizona              17:50:20

16         particularly, I -- I don't know their

17         political bent but...

18                   Q.   And do you remember correcting

19         that statement in the -- when you commented

20         on this?                                                        17:50:37

21                   A.   I -- I remember -- I remember

22         talking on the phone to Tom Spence and just

23         being -- again, just -- you know, there was

24         just a lot of things that were in this that

25         were not correct, and I -- I don't remember                     17:50:55


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1          exactly the outcome.       You know, that's all --

2          that's all I can really recall.

3                    Q.   And do you remember having some

4          back-and-forth with NPR on this issue, the

5          NPR reporter you referred to earlier,                          17:51:11

6          Mr. Dreis --

7                    A.   Dreisbach.

8                    Q.   Dreisbach.

9                    A.   Yeah.

10                        Generally, there were a number                  17:51:18

11         of things that he went through that we went

12         back and forth on, yes.

13                   Q.   Okay.    Let me have you look at

14         what -- Exhibit 31, it's one of the first

15         things we marked this morning.                                 17:51:27

16                        And I'll have you look at

17         Response No. 16.

18                        And do you recall amending your

19         response after -- after we discussed this

20         issue with the court?                                          17:51:59

21                   A.   I mean, I -- I remember needing

22         to respond to this and working with counsel

23         on it.

24                   Q.   But just in the last few weeks

25         recently?                                                      17:52:31


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 1                    A.     I mean, sure.        I'm sorry.       I

 2         don't recall the -- the -- the timeline, but

 3         if it's recent, then it's recent.

 4                    Q.     Well, it's dated September 6.

 5                    A.     Okay.                                           17:52:41

 6                    Q.     Which is within the last couple

 7         of weeks.

 8                    A.     Okay.

 9                    Q.     Do you remember a discussion

10         about of the issue -- don't give me the                           17:52:50

11         substance -- but discussion of this issue

12         within the last few weeks?

13                    A.    On -- in the midst, you know,

14 ,       lots of other conversations, I'm sure that we

15         discussed this.                                                   17:53:00

16                    Q.     Okay.    Oh, in the last -- so

17         what the         what the interrogatory asks for

18         is:       "Identify the eight organizations in

19         Atlanta where you allege ballots were

20         collected by mules."                                              17:53:16

21                           Do you see that?

22                    A.     I'm sorry.      What page are we

23         on?

24                    Q     25.   It's this --

25                    A.    Oh, 25.                                          17:53:20


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1                    Q.      Yeah.    It's Interrogatory

2          No. 16.

3                    A.     I'm sorry.       Okay.

4                    Q.      You see that?

5                    A.      Yes.                                            17:53:32

6                    Q.     And -- and there's a long

7          answer in which you conclude by talking about

8          the book.       And you say:      "After TTV learned

9          the names of these organizations were

10         included, it notified Salem of the issue."                        17:53:45

11                          But you never yourself identify

12         any organizations.

13                           Can you do that?

14                   A.     I'm sorry.       I don't understand.

15                   Q.      This asks you to identify                       17:53:57

16         the -- the eight organizations in Atlanta

17         where you allege ballots were collected by

18         mules.

19                   A.     Uh-huh.

20                   CI•    Can you         can you identify                 17:54:05

21         those organizations?

22                   A.      Not -- you know, no, that would

23         be part of what OpSec had done and part of

24         that data set.      I don't have them committed

25         to memory.                                                        17:54:19


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 1                   Q.     Can you identify any

 2         organizations in Atlanta where you allege

 3         ballots were collected by mules?

 4                   A.    I can say that in the case of

 5                                                       and               17:54:39

 6                              there was a pattern of

 7         devices going to addresses at minimum shared

 8         by those locations.

 9                   Q.    Okay.    Can you recall any other

10         organizations where you saw such a pattern?                     17:54:55

11                   A.    No, there were -- there were

12         others, but I don't recall the names, no.

13                   Q.     Could you find out the names by

14         consulting with any -- I'm sorry.

15                          Could you find the other names                 17:55:08

16         by looking at any documents?

17                   A.    I -- I -- none that True the

18         Vote has.      None that I have in my custody or

19         control.

20                   Q.    Okay.    And where would you go                 17:55:23

21         to get that information?

22                   A.    It would -- it would have to

23         be, you know, pulled back through analysts, I

24         would imagine, at this point.

25                   Q.    But your testimony is that this                 17:55:43


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1          point in time there's no record -- well,

2          strike that.

3                            Is it your testimony that this

4          point in time there's no record of what

5          organizations in Atlanta your geospatial                            17:56:06

6          location data indicated were sources of

7          ballots?

8                    A.      Not that I have, no.             Certainly

9          as we discussed today, other paries that had

10         them, but I no longer have that.                                    17:56:25

11                   Q.       Okay.     And do you know what

12         happened to that information?

13                   A.      I -- I don't know that I ever

14         had it.        I mean, it went to the FBI and then

15         followed suit, you know, through the various                        17:56:34

16         jurisdictions.

17                   Q.       Okay.     Is it possible OpSec

18         still has it?

19                   A.      I -- you would have to ask

20         OpSec.                                                              17:56:48

21                   Q•       Right.     Although you could ask

22         OpSec, right, as your contractor?

23                   A.      I mean, sure.          I could, I

24         guess.

25                   Q.       Okay.     But you haven't?                       17:56:55


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 1                   A.    I haven't had the need.

 2                   Q.    Well, nobody has asked you to?

 3                   A.    I'm sorry?

 4                   Q.    Nobody has asked you to?

 5                   A.     Correct.                                         17:57:06

 6                   Q.    Is there any other way you

 7         could identify the organizations?

 8                         MR. EVANS:        Objection; asked

 9                   and answered.

10                   A.    Still answer?          Yes?                       17:57:13

11                         No, there's no...

12         (BY MS. KUCK)

13                   Q.    Okay.      Were you aware that

14         there was also an issue in the first printing

15         of the book concerning information relating                       17:57:25

16         to ACLED?

17                   A.    No, I did not know that.

18                   Q.    Okay.      Did you know that ACLED

19         ultimately settled with Salem and Salem

20         issued a retraction notice?                                       17:57:35

21 I                 A.    I did not know that.             I heard

22         that yesterday for the first time.

23                   Q.    When you were -- just one more

24         question about the book, and we were going

25         back and forth about the language.                                17:58:06


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1                    A.   Okay.

2                    Q.   And there was this "I have a

3          list."     What happened to that list?

4                    A.   Are you saying when -- when

5          Mr. D'Souza says, "I have a list."                             17:58:16

6                    Q.   And then it says "that TTV

7          shared with me"?

8                    A.   I -- I'm not sure why he wrote

9          that.

10                   Q.   Okay.    And you don't have any                 17:58:22

11         list today?

12                   A.   Not beyond what we've already

13         discussed.

14                   Q.   Okay.    Let's look at...

15                    (Discussion off the record.)                        17:58:55

16         (BY MS. KUCK)

17                   Q.   We're going to look at a

18         document that we marked yesterday.

19                        MS. BALLIETT:        Exhibit 27.

20         (BY MS. KUCK)                                                  17:59:03

21                   Q.   It was Exhibit 27.          You should

22         have it in your pile.

23                   A.   Okay.

24                    (Discussion off the record.)

25         (BY MS. KUCK)                                                  17:59:44


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1                    Q.   So Exhibit 27, do you see that

2          this is a copy of a letter that was forwarded

3          to you?

4                    A.   Yes.

5                    Q.   Okay.     Do you recall getting                  17:59:55

6          this letter?

7                    A.   I recall it being forwarded.               I

8          don't recall having received it, but it

9          doesn't -- yeah.      I'll leave it there.

10                   Q.   What do you mean by that?                        18:00:03

11                   A.   I -- I recall, you know, Brock

12         sending it.

13                   Q.   Okay.

14                   A.   I don't recall receiving it in

15         the mail but --                                                 18:00:10

16                   Q•   I see.

17                   A.   Sorry.

18                   Q.   You -- but you did receive it

19         from your lawyers by e-mail?

20                   A.   At -- at minimum.           I mean, I            18:00:17

21         may have received --

22                   Q.   Yeah.

23                   A.   -- these other addresses.              I

24         just don't recall that.

25                   Q.   Okay.     Okay.     Understood.                  18:00:22


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1                         And did you take any action in

2          response to this letter?

3                    A.   Well, I -- yeah.         I consulted

4          attorneys about what -- what to do at this

5          point.                                                         18:00:33

6                    Q.   Okay.    Anything else?

7                    A.   I -- they mainly just -- I

8          mean, reached out to attorneys like what do

9          we -- what is happening and what should we

10         do.                                                            18:00:52

11                   Q.   Okay.    Do you -- look -- if you

12         look at the last page, 8874, it says:

13         "Litigation hold notice and document

14         preservation request."

15                        Do you see that?                                18:01:03

16                   A.   Yes.

17                   Q.   After you received this, did

18         you put in place any measures to preserve

19         documents?

20                   A.   We -- we didn't delete anything                 18:01:11

21         so, you know, that was it.          I mean,

22         everything was in place so...

23                   Q.   And you're not aware of any

24         autodeletes that you have in your systems?

25                   A.   No.                                             18:01:27


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1                    Q.     No?

2                    A.     No.

3                    Q•     Are you aware that at some

4          point in time OAN was going to -- was going

5          to show the film?                                                 18:01:39

6                    A.      Yes, I am.

7                    Q.     And that was around this point

8          in time?       Do you recall that, this time

9          frame?

10                   A.     I do recall that when I spoke                    18:01:46

11         with OAN, they knew about this.               I do recall

12         that.

13                   Q.      Okay.    And what -- tell me

14         about your conversations with OAN.

15                   A.      They wanted to show the film                    18:01:56

16                   Q.     Right.

17                   A.     -- which, again, was news to

18         me.

19                   Q.      Okay.

20                   A.     It had been licensed to them                     18:02:01

21         and I was called, as I understand, because

22         she couldn't reach any of the other parties.

23         And I didn't know anything about it.

24         didn't know that -- whatever that agreement

25         had happened, had happened.                                       18:02:14


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1                             She asked me about this.            She

2          asked me if I could help identify who this

3          was.      And as I generally recall, I -- I -- I

4          don't -- I don't know exactly, but I tried to

5          do what I could.          And that may have been just              18:02:33

6          referring her to Georgia stuff.                I don't -- I

7          really don't recall, but I tried to do what I

8          could.

9                             And then as I -- I believe they

10         went on to -- to edit it and air it --                             18:02:44

11                   Q.       Yes.

12                   A.       -- is my general understanding.

13                   Q.       Yes, my understanding is they

14         aired it, but they took out the footage of

15         Mr. Andrews.                                                       18:02:55

16                   A.       Yeah, that's my -- I didn't

17         watch it, but that's my understanding.

18                   Q.       Okay.    And that -- Mr. D'Souza

19         could have done the same thing with the film,

20         right?         The -- that clip could be pulled out?               18:03:14

21                   A.       I -- you know, I -- I'd hate

22         to -- I don't want to speculate.                 I have --

23                   Q.       Okay.

24                   A.       I have no idea how extensive

25         that would be or if that would have been                           18:03:26


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 1         possible.      I just -- I don't know.

 2                   Q.     Somehow OAN was able to do it?

 3                   A.     Yeah.

 4                    (Discussion off the record.)

 5         (BY MS. KUCK)                                                    18:04:04

 6                   Q.    At some point in -- in time,

 7         you became aware that this lawsuit had been

 8         filed, right?

 9                   A.     Yes.    This, yes.

10                   Q.     Okay.    And I believe that                     18:04:12

11         Mr. -

12                         MS. KUCK:       Thanks.

13         (BY MS. KUCK)

14                   Q.    I believe that Mr. Phillips

15         alluded to it, but there was an issue in                         18:04:22

16         another court case you were doing right

17 I       around the same time, right?

18                   A.     Correct.

19                   Q.    And I think he said you were --

20         you were in jail when you found about it or                      18:04:29

21         you were jailed around this time?

22                   A.    No.     That -- that happened

23         later this month, but there were -- this was

24         a very difficult month.

25                   Q.     Okay.    Let me mark as                         18:04:39


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1          Plaintiff's Deposition Exhibit 72 a document

2          bearing control Nos. TTV_008975 through

3          TTV 009079.

4               (Marked Engelbrecht Exhibit No. 72.)

5                     (Discussion off the record.)                         18:05:11

6          (BY MS. KUCK)

7                    Q.    Okay.    And then this is

8          looks like in e-mails that you went back

9          and -- that you -- an e-mail exchange you had

10         with Mr. Henderson at Salem Media?                              18:05:33

11                   A.    Yes.

12                   Q.    And it looks to me like you

13         sent him the draft intervenor documents we

14         talked about this morning?

15                   A.    Yes.                                            18:05:47

16                   Q.    Why did you do that?

17                   A.   Let me actually take a second

18         to read this.

19                   Q.    Yeah.    Go ahead.        Go ahead.

20                   A.    That would have been because                    18:06:13

21         they were -- he was asking for us to spin

22         things back up and -- and give more

23         information on -- on the geotracking.

24                         And so my hope was because it

25         was a very difficult time, my hope was that                     18:06:35


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 1         providing that brief, the lawyer -- you know,

 2         a lawyer's brief, a lawyer reading it that he

 3         maybe could derive some value from that.

 4                   Q.     And when you said -- when you

 5         say "spin things back up again," what do you                     18:06:46

 6         mean?

 7                   A.     We had moved on from that

 8         project and, you know, to really -- to do the

 9         type of thing at least that I was

10         interpreting he would want would have meant                      18:06:55

11         us -- you know, me recommissioning OpSec,

12         OpSec recommissioning their team and starting

13         that process back again.

14                   Q.     Okay.    And you say to him in

15         the third paragraph there:            "It's important            18:07:16

16         to note that Mr. Andrews, unnamed and

17 I       unrecognizable, was shown as one of the many

18         Georgians who voted multiple ballots without

19         properly signing an assister in the section

20         of the movie that discussed drop box issue in                    18:07:28

21         one isolated drop box in Gwinnett County,

22         Georgia.       We did not track Mr. Andrews going

23         to ten drop boxes.        He is not among the 242

24         individual devices identified that did go to

25         ten or more drop boxes in Metro Atlanta                          18:07:43


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1          Georgia."

2                         Do you see that?

3                    A.   Yes.

4                    Q•   And why were you -- why were

5          you making that distinction to him?                            18:07:50

6                    A.   I -- I think it was just an

7          attempt to try to keep everything straight.

8                    Q.   Okay.    And he was asking you

9          about -- about tracking specific individuals

10         in the top ten mules.                                          18:08:22

11                        Did you ever provide him with a

12         document of that nature?

13                   A.   No.    And -- and when you read

14         the first paragraph, it -- he -- he just had

15         a fundamental misunderstanding of the process                  18:08:32

16         so...

17                   Q.   Okay.    And so his -- his

18         impression seems to be that Mr. Andrews was,

19         in fact, identified through the geospatial

20         tracking, just from reading his e-mail?                        18:08:46

21                   A.   Yeah.    I mean, let me actually

22         just --

23                   Q.   Yeah.    Why don't you read it.

24                   A.   Yeah.

25                   Q.   That seems -- I want to just                    18:08:54


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1          check and see if that was how you interpreted

2          it and that's why you explained the way you

3          did.

4                    A.   Okay.    Can you ask your

5          question again?     I apologize.                               18:09:14

6                    Q.   Yeah.    My question was:          And so

7          his impression seems to be that Mr. Andrews

8          was, in fact, identified through the

9          geospatial tracking, just from reading his

10         e-mail?                                                        18:09:27

11                   A.   You know, I -- that would be an

12         inference that I -- I mean, I was just trying

13         to go point by point.       Again, it was a very

14         difficult time.     I just tried to give him,

15         you know, more information so that they would                  18:09:44

16         try to better understand what we did.

17                   Q.   Okay.    And everything you say

18         in your e-mail is accurate, correct?

19                   A.   I would say so, yes.

20                   Q.   Okay.    Okay.     I think we're                18:10:48

21         done with that.

22                        Let me -- I think that I only

23         have a couple of more exhibits.

24                        Let me mark as Plaintiff's

25         Deposition Exhibit 73 a document bearing                       18:11:26


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1          Control No. DDR-00064295 through 296.

2               (Marked Engelbrecht Exhibit No. 73.)

3          (BY MS. KUCK)

4                    Q.    And this seems to be a --

5          another chat that was produced to us.                          18:11:51

6                          Do you see that?

7                    A.    Yes.

8                    Q.    And it says "me."         I'm not -- I

9          can't tell from this whether this was

10         Mr. D'Souza or Ms. D'Souza or who it was.                      18:12:02

11                         But what he says is:          "BTW, I

12         told Bettina last night I'm happy to modify

13         the license agreement so the 10 percent share

14         goes to you guys.      It can either go 5 to

15         Catherine and 5 to Gregg or 10 to True the                     18:12:19

16         Vote.      Completely up to you.       I absolutely

17         think you guys should get some personal

18         benefit out of this, so let me know if you

19         want to make this modification."

20                         Is this what you were referring                18:12:30

21         to earlier when Mr. -- you said Mr. D'Souza

22         suggested directing the money somewhere else?

23                   A.    I don't recall this.

24                   Q.    Uh-huh.

25                   A.    And I -- but broadly speaking,                 18:12:39


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 1         it was his suggestion.

 2                   Q.   Okay.     And you agreed to it?

 3                   A.   I -- yes.

 4                   Q.   And you gave him the name of

 5         the Shadow Beach LLC to send it to?                             18:13:02

 6                   A.    Yes.

 7                   Q.   Okay.     And so TTV didn't

 8         receive any -- didn't receive any of the

 9         revenue from the film?

10                   A.    No.    A portion was given back                 18:13:19

11         to -- to True the Vote.

12                   Q.   By?

13                   A.    Through Shadow Beach.

14                   Q.   How much?

15                   A.   I'm not exactly sure.               I think      18:13:25

16         that it was a                                        at

17         minimum, but I just -- I'm not really sure.

18                   Q.   Okay.     So let's mark --

19                    (Discussion off the record.)

20         (BY MS. KUCK)                                                   18:13:57

21                   Q.    -- as Plaintiff's Deposition

22         Exhibit No. 74.

23              (Marked Engelbrecht Exhibit No. 74.)

24         (BY MS. KUCK)

25                   Q.   A document that appears to be                    18:14:15


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1          TTV's tax filings for 2022.

2                    A.   Uh-huh.

3                    Q.   And do you prepare these

4          filings?

5                    A.   No.                                             18:14:28

6                    Q.   Who does?

7                    A.   We have a CPA.

8                    Q.   Okay.    And do you provide the

9          information to the CPA?

10                   A.   Our bookkeeper does, but then I                 18:14:33

11         follow up on it.

12                   Q.   Okay.    And who's your

13         bookkeeper?

14                   A.   Her name?

15                   Q.   Yeah.                                           18:14:41

16                   A.   Jean [phonetic].         I'm

17         mortified, but I can't think of her last name

18         right now, but I -- you know, I certainly

19         could get it if that's something you needed.

20                   Q.   She's -- she's a contractor                     18:14:55

21         also?

22                   A.   Yes.

23                   Q•   Okay.    So if you -- and do

24         you -- are you the one who signs the tax

25         returns?                                                       18:15:04


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 1                   A.    Well, I give permission for

 2         them to be electronically --

 3                   Q.    Of course.

 4                   A.    -- signed.

 5                   Q.    Correct.                                         18:15:08

 6                         But you are the -- you are the

 7         one at TTV who --

 8                   A.    Correct.

 9                   Q.    -- signs them electronically --

10                   A.    Correct.                                         18:15:15

11                   Q.    -- or in person?

12                         Okay.    Where -- I'm looking on

13         the first page under revenue, and there's a

14         line on contribution and grants, but I don't

15         see any other revenue.                                           18:15:25

16                         Where would the

17                                 that was sent back to TTV

18         show up?

19                   A.    It wouldn't -- it likely

20         wouldn't even have shown up in this year.                 It     18:15:37

21         would have probably been in 2023.

22                   Q.    And you haven't filed the 2023?

23                   A.    Not yet.

24                   Q.    And why -- why wouldn't it have

25         been?      The payment was made in 2022, right?                  18:15:46


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 1         To Shadow Beach?

 2                   A.   Yes, just 2022 wasn't -- was an

 3         absolute nightmare, and it just didn't

 4         happen.

 5                   Q.   Okay.    But your recollection is               18:15:57

 6         that it was        of the      of the              in

 7         revenue,                            was given back to

 8         TTV?

 9                   A.   That's my general recollection,

10         yes.                                                           18:16:14

11                   Q.   And the rest of it stayed in

12         the LLC for you and Mr. Phillips?

13                   A.   Well, in the LLC, yes.

14                   Q.   Yeah.    But you -- you -- is

15         there anybody who was a partner in the LLC                     18:16:22

16         other than you and Mr. Phillips?

17                   A.   No.

18                   Q.   Okay.    Also, just if you can

19         flip to -- these aren't numbered.                 But

20         section -- it's one, two -- fourth page.                       18:16:36

21                   A.   Of the return?

22                   Q.   Of the return.

23                   A.   One, two, three.

24                   Q.   And it's -- at the top it says

25         "Section B independent contractors."                           18:16:46


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1                    A.    I'm -- I'm sorry.            I -- let's

2          see.

3                    Q.    It looks like this.             It's --

4          it's the actual physical page.

5                    A.    Oh, okay.        Hang on a second.                18:17:00

6          One, two, three...

7                    Q.    Oh, I'm sorry.          Keep going.

8          Mine -- mine is double-sided, so it's

9          probably Page 8.

10                         It says "Independent" -- it                       18:17:16

11         looks like this.         It says "Independent

12         contractors" at the top?

13                         MR. EVANS:        I don't think it's

14                   Page 8 either.

15                         MS. KUCK:        Okay.                            18:17:22

16         (BY MS. KUCK)

17                   Q.    Section --

18                         MR. EVANS:        It may be 9.        Is it

19                   this one?

20                         MS. KUCK:        Yeah.                            18:17:26

21                   A.    Yes.

22         (BY MS. KUCK)

23                   Q.    And it -- it says "Independent

24         contractors."

25                         Do you see that?                                  18:17:30


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 1                   A.   Yes.

 2                   Q.   It lists OpSec?

 3                   A.   Yes.

 4                   Q.   And it says:        "Compensation for

 5         data analysis,                                                    18:17:35

 6                   A.   Uh-huh.

 7                   Q.   Was that all for the geospatial

 8         project, or was it for other things as well?

 9                   A.   Oh, no.      There's a ton of stuff

10         that OpSec did for us.                                            18:17:47

11                   Q.   Okay.     Did it receive anything

12         beyond the              that was in the agreement

13         we looked at this morning?

14                   A.   I'm not sure.

15                   Q.   For the -- for the -- well,                        18:18:02

16         this morning we looked at the --

17                   A.   Right.

18                   Q.   -- project proposal.                Right.

19                        And that was -- there was a

20         payment that was to be made to OpSec as soon                      18:18:11

21         as the agreement was signed?

22                   A.   Uh-huh.

23                   Q.   In connection with that

24         project --

25                   A.   Uh-huh.                                            18:18:16


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 1                   Q.     -- did OpSec receive any

 2         additional compensation?

 3                   A.    I -- I couldn't -- I don't know

 4         on that particular project.             There were so

 5         many -- again, there were so many things                         18:18:25

 6         happening, and there was so much blending

 7         together.      And it was mostly all data related

 8         and analyst related.         I just -- I don't know.

 9                   Q.     Okay.    Other than the -- the

10         funds that were deposited into Shadow Beach                      18:18:42

11         LLC, did you receive anything else in con- --

12         any other compensation in connection with the

13         film?

14                   A.    It got reimbursed for expenses.

15         They gave us                                                     18:18:55

16                   Q.     Okay.    Did that cover all your

17         expenses?

18                   A.     No.

19                   Q.    Do you recall what your

20         expenses were?                                                   18:19:13

21                   A.     Like the total?

22                   Q.     Yeah.

23                   A.     No, I just...

24                   Q.     Okay.    This morning when we

25         started, we talked about your work concerning                    18:19:25


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1          drop boxes and your -- your concern about

2          certain problems in 2020.

3                         Do you remember that?

4                    A.   Yes.

5                    Q.   There's something recently                      18:19:36

6          that -- that I believe TTV undercooked --

7          undertook called the sheriff project or is --

8          is TTV working with -- does it have a project

9          working with local sheriffs?

10                   A.   We have -- we have reached out                  18:19:49

11         to sheriffs to try to visit with them about

12         getting surveillance on drop boxes, yes.

13                   Q.   Surveillance by whom?

14                   A.   Ideally by the sheriffs.

15                   Q.   Okay.    And what would they be                 18:20:08

16         surveilling the drop boxes for?

17                   A.   Just monitoring the security of

18         the drop boxes, which should have been a

19         standard but wasn't.       And so this cycle, it

20         was, you know, more preventative than                          18:20:26

21         anything else in nature.

22                        And, I mean, frankly, I've been

23         very pleased to talk to sheriffs that have --

24         they've already taken those steps and are

25         live streaming the footage.          And, I mean,              18:20:37


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 1         that's fantastic so...

 2                   Q.       And when you say "live

 3         streaming the footage," they're live

 4         streaming the footage of people going to drop

 5         boxes?                                                            18:20:49

 6                   A.       Yes.

 7                   Q.       And for what purpose?

 8                   A.        Just transparency.

 9                   Q.       And so what -- what would

10         happen if somebody walked up to a drop box                        18:20:56

11         and put in more than one ballot?

12                   A.       I mean, it depends on the

13         state.

14                            In theory, if it's a state, you

15 I       know, that bans ballot harvesting, they would                     18:21:06

16         see that and be able to try to identify

17         who -- you know, who that was.

18                            I mean, you take next --

19         necessary precautions in Georgia, you should

20         have been able to match up assister                               18:21:16

21         signatures and take those out if they weren't

22         there.         You know, I mean, it's a -- I'm not a

23         big fan of drop boxes because in my belief

24         they're dysfunctional.           This is a gap.

25                   Q•       But without looking at the --                  18:21:27


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1          following the surveillance video and

2          following up and doing an investigation,

3          there would be no way to know whether

4          somebody who was putting in multiple ballots

5          was doing it legally or not?                                      18:21:41

6                          MR. EVANS:        Objection; calls

7                    for speculation.

8          (BY MS. KUCK)

9                    Q.     I'm talking -- let's talk about

10         Georgia.                                                          18:21:45

11                   A.     Uh-huh.

12                          Well, like in the case of

13         Gwinnett --

14                   Q.     Right.

15                   A.    -- for example, we saw many                       18:21:49

16         people putting in more than one ballot.

17                   Q.    Right.

18                   A.    And according to Georgia law,

19         you can deposit your ballot.              And then there

20         are a select group of individuals that you                        18:21:58

21         can also submit a ballot for, but you must

22         sign the back of the security envelope, and

23         so that is one way.

24                         It -- is it sufficient?              No, I

25         would say not but...                                              18:22:09


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 1                   Q.   And so what do you -- what do

2          you advocate that people should be doing in

3          terms of the drop boxes?

4                    A.   I don't advocate drop boxes.               I

5          just -- no drop boxes.                                              18:22:19

 6                   Q.   Okay.    You'd get rid of them

 7         altogether?

8                    A.    Yes.   Well, let me put a caveat

 9         there.     If there were a proper setup with

10         surveillance and people really paying                               18:22:29

11         attention and doing -- having the same -- a

12         drop box is -- is considered under law as a

13         polling place.     And at a polling place you

14         have all manner of checks and balances.                  In

15         drop boxes you don't.                                               18:22:42

16                        If there was some equivalency

17         that assured that the -- the process, I mean,

18         even just the chain of custody in Georgia,

19         there was just -- it was just lawlessness.                    I

20         mean, there just was not -- there were no                           18:22:53

21         documents.     There were not sufficient

22         documents.     You couldn't piece it back

23         together.

24                        If that was all in order, and

25         if you had sufficient ID on the ballots and,                        18:22:59


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1          I mean, it was all, you know, done according

2          to law and in a secure way, then I wouldn't

3          necessarily have a problem.          We're just --

4          we're just not anywhere close to that right

5          now.                                                           18:23:14

6                    Q.   And so for that reason to the

7          extent we're going to have them, we need to

8          surveil them?

9                    A.   Well, I mean, it's what CISA

10         recommends, so it's not like it's, you know,                   18:23:22

11         a pie-in-the-sky option.         It's recommended

12         that they be surveilled.

13                   Q.   When you say "what CISA

14         recommends," what do you mean?

15                   A.   They recommend that you have                    18:23:28

16         24-hour surveillance on all drop boxes.

17                   Q.   Meaning a camera?

18                   A.   Yes, correct.        Yes.     Sorry.

19         Yes.

20                   Q.   Not a physical person?                          18:23:37

21                   A.   No, not a physical person.

22                   Q.   And they don't recommend that

23         it be live streamed?

24                   A.   They don't make that

25         distinction.                                                   18:23:44


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1                    Q     Okay.

2                          MS. KUCK:       If you'd give me a

3                    minute, I think I'm just about done.

4                           THE WITNESS:       Sure.

5                          THE VIDEOGRAPHER:           Off the              18:23:53

6                    record at 6:25.

7               (Break from 6:25 p.m. to 6:35 p.m.)

8                          THE VIDEOGRAPHER:           Back on the

9                    record at 6:35.

10                        EXAMINATION                                       18:33:56

11         BY MS. HYLAND:

12                   Q.    Okay.     I think at this point

13         the plaintiff's questions have concluded, and

14         this is Amanda Hyland.          I am counsel for

15         Dinesh D'Souza and D'Souza Media, and I have                     18:34:06

16         just a couple of quick questions for you.

17                         We've talked about 70 videos

18         that linked geospatial data with the actual

19         drop box videos.        And I want to make sure

20         that I have this right.                                          18:34:22

21                         Did someone on your team or on

22         Gregg's team send those videos to someone on

23         Mr. D'Souza's team?

24                   A.     The 70?

25                   Q.     Yes.                                            18:34:35


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1                    A.   I don't believe they were sent.

2          I believe they were shared across a platform.

3                    Q.   Okay.    Okay.     So there was some

4          kind of drop box or some --

5                    A.   It was a -- right, and it was                   18:34:42

6          just open to them.      They could grab what they

7          wanted.

8                    Q.   Okay.    And do you know who

9          between OpSec and TTV would have uploaded

10         those videos into the file sharing program?                    18:34:52

11                   A.   It would have been either OpSec

12         or some -- that side, not True the Vote.

13                   Q.   Okay.    And do you know who on

14         Mr. D'Souza's team had access to it or would

15         have received them?                                            18:35:11

16                   A.   I -- I do not know that.

17                   Q.   Okay.    And then we've also

18         talked about additional videos that made it

19         into the film.     And by "videos" I mean drop

20         box videos.                                                    18:35:21

21                        And I think you've said that

22         there were some that were not part of that

23         70, correct?

24                   A.   Correct.

25                   Q.   And the footage of Mr. Andrews                  18:35:28


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1          was one of those additional videos that was

2          not in the original 70, correct?

3                    A.   Correct.

4                    Q.   And do you know how those

5          videos were obtained?       Like, where did they                18:35:43

6          come from?

7                    A.   My understanding is they all

8          came from open records requests.

9                    Q.   And do you know who actually

10         initiated the open records request?                             18:35:56

11                   A.   True the Vote would have.             We

12         always did.    I mean, yeah.

13                   Q.   And do you remember actually

14         making that public records request?

15                   A.   I mean, not specifically.             But        18:36:05

16         it was an ongoing -- we had heard that the

17         data was available and went back to try to

18         get it.

19                   Q.   And do you know roughly the

20         time frame in which that request would have                     18:36:17

21         been made?

22                   A.   I -- I don't -- later.             I mean,

23         that -- I can tell you that much, just later

24         than, you know, the -- sort of the bigger

25         project.                                                        18:36:29


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1                    Q.   And do you have any memory of

2          roughly when the videos would have been

3          received?

4                    A.   I don't.

5                    Q.   Do you have any memory of                        18:36:36

6          roughly how many hours of footage was

7          included in those?

8                    A.   Roughly there -- there -- we

9          would have -- we would have asked for the

10         entire early election period.           I don't know            18:36:48

11         if we got all of that.        I know we got a

12         substantial bit of it, but I -- I just don't

13         know how much.     You would think you would get

14         all, but that just wasn't the case often.

15                   Q.   And do you remember what format                  18:37:03

16         the videos were in?

17                   A.   Oh, God, no, I don't.

18                   Q.   Do you remember --

19                   A.   Every -- every -- I mean, I

20         didn't deal with that directly at all.               We         18:37:09

21         just got hard drives.       But as I understand

22         it, every video        every hard drive required

23         different readers, and it was a -- it was a

24         process.

25                   Q.   And those hard drives, were                      18:37:18


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1          those turned over to Mr. Phillips?

2                    A.     Yes.

3                    Q.     Okay.     And is it your

4          understanding that he turned them over to his

5          contractors at that point?                                        18:37:28

6                    A.     I've never really thought about

7          it.       Yes, I guess because he wouldn't have

8          had the capacity, yes.

9                    Q.     Okay.     And what is your

10         understanding around how the actual video                         18:37:45

11         clips that made it into the 2000 Mules film

12         that were not part of the 70 --

13                   A.     Uh-huh.

14                   Q.     -- I wish I could come up with

15         a name for it, but those --                                       18:37:59

16                   A.     Right.

17                   Q.     -- non-70.

18                   A.     Right.

19                   Q.     What is your understanding of

20         how those particular clips were actually                          18:38:04

21         identified?

22                   A.     My general understanding was at

23         that point there were just a -- a request for

24         any -- any kind of videos because they wanted

25         to do that fly effect, and my presumption                         18:38:19


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1          would be that they would pull people that

2          looked to be also running afoul of the law,

3          small m mule, not, you know, casting more

4          than one ballot in -- in the -- in the county

5          where we knew there were no assister                            18:38:39

6          signatures.

7                    Q.   And when you say "they would

8          pull the video," who is "they"?

9                    A.   OpSec and that group.

10                   Q.   Okay.    And do you have any                     18:38:48

11         understanding of how those videos were

12         transmitted to Mr. D'Souza's team?

13                   A.   I -- I know that there was an

14         instance where it was transferred via FedEx.

15         I don't -- I don't know the specifics.               I          18:39:05

16         just remember it was like very late, they

17         were trying to get the fly effect.                You know,

18         that was it.

19                   Q.   And do you have any knowledge

20         of any disclaimers or any kind of concerns                      18:39:18

21         that would have been expressed to anyone on

22         Mr. D'Souza's team about these videos not

23         being linked to geospatial data?

24                   A.   I mean, I don't -- I don't know

25         how you could have had it confused because                      18:39:47


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1          there was such a long period of time where

2          there was one type of discussion.             And then

3          there was an, Oh, we just got more video.

4          Oh, gosh, we need video.

5                         And that was a -- a second type                 18:39:59

6          of discussion.

7                    Q.   Okay.    Is it possible that any

8          of the videos that were provided -- based on

9          your knowledge, right, I'm not asking you to

10         speculate, but are you -- are you aware of                     18:40:20

11         any possibility that any video footage was

12         sent to Mr. D'Souza's team by David Cross?

13                   A.   It's -- it is -- it's not --

14         excuse me -- not to the best of my knowledge.

15                   Q.   Okay.    And you -- you mentioned               18:40:37

16         that Heather Mullins knew David Cross?

17                   A.   Yes.

18                   Q•   What's your understanding of

19         their relationship?

20                   A.   I -- friends and -- and fellow                  18:40:51

21         researchers, that's -- that's about all I

22         know.

23                   Q.   And does Heather live in

24         Georgia?

25                   A.   Heather lives in New Hampshire,                 18:41:04


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1          but she has family in Georgia.

2                    Q.    Okay.     Do you have any reason

3          to believe that Mr. Cross may have been

4          involved with providing the footage of

5          Mr. Andrews to parties or entities other than                    18:41:29

6          the Secretary of State?          We know -- you know

7          we've seen --

8                    A.    Right.

9                    Q.    -- that he provided it to the

10         Secretary of State.                                              18:41:40

11                        Do you have any reason to

12         believe he may have provided it to other

13         entities such as Charlie Kirk or, you know,

14         any of those?

15                   A.    Yeah, I -- I mean, as I                          18:41:52

16         generally recall, I knew that it was being

17         posted on       some things were being posted on

18         social media.      I don't know past that.             I

19         mean, it's possible, but I don't -- I don't

20         know.     I didn't -- I wasn't involved in that.                 18:42:03

21                   Q.   And you've never asked

22         Mr. Cross if he was the source of any of

23         that?

24                   A.    The source of what was posted

25         on -- on social media?                                           18:42:11


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1                    Q.    Right.

2                    A.    No.     I mean, I do know that he

3          received video.       I do know that.          And I do

4          know that he and Heather spent a lot of time

5          looking at it.     I do know that but...                           18:42:21

6                    Q.    Okay.

7                          MS. HYLAND:        I don't have

8                    anything further.

9                           THE WITNESS:       Okay.

10                         MS. KUCK:       I have nothing.                    18:42:32

11                          Jake?

12                         MR. EVANS:       Nothing from me.

13                         MS. KUCK:       All right.          You're

14                   free to go.

15                          THE VIDEOGRAPHER:          Off the                18:42:38

16                   record at 6:43.

17            (The deposition concluded at 6:43 p.m.)

18

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1                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
2                               ATLANTA DIVISION
3        MARK ANDREWS,


4         Plaintiff,
                                                Case No.
5        V.                                I    1:22-cv-04259-SDG


6        DINESH D'SOUZA, et
         al.,
 7
          Defendants.
8


9             THE STATE OF
              COUNTY     OF
10
11                     I, MENDY A. SCHNEIDER, a Certified
12            Shorthand Reporter in and for the State of
13            Texas, do hereby certify that the facts as
14            stated by me in the caption hereto are true;
15            that the above and foregoing answers of the
16            witness, CATHERINE ENGELBRECHT, to the
17            interrogatories as indicated were made before
18            me by the said witness after being first duly
19            sworn to testify the truth, and same were
20            reduced to typewriting under my direction;
21            that the above and foregoing deposition as
22            set forth in typewriting is a full, true, and
23            correct transcript of the proceedings had at
24            the time of taking of said deposition.
25                     I further certify that I am not, in any


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1          capacity, a regular employee of the party in

2          whose behalf this deposition is taken, nor in

3          the regular employ of this attorney; and I

4          certify that I am not interested in the

5          cause, nor of kin or counsel to either of the

6          parties.

7                            That the amount of time used by

8          each party at the deposition is as follows:

9                   MS. KUCK - 06:33:27

10                  MS. HYLAND - 00:08:43

11

12

                    GIVEN UNDER MY HAND AND SEAL OF OFFICE,

13         on this, the 26th of September, 2024.

14

15                                 MCA tt               1/1"144641"

                                   MENDY A. SCHNEIDER, CSR, RPR

16                                 Certification No.:                 7761

                                   Expiration Date:                 1-31-2025

17

18

19

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21

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1         Jake Evans, Esq.

2         Jake.Evans@gtlaw.com

3                                        September 26, 2024

4         RE:        Andrews, Mark v. D'souza, Dinesh                  Et Al

5               9/18/2024, Catherine Engelbrecht (#6909377)

6               The above-referenced transcript is available for

7         review.

8               Within the applicable timeframe, the witness should

9         read the testimony to verify its accuracy. If there are

10        any changes, the witness should note those with the

11        reason, on the attached Errata Sheet.

12              The witness should sign the Acknowledgment of

13        Deponent and Errata and return to the deposing attorney.

14        Copies should be sent to all counsel, and to Veritext at

15        cs-ny@veritext.com.

16         Return completed errata within 30 days from

17       receipt of testimony.

18           If the witness fails to do so within the time

19       allotted, the transcript may be used as if signed.

20

21

22                          Yours,

23                         Veritext Legal Solutions

24

25


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1         Andrews, Mark v. D'souza, Dinesh                   Et Al

2         Catherine Engelbrecht (#6909377)

 3                              ERRATA              SHEET

4         PAGE         LINE         CHANGE

5

6         REASON

7         PAGE         LINE         CHANGE

8

9         REASON

10        PAGE         LINE         CHANGE

11

12        REASON

13        PAGE         LINE         CHANGE

14

15        REASON

16        PAGE         LINE         CHANGE

17

18        REASON

19        PAGE         LINE         CHANGE

20

21        REASON

22

23

24        Catherine Engelbrecht                                                 Date

25

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1         Andrews, Mark v. D'souza, Dinesh               Et Al

2         Catherine Engelbrecht (#6909377)

3                             ACKNOWLEDGEMENT OF DEPONENT

4              I, Catherine Engelbrecht, do hereby declare that I

5         have read the foregoing transcript, I have made any

6         corrections, additions, or changes I deemed necessary as

7         noted above to be appended hereto, and that the same is

8         a true, correct and complete transcript of the testimony

9         given by me.

10

11

12        Catherine Engelbrecht                                       Date

13        *If notary is required

14                              SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                                        DAY OF                          , 20

16

17

18

19                               NOTARY PUBLIC

20

21

22

23

24

25


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                    Federal Rules of Civil Procedure

                                     Rule 30




       (e)   Review By the Witness; Changes.

       (1)   Review; Statement of Changes. On request by the

       deponent or a party before the deposition is

       completed, the deponent must be allowed 30 days

       after being notified by the officer that the

       transcript or recording        is available       in which:

       (A)   to review    the transcript or recording; and

       (B)   if there are changes in form or substance, to

       sign a statement listing the changes and the

       reasons for making them.

       (2)   Changes Indicated in the        Officer's Certificate.

       The officer must note in the certificate prescribed

       by Rule 30(f) (1) whether a review was requested

       and, if so, must attach any changes the deponent

       makes during the 30-day period.




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       THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

       2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

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  transcript of the colloquies, questions and answers

  as submitted by the court reporter. Veritext Legal

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  documents as submitted by the court reporter and/or

  attorneys in relation to this deposition and that

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  SSAE 16 certified facility.


  Veritext Legal Solutions complies with all federal and

  State regulations with respect to the provision of

  court reporting services, and maintains its neutrality

  and independence regardless of relationship or the

  financial outcome of any litigation. Veritext requires

  adherence to the foregoing professional and ethical

  standards from all of its subcontractors in their

  independent contractor agreements.



  Inquiries about Veritext Legal Solutions'

  confidentiality and security policies and practices

  should be directed to Veritext's Client Services

  Associates indicated on the cover of this document or

  at www.veritext.com.
